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CONVERTINO v. UNITED STATES DEPARTMENT OF
                  JUSTICE

                             JONATHAN TUKEL




                                  April 24, 2009




                                  Prepared for you by




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                                                                      Page 1
                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF MICHIGAN



     RICHARD CONVERTINO,

           Plaintiff,

     vs.                           Case No. 07-CV-13842-DT

                                   Hon. Robert H. Cleland

     UNITED STATES DEPARTMENT OF

     JUSTICE,

           Defendant.

     __________________________________________




           The Deposition of JONATHAN TUKEL,

           Taken at 801 West Ann Arbor Trail, Suite 233,

           Plymouth, Michigan,

           Commencing at 9:05 a.m.,

           Friday, April 24, 2009,

           Before Viola Newman, CSR-4320, RPR.




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 1    APPEARANCES:                                         1            TABLE OF CONTENTS
 2                                                         2    WITNESS                PAGE
 3    STEPHEN M. KOHN                                      3    JONATHAN TUKEL
 4    ERIK J. SNYDER                                       4
 5    Kohn, Kohn & Colapinto                               5    EXAMINATION                                 5
 6    3233 P Street NW                                     6    BY MR. KOHN:
 7    Washington, D.C. 20007                               7    EXAMINATION                                 288
 8    202.342.6980                                         8    BY MR. SMITH:
 9      Appearing on behalf of the Plaintiff.              9
10                                                        10                    EXHIBITS
11    LENORE M. FERBER                                    11    EXHIBIT                               PAGE
12    Convertino & Associates                             12    (Exhibits attached to transcript.)
13    801 West Ann Arbor Trail, Suite 233                 13
14    Plymouth, Michigan 48170                            14    DEPOSITION EXHIBIT 1                              61
15    734.927.9900                                        15    DEPOSITION EXHIBIT 2                              65
16       Appearing on behalf of the Plaintiff.            16    DEPOSITION EXHIBIT 3                              93
17                                                        17    DEPOSITION EXHIBIT 4                              106
18    JONATHAN E. ZIMMERMAN                               18    DEPOSITION EXHIBIT 5                              164
19    JEFFREY M. SMITH                                    19    DEPOSITION EXHIBIT 6                              182
20    SCOTT A. RISNER                                     20    DEPOSITION EXHIBIT 7                              189
21    U.S. Department of Justice                          21    DEPOSITION EXHIBIT 8                              203
22    20 Massachusetts Avenue NW                          22    DEPOSITION EXHIBIT 9                              225
23    Washington, D.C. 20530                              23    DEPOSITION EXHIBIT 10                              262
24    202.514.2395                                        24
25       Appearing on behalf of the Defendant.            25
                                                 Page 3                                                     Page 5
 1 ALSO PRESENT:                                           1   Plymouth, Michigan
 2 Peter Fu                                                2   Friday, April 24, 2009
 3 Richard Convertino                                      3   9:05 a.m.
 4                                                         4
 5                                                         5                JONATHAN TUKEL,
 6                                                         6      was thereupon called as a witness herein, and after
 7                                                         7     having first been duly sworn to testify to the truth,
 8                                                         8     the whole truth and nothing but the truth, was
 9                                                         9     examined and testified as follows:
10                                                        10            MR. KOHN: Steven M. Kohn, K-O-H-N,
11                                                        11     attorney for Mr. Convertino.
12                                                        12            MR. SMITH: Jeffrey M. Smith for the
13                                                        13     Department of Justice, representing the Defendant,
14                                                        14     Department of Justice.
15                                                        15            MR. ZIMMERMAN: Jonathan E. Zimmerman for
16                                                        16     the Department of Justice.
17                                                        17            MR. RISNER: Scott Risner for the
18                                                        18     Department of Justice.
19                                                        19            MR. FU: Peter Fu, Department of Justice.
20                                                        20                  EXAMINATION
21                                                        21   BY MR. KOHN:
22                                                        22   Q. Would you state your name and address for the record?
23                                                        23   A. Jonathan Tukel, 4948 Browning Drive, Orchard Lake,
24                                                        24     Michigan 48323.
25                                                        25   Q. Where do you currently work?




                                                                                        2 (Pages 2 to 5)

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 1   A. U.S. Department of Justice, United States Attorney's       1   A. No.
 2     Office, Eastern District of Michigan.                       2   Q. Are you on any type of medication or anything that
 3   Q. And how long have you worked there?                        3     would make you not remember things?
 4   A. I began June 4th, 1990.                                    4   A. No.
 5   Q. And where did you go to law school?                        5   Q. Have you reviewed any documents in preparation for
 6   A. University of Michigan law school.                         6     today's deposition?
 7   Q. And what year did you graduate?                            7   A. Yes.
 8   A. 1988.                                                      8   Q. And what are they?
 9   Q. And what was your first job?                               9   A. I reviewed some handwritten notes that I had, I
10   A. After law school?                                         10     reviewed some transcripts, I reviewed some
11   Q. Yes.                                                      11     correspondence, I reviewed some e-mail messages.
12   A. I was an associate at the law firm of Honigman,           12   Q. Have you brought those documents with you today?
13     Miller, Schwartz & Cohn.                                   13   A. I have not.
14   Q. And how long did you stay there?                          14            MR. KOHN: Do you have the documents that
15   A. Approximately two years.                                  15     he used?
16   Q. And why did you leave?                                    16            MR. SMITH: I think they're all documents
17   A. I was offered a job at the Department of Justice.         17     that have been produced.
18   Q. And then what was the next job you took?                  18            MR. KOHN: Including, he referenced
19   A. I was an assistant U.S. attorney for the Eastern          19     handwritten notes?
20     District of Michigan.                                      20            MR. SMITH: I'm pretty certain that the
21   Q. And how long did you hold that job for?                   21     handwritten notes have been produced. Is that right?
22   A. Till the present.                                         22            MR. RISNER: That's correct. There was one
23   Q. Are you a licensed attorney?                              23     note that hadn't been previously produced but we
24   A. Yes.                                                      24     produced that to you earlier this week, one page.
25   Q. In what states?                                           25            MR. SMITH: I thought it was several pages.
                                                   Page 7                                                            Page 9
 1   A.  Michigan.                                                 1            MR. RISNER: Several pages, sorry.
 2   Q.  Have you ever conducted a civil deposition?               2   BY MR. KOHN:
 3   A.  Yes, I did.                                               3   Q. And who was with you when you reviewed these
 4   Q.  Have you ever been deposed civilly?                       4     materials?
 5   A.  I don't think so.                                         5   A. The gentlemen you see here and one other Department of
 6   Q.  Are you familiar with the rules governing depositions?    6     Justice lawyer I believe. I also reviewed some on my
 7   A.  Somewhat.                                                 7     own.
 8   Q.  Briefly, if I ask you a question but you don't            8   Q. And what did you review on your own?
 9     understand it, you're free to ask me to rephrase it or      9   A. Those same materials.
10     just tell me you didn't understand it and I can            10   Q. Do you have them in your own personal possession?
11     rephrase it.                                               11   A. I have them at my office.
12   A. All right.                                                12   Q. So someone gave you copies of your transcripts with
13   Q. There's no judge here, so objections may be raised on     13     the OIJ that you have personal possession of?
14     the record, but you can still answer the question, so      14   A. Yes.
15     if your attorney says objection, form, but if your         15   Q. Who gave you those?
16     attorney instructs you not to answer a question, well,     16   A. The Department of Justice.
17     then you may want to listen to your lawyer or listen       17   Q. And when did they give you them?
18     to me, but that's -- if he instructs you not to            18   A. In the last several weeks at one time.
19     answer, you don't have to answer, we'll take it up         19   Q. I understand you had hired a private attorney?
20     with the court.                                            20   A. Correct.
21             Do you understand you're under an                  21   Q. Does that attorney have anything in his or her control
22     obligation to tell the complete truth?                     22     or possession at their office?
23   A. Yes.                                                      23   A. I don't know.
24   Q. Is there anything today that will interfere with your     24   Q. Have you asked them?
25     ability to tell the truth?                                 25   A. No.




                                                                                               3 (Pages 6 to 9)

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                                                 Page 10                                                          Page 12
 1   Q. Do you have anything at your home related to              1   BY MR. KOHN:
 2     Mr. Convertino or the leak?                                2   Q. When is the last time you've looked at every piece of
 3   A. I have correspondence with the attorney.                  3     paper in your personal possession, at home or anywhere
 4   Q. When is the last time you looked at materials you have    4     else you may put personal things related directly or
 5     at home and searched them?                                 5     indirectly to Mr. Convertino or anything about him?
 6   A. Not recently. I couldn't tell you.                        6   A. In the last several weeks.
 7   Q. Did anyone inform you you were supposed to search your    7   Q. And can you give me right now off the top of your head
 8     personal possessions in preparation for today's            8     an inventory of what those documents were?
 9     deposition?                                                9   A. Not exactly.
10             MR. SMITH: Objection, form.                       10   Q. And you said that some of them were correspondence
11             You can answer.                                   11     with your attorney?
12   A. I don't think so, but what I have, other than my         12   A. Yes.
13     attorney-client correspondence is identical to what I     13   Q. And are you asserting a privilege on those documents?
14     reviewed at the office -- or it's a subset of what I      14   A. Yes.
15     reviewed at the office.                                   15   Q. Do you know if any of that correspondence is not
16   BY MR. KOHN:                                                16     privileged because it was turned over to the justice
17   Q. Might be identical but you have it at your home. Is      17     department?
18     that your own personal stuff or is it Department of       18            MR. SMITH: Objection, calls for legal
19     Justice documents you've taken home with you?             19     conclusion.
20   A. It's copies of some of those same e-mails that we        20            You can answer.
21     talked about.                                             21   A. Could you repeat that?
22   Q. Okay. But my question is, did you take United States     22   BY MR. KOHN:
23     Department of Justice documents and bring them home       23   Q. Do you know if any of your correspondence with your
24     and convert them for your own use, or are they            24     attorneys was turned over to the justice department?
25     documents that you have got and now they're your          25            MR. SMITH: Same objection.
                                                 Page 11                                                          Page 13
 1   documents at home, which are they?                           1   A. I turned no correspondence over to the justice
 2 A. I'm not sure I understand the question.                     2     department, if that's what you mean.
 3           MR. KOHN: Okay. You have documents                   3   BY MR. KOHN:
 4   related to this case at your home.                           4   Q. But do you know if your attorneys did?
 5           I'm now requesting that they all be                  5   A. There were letters between my attorney and the justice
 6   produced, every single one of them, and if there's a         6     department, those were turned over, but that --
 7   privilege log, I'd like the log. Do we have a problem        7   Q. Now, how many lawyers --
 8   with that?                                                   8   A. Those were sent to the justice department.
 9           MR. SMITH: We can discuss it later.                  9   Q. -- who represented you personally?
10           MR. KOHN: Well --                                   10   A. James K. Robinson.
11           MR. SMITH: Right now this is a deposition,          11   Q. And what's his firm?
12   not a --                                                    12   A. Cadwalader Wickersham & Taft.
13           MR. KOHN: I was going to go off -- oh, no,          13   Q. Who referred you to that firm?
14   I'm going to say it actually on the record, because we      14   A. I knew Jim Robinson from before.
15   did a specific notice for this witness wanting to get       15   Q. In what capacity?
16   his personal materials. I was informed earlier this         16   A. The firm where I worked, upon graduation from law
17   week that essentially they were produced. I'm now           17     school he was a partner there at the time.
18   hearing from this witness he didn't even look at this       18   Q. What was the name of that firm again?
19   stuff or make a search of his home.                         19   A. Honigman, Miller, Schwartz & Cohn.
20           MR. SMITH: He just said it's the same               20   Q. Did you keep in touch with him?
21   stuff.                                                      21   A. I would see him from time to time, I wouldn't say we
22           MR. KOHN: How does he remember that? And            22     kept in touch.
23   I need a privileged log and I'd like them produced.         23   Q. Did the Honigman firm refer you over to him?
24           MR. SMITH: You can ask him how he                   24   A. No.
25   remembers it.                                               25   Q. When's the last time you had any communications with




                                                                                         4 (Pages 10 to 13)

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 1     anyone from the Honigman firm?                             1     journalist privilege?
 2   A. I couldn't tell you, it's been a long time.               2   A. No.
 3   Q. Do you know Mr. Herschel Fink?                            3   Q. You didn't go up on Westlaw and look at a case or
 4   A. I knew him when I worked there.                           4     LexisNexis?
 5   Q. How did you know him when you worked there?               5   A. No.
 6   A. He was a partner in the law firm.                         6   Q. And so we could -- is there a way to search in your
 7   Q. And what was your relationship with him then?             7     office -- where do you do computerized legal research?
 8   A. I had known he was a partner in the law firm.             8   A. At work.
 9   Q. Have you ever spoken to Mr. Fink in your entire life,     9   Q. What computer do you use to do that?
10     yes or no?                                                10   A. There's one in my office.
11   A. Yes.                                                     11   Q. And you're testifying now under oath that you did not
12   Q. And what was the nature of those communications?         12     do a Westlaw, Lexis or some type of Internet search
13   A. The last time I remember seeing Mr. Fink was             13     for the cases related to the journalistic privilege.
14     approximately 1990 and I saw him at the hardware          14     Is that your testimony, yes or no?
15     store.                                                    15   A. Well, explain what you mean by do research.
16   Q. So it's your testimony right now you've not seen         16   Q. In other words, look up a case, like see a case in the
17     Mr. Fink since 1990?                                      17     brief talking about the journalist privilege and then
18   A. In person?                                               18     look it up.
19   Q. Yes.                                                     19   A. Oh, I may have done that.
20   A. I think that's correct.                                  20   Q. Do you remember which cases you've looked up?
21   Q. Are you aware that that's the law firm that's            21   A. No.
22     representing Mr. Ashenfelter?                             22   Q. When you did that, did you take an official leave from
23   A. I read that in the paper.                                23     the United States Department of Justice and submit a
24   Q. That's the only way you know that is from reading it     24     leave slip so you didn't bill the justice department
25     in the paper?                                             25     for the time or did you bill the taxpayer for the time
                                                 Page 15                                                          Page 17
 1   A. Well, I've seen -- I've seen things filed in court.       1     you did looking at these briefs and doing that
 2   Q. What have you seen filed in court?                        2     research, yes or no, which is it?
 3   A. I've seen some of the legal briefs.                       3             MR. SMITH: Objection to the form because
 4   Q. Which ones?                                               4     it was an either or question, not a yes or no
 5   A. I couldn't tell you.                                      5     question.
 6   Q. Have you followed the legal briefs on whether             6   BY MR. KOHN:
 7     Mr. Ashenfelter might be required to disclose his          7   Q. Okay. I'd like to know, did you submit leave slips
 8     source?                                                    8     when you at work reviewed the legal briefs related to
 9   A. Yes.                                                      9     the Ashenfelter compel motion?
10   Q. Have you made copies of those briefs?                    10   A. I think there's an assumption in your question which
11   A. What do you mean by make copies?                         11     is not correct. I said I printed them. I typically
12   Q. I mean, did you just look at them online or did you --   12     do legal reading at the gym when I'm exercising, and
13     okay. Do you have a copy of any of those briefs?          13     so things that I print out I take and I put on a
14   A. I don't think so.                                        14     bookrack and --
15   Q. Did you ever have a physical copy of them?               15   Q. So you printed them at work?
16   A. Well, I think, because it's difficult to read            16   A. Yes.
17     documents online I probably printed them and after I      17   Q. So when you printed -- when you looked it up online,
18     was finished reading, I threw them away.                  18     printed it at work, did you take personal leave to do
19   Q. I would like you to search again for those documents,    19     that work?
20     anything that might still exist.                          20   A. No.
21            Did you, when you read those documents,            21   Q. Did you charge the taxpayer for the paper that you
22     make any notes on them, underline anything, make any      22     printed those briefs on, yes or no?
23     type of notes?                                            23   A. I know of no such requirement by the Department of
24   A. No.                                                      24     Justice. We're permitted to use diminimus copies of
25   Q. Did you conduct any research on your own about the       25     papers and computers and things.




                                                                                          5 (Pages 14 to 17)

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 1   Q. And you're allowed to do personal legal research at      1   A. Bill Sauget.
 2     work?                                                     2   Q. And what -- did he have any notes or anything written
 3   A. Yeah, it's part of my job to do legal research at        3     on it when he dropped it off?
 4     work.                                                     4   A. No.
 5   Q. Okay. So looking up this -- you viewed this as part      5   Q. And you threw that away?
 6     of your job, looking up the Ashenfelter compel            6   A. After I finished it, yes.
 7     motions?                                                  7   Q. Do you know where he got it from?
 8   A. No, it was something I was interested in. We're          8   A. No.
 9     allowed to do legal research to keep current.             9   Q. Do you know if he printed it at work?
10   Q. And in terms of the legal research you did, what type   10   A. I have no idea.
11     of service do you use, like is it Westlaw, Lexis or      11             MR. KOHN: And I'm going to make a similar
12     what are the computerized legal research services        12     request for his computer. I want to get his legal
13     available to you?                                        13     research that he has done and if it's -- I don't know
14   A. We have both.                                           14     if you're able to but I'd also like to know if he
15   Q. Which one do you typically use?                         15     accessed like the ECF, I don't know if you can track
16   A. Lexis.                                                  16     that, but every time he accessed the ECF on the motion
17            MR. KOHN: I would -- I'm going to make a          17     to compel.
18     request now, we can discuss it further but on the        18             MR. SMITH: We'll discuss it later.
19     record that I would like his Lexis and Westlaw           19   BY MR. KOHN:
20     accounts downloaded and searched and a cross reference   20   Q. Who else did you talk about it with?
21     done for all cases cited in any of the briefs filed in   21   A. Talk about what?
22     the Ashenfelter compel and just to see when he may       22   Q. The Ashenfelter motion to compel.
23     have accessed and printed those.                         23   A. I don't recall talking about it with anyone else.
24            MR. SMITH: As you say, we can discuss it          24   Q. Did you ever talk about it with Mr. Ashenfelter?
25     later.                                                   25   A. No.
                                                 Page 19                                                         Page 21
 1   BY MR. KOHN:                                               1    Q. When is the last time you spoke with Mr. Ashenfelter?
 2   Q. So it's your testimony that you have discarded every    2    A. I don't recall, it's been a while.
 3     piece of paper related to your research on the           3    Q. Do you remember what the topic of the conversation was
 4     Ashenfelter motion to compel?                            4      last time you spoke to him?
 5   A. Correct.                                                5    A. Yes.
 6   Q. And when did you discard all this paper?                6    Q. And what was it?
 7   A. When I finished reading whatever I was reading.         7    A. I think. The last time I believe I spoke to him was
 8   Q. When you -- in terms of the Ashenfelter motion to       8      last fall. There was a trial going on, I went over to
 9     compel, have you discussed that motion with any          9      observe some of the proceedings, and after I was there
10     person?                                                 10      he came into the courtroom. They were waiting for a
11   A. Yes.                                                   11      note from the jury and he asked, just sort of in
12   Q. Who?                                                   12      general, what is the note about.
13   A. I know I've discussed it with Bill Sauget.             13    Q. What trial was that?
14   Q. Anybody else?                                          14    A. There were two defendants, one was named Dawn Hannah
15   A. I don't recall.                                        15      and the other was Darren Hannah.
16   Q. Tell me about your conversations with Mr. Sauget about 16    Q. Do you know what perjury is?
17     it.                                                     17    A. Yes.
18   A. It's -- it's a topic of conversation from time to      18    Q. Could you please tell us for the record what perjury
19     time. Someone would say did you see there was a         19      is?
20     motion filed and I would look at it or someone would    20              MR. SMITH: I'm going to let him answer the
21     drop it off and I would look at it.                     21      question based on his personal understanding.
22   Q. Oh, so someone actually dropped these things off to    22    BY MR. KOHN:
23     you?                                                    23    Q. Based on your personal understanding, what is perjury?
24   A. I think there was one time someone dropped one off.    24    A. There's several different statutes. Perjury -- I
25   Q. And who dropped it off to you?                         25      think, I can't tell you the exact definition of




                                                                                        6 (Pages 18 to 21)

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 1     perjury.                                                  1     concern that someone else out there in the world, an
 2   Q. Okay. Would you agree with me that it would include      2     investigator, policeman, someone from the inspector
 3     lying under oath?                                         3     general's office, somebody thought, they thought you
 4   A. That's certainly an element. I don't know if that is     4     committed perjury?
 5     the entire offense.                                       5   A. I'm not sure what you mean by a concern. Can you --
 6             MR. SMITH: I just want to say, I'm going          6   Q. Okay. Have you ever thought that someone else thought
 7     to leave -- he can answer as to his own understanding.    7     you committed perjury?
 8     He's not representing, you know, what the law is.         8            MR. SMITH: I'm going to object on
 9             MR. KOHN: Absolutely. I want to get this          9     relevance but you can answer the question if you're
10     witness's understanding of his obligation to tell the    10     able to.
11     truth since he's been sworn under oath.                  11   A. Repeat it once more please.
12             MR. SMITH: Okay. As long as you                  12   BY MR. KOHN:
13     understand.                                              13   Q. Okay. Have you ever formed the opinion that another
14             MR. KOHN: Yes, it's not a legal                  14     person thought you committed perjury?
15     conclusion, not binding on a court in terms of matter    15            MR. SMITH: Same objection.
16     of law.                                                  16   A. Have I ever formed the opinion. I don't know that I
17   BY MR. KOHN:                                               17     formed the opinion.
18   Q. I'm looking at your personal understanding. What        18   BY MR. KOHN:
19     about misleading, if someone asks you a question under   19   Q. Did you ever think that someone may have thought you
20     oath and you give a misleading answer, do you think      20     committed perjury?
21     that constitutes perjury or not?                         21   A. Yes.
22   A. My personal understanding of the law?                   22   Q. And who was that?
23   Q. Yes.                                                    23            MR. SMITH: Same objection.
24   A. I think that's a very complicated legal question.       24   A. The -- well, you first of all or your client, and the
25     There's a supreme court case called Applebaum which      25     agents from the inspector general's office.

                                                 Page 23                                                         Page 25
 1     deals with that question.                                 1   BY MR. KOHN:
 2   Q. And when's the last time you looked at that decision?    2   Q. What made you think that the agents from the inspector
 3   A. It's been a while. I had brief in the Sixth Circuit      3     general's office thought you committed perjury?
 4     sometime in the last several years that dealt pretty      4             MR. SMITH: Same objection.
 5     extensively with that issue.                              5             You can answer.
 6   Q. Misleading as perjury?                                   6   A. My interactions with them.
 7   A. Well, perjury as such and that was an issue.             7   BY MR. KOHN:
 8   Q. What if someone asks a question and you give an          8   Q. Now, what's obstruction of justice?
 9     incomplete answer, is that perjury?                       9             MR. SMITH: Same thing goes. This is his
10   A. I would say it's the same answer that I gave about      10     personal understanding, it's not necessarily the law.
11     Applebaum.                                               11   A. Yeah.
12   Q. Complex?                                                12   BY MR. KOHN:
13   A. It's a complex legal question.                          13   Q. I understand. What's obstruction of justice?
14   Q. Now, you said lying was one element in your             14   A. In my opinion, it's a very broad concept, not amenable
15     understanding of perjury. What else do you have to       15     to snippet definitions.
16     prove to show perjury?                                   16   Q. Can you give me just a broad definition of it?
17   A. My understanding?                                       17   A. Well, there's many, many different scenarios for
18   Q. Yeah.                                                   18     obstruction of justice.
19   A. I think for the actual perjury statute, you have to     19   Q. Okay. Let me ask another one. If the federal
20     have two witnesses and it has to be a material matter.   20     government's conducting an investigation and someone
21   Q. Have you ever been concerned, I'm not saying you did    21     takes steps to impede it, might that be considered
22     it, but a concern that someone may think you committed   22     obstruction of justice?
23     perjury?                                                 23   A. It might be considered that, yes.
24   A. I'm not sure I understand the question.                 24   Q. Okay. And are you familiar with the obstruction of
25   Q. Have you personally in your own mind ever had a         25     justice statutes?




                                                                                        7 (Pages 22 to 25)

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 1   A. Many of them.                                          1      publication about Mr. Convertino, correct?
 2   Q. Have you ever worked on a case in which obstruction of 2    A. Could you repeat that last part once more?
 3     justice was an element of the crime?                    3    Q. You have a general understanding of what's in the
 4   A. Yes.                                                   4      public domain --
 5   Q. Have you ever -- again, same question, have you ever   5    A. Yes.
 6     thought that someone else thought you may have          6    Q. -- concerning the Plymouth Free Press article?
 7     obstructed justice?                                     7    A. Yes.
 8   A. I don't know that I can answer what's -- what someone 8     Q. And you've now testified that you've read some of the
 9     else might have thought.                                9      motions or papers related to Mr. Ashenfelter's
10   Q. I'm talking about what you thought. Did you ever      10      invocation of the 5th Amendment, correct?
11     think this person thinks I might have obstructed       11    A. Yes.
12     justice?                                               12    Q. Okay. Based upon all of that information I'm asking
13             MR. SMITH: Objection, relevance.               13      for your best assessment of what crimes you believe
14   A. Again, as to that question, I don't think I can form  14      Mr. Ashenfelter legitimately committed? In other
15     an opinion as to what someone else might have been     15      words, not just pure speculation like could have, you
16     thinking.                                              16      know, jaywalked. Like what do you think he did?
17   BY MR. KOHN:                                             17              MR. SMITH: Objection, calls for
18   Q. I'm now going to ask you to -- did you -- are you     18      speculation.
19     aware that Mr. Ashenfelter has pled the 5th Amendment 19               If you're able to answer it, please go
20     as to who his sources are?                             20      ahead.
21   A. Yes.                                                  21    A. I believe in one of those briefs there was a lengthy
22   Q. Have you read those briefs?                           22      list of possible statutes that Mr. Ashenfelter's
23   A. Yes.                                                  23      attorney stated they thought could have been
24             MR. SMITH: I was going to say can you be       24      committed.
25     more specific as to which briefs. I guess he           25    BY MR. KOHN:
                                                Page 27                                                        Page 29
 1     understands you.                                         1   Q. And which ones do you think he did?
 2   BY MR. KOHN:                                               2   A. I have no idea.
 3   Q. This would be the briefs in the motion to compel        3   Q. What's your best guess?
 4     Mr. Ashenfelter and Mr. Convertino, correct?             4            MR. SMITH: Objection, calls for
 5   A. Yes.                                                    5     speculation.
 6   Q. After reviewing those briefs what crimes are your --    6   A. I'm not sure what you mean by best guess.
 7     I'm just looking for speculation here, your best         7   BY MR. KOHN:
 8     guess, what crimes you think Mr. Ashenfelter could       8   Q. Which ones -- do you think it was an espionage act,
 9     have a good case he violated?                            9     you think it was possession of stolen property, which
10            MR. SMITH: Objection, calls for                  10     one do you think he did?
11     speculation.                                            11   A. I don't know.
12            You can answer if you can.                       12   Q. Who did you talk to about -- anyone you talked to
13   A. Could you --                                           13     about Mr. Ashenfelter's invocation of the 5th
14   BY MR. KOHN:                                              14     Amendment?
15   Q. I'm going to repeat that. You read his briefs, you     15            MR. SMITH: Objection to form.
16     know about the case, correct? You've read about the     16            You can answer if you understand the
17     Convertino case?                                        17     question.
18   A. Yes.                                                   18   A. Could you rephrase that?
19   Q. You know about the motion to compel, correct?          19   BY MR. KOHN:
20   A. Yes.                                                   20   Q. Who have you spoken to about Mr. Ashenfelter's
21   Q. You were interviewed by the inspector general,         21     invocation of the 5th Amendment?
22     correct?                                                22            MR. SMITH: If anyone.
23   A. Yes.                                                   23   A. I recall speaking to Ken Shadwell about it.
24   Q. So you have a general understanding of the facts       24   BY MR. KOHN:
25     surrounding that are known of the Plymouth Free Press   25   Q. What else?




                                                                                       8 (Pages 26 to 29)

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 1   A. I remember speaking to Bill Sauget about it.              1   Q. Have you seen drafts of the report?
 2   Q. And what did you talk about with Ken Shadwell?            2   A. I believe I've seen drafts.
 3   A. I just remember Ken Shadwell bringing it up and saying    3   Q. And who showed them to you?
 4     in his opinion it's -- it's a strong argument.             4   A. They were sent to my attorney, who shared them with
 5   Q. And anything else? Do you know why he brought it up       5     me.
 6     to you?                                                    6   Q. And do you have any copies of these drafts?
 7   A. We work together, we work a couple offices apart from     7   A. No, those were all done under a nondisclosure
 8     each other.                                                8     agreement which required the return of the drafts.
 9   Q. Does he know this is something that you're thinking       9             MR. KOHN: Was that nondisclosure agreement
10     about a lot?                                              10     produced, do you know?
11             MR. SMITH: Objection, calls for                   11             MR. SMITH: I don't know off the top of my
12     speculation.                                              12     head. It would have been several years ago, but the
13             You can answer if you can.                        13     drafts I believe were produced.
14   A. I don't know what Mr. Shadwell knows.                    14             MR. KOHN: Is it possible to look that up?
15   BY MR. KOHN:                                                15             MR. SMITH: I don't know whether we'll be
16   Q. How about Bill Sauget?                                   16     able to find it today or not.
17             MR. SMITH: What's the question?                   17             MR. KOHN: Okay. That's fine.
18   BY MR. KOHN:                                                18   BY MR. KOHN:
19   Q. Same question. Tell us about when you talked about       19   Q. Who have you talked with about coming here to testify
20     Mr. Ashenfelter's invocation of the 5th Amendment.        20     today?
21   A. Mr. Sauget mentioned it within the past two weeks.       21   A. What do you mean?
22   Q. What did he say?                                         22   Q. Have you -- who have you discussed the fact that
23   A. I think he said that there was something about it in     23     you're coming here and testifying with?
24     the newspaper.                                            24   A. All of these gentlemen, one other attorney from the
25   Q. Did he give you any documents?                           25     Department of Justice whose name I don't recall, my
                                                 Page 31                                                         Page 33
 1   A. I don't recall.                                           1     wife. I believe that's all. I don't recall anyone
 2   Q. Do you know why he told you about it?                     2     else.
 3   A. Because it's been a subject of interest throughout the    3   Q. And do you know who else from the Department of
 4     office.                                                    4     Justice has testified in this case?
 5   Q. Who else has interest in it?                              5   A. I don't know.
 6   A. I don't know.                                             6   Q. Have you heard anything from anybody about what other
 7   Q. How do you then know it's a subject of interest           7     witnesses have said at depositions?
 8     throughout the office if you only know these two           8   A. No.
 9     people?                                                    9   Q. When did you first meet Mr. Ashenfelter?
10   A. I've heard that other people talk about it in the        10   A. I couldn't tell you exactly, I don't recall.
11     office. I have not spoken to anyone else.                 11   Q. Was it before or after you started working for the
12   Q. Who's told you that other people talk about it in the    12     justice department?
13     office?                                                   13   A. After.
14   A. Bill Sauget.                                             14   Q. And how did you meet him?
15   Q. And what has he said about that?                         15   A. He was one of the reporters who regularly covered the
16   A. Some people talk about it in the office.                 16     federal court beat.
17   Q. Did you listen to any tapes of your interviews with      17   Q. And did you interact with him?
18     the inspector general?                                    18   A. Explain what you mean by interact.
19   A. No.                                                      19   Q. Did you ever talk to him?
20   Q. Have you ever -- have you ever seen the draft            20   A. Sure.
21     inspector general reports?                                21   Q. To the best of your recollection, how many
22   A. Explain to me what you mean by draft.                    22     conversations have you had with Mr. Ashenfelter?
23   Q. Have you ever seen the inspector general's report on     23   A. During what time period?
24     the leak?                                                 24   Q. Ever.
25   A. Not the final report.                                    25   A. I couldn't tell you that --




                                                                                         9 (Pages 30 to 33)

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 1   Q.  Was it --                                                1   Q. And did you give him any leads to follow for the
 2   A.  -- I don't recall.                                       2     article, like names of people to call, anything like
 3   Q.  Well, do you think it was more than 100?                 3     that?
 4   A.  No.                                                      4   A. No.
 5   Q.  In your entire life you've never had more than 100       5   Q. And did you keep a copy of that article?
 6     conversations with Mr. Ashenfelter?                        6   A. I have a copy of every article involving every case
 7              MR. SMITH: Asked and answered, objection.         7     I've worked on and it's tucked in with that.
 8              You can answer again.                             8   Q. Okay. So if we wanted to see articles written by
 9   A. I don't think so.                                         9     Ashenfelter about any case you've ever been involved
10   BY MR. KOHN:                                                10     in, we could get that document and look at it and see?
11   Q. And did you ever have him over your house?               11   A. What document?
12   A. No.                                                      12   Q. Whatever book you have with all these articles.
13   Q. Were you ever over his house?                            13   A. It's a file, but yeah, I don't even know if there are
14   A. No.                                                      14     any in there by him, but if there are, that's where
15   Q. Did you ever have lunch with him?                        15     they'd be.
16   A. No.                                                      16   Q. And where's that file kept?
17   Q. A cup of coffee?                                         17   A. In my basement.
18   A. No.                                                      18   Q. And did you put the leak story in it?
19   Q. Did you ever sit down and give him an interview?         19             MR. SMITH: Objection to form.
20   A. Well, he wrote an article about me when I was going to   20             You can answer if you are able to.
21     Washington to do a detail for the Deputy Attorney         21   A. I don't recall.
22     General. He did interview me, but we didn't sit down.     22   BY MR. KOHN:
23     It was all done over the phone.                           23   Q. Did Mr. -- did Mr. Ashenfelter tell you how -- what
24   Q. Okay. What was the origin of that article?               24     triggered him to do this article about you?
25   A. He called me up one day and said, I hear you're going    25   A. Yes, I think I mentioned, he said that he had heard
                                                 Page 35                                                          Page 37
 1     to Washington. I said, that's true, and he said, how    1        that I was going to Washington to do this job and
 2     come no one's written anything about it, and I said,    2        people had talked about it.
 3     it didn't really strike me as something all that        3      Q. When you were going to Washington, what -- did -- did
 4     significant, and he said, I'd like to do something      4        you move to Washington?
 5     with it, is that okay.                                  5      A. Well, I did and the plan was that my entire family was
 6   Q. And what did you say?                                  6        going to, we had our house for sale, but my children
 7   A. I said, yeah, if you want to.                          7        were very young at the time and they stayed, it was
 8   Q. And then what happened?                                8        during the summer. They wanted me in Washington
 9   A. He asked me some questions, we talked over a period of 9        sooner rather than later, so I went with the plan that
10     a couple days and he wrote an article.                 10        after they sold the house, they would move.
11   Q. Has -- this is an article about what?                 11                Shortly after I got there I was working
12             MR. SMITH: Objection to form.                  12        with the deputy attorney general who was Larry
13   BY MR. KOHN:                                             13        Thompson at the time. He announced he was leaving the
14   Q. I mean, he wrote an article. What was the subject     14        justice department, and with the family situation, I
15     matter of the article?                                 15        ended up just deciding to come back to Plymouth. It
16   A. It was sort of like a semi biographical piece saying, 16        was easier that way.
17     local Department of Justice employee going to          17      Q. So my question is was the job in D.C. a promotion or a
18     Washington.                                            18        detail?
19   Q. Has any other journalist ever written a biographical  19      A. It started out it was really a promotion but I was
20     piece about you?                                       20        working on a detail, and I had the option of
21   A. Not that I recall.                                    21        converting from civil service to Schedule C political
22   Q. Did you find that article flattering?                 22        appointee but that never occurred, and it was a
23   A. I actually found it embarrassing.                     23        detail, it was a one-year detail, and when Mr.
24   Q. But you cooperated with him in writing it?            24        Thompson left, I exercised my option to end the
25   A. Yes.                                                  25        detail.




                                                                                       10 (Pages 34 to 37)

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 1   Q. Do you know Ann Coulter?                                 1     was going to write an article about Mr. Convertino?
 2   A. I do.                                                    2   A. What time frame are you talking about?
 3   Q. How do you know her, from what?                          3   Q. January, maybe December or January -- December 2003,
 4   A. Law school.                                              4     January 2004.
 5   Q. Are you friends with her?                                5   A. Did you say non-DOJ people?
 6   A. Yes.                                                     6   Q. Yes.
 7   Q. Have you ever discussed Richard Convertino with Ann      7   A. The answer's no.
 8     Coulter?                                                  8   Q. Did you -- when the article came out, did you notice
 9   A. No.                                                      9     that there was an announcement of it on Fox News?
10   Q. Did you ever provide her any information whatsoever     10   A. No.
11     about the Koubriti case?                                 11   Q. Getting back with Mr. Ashenfelter, have you ever
12   A. No.                                                     12     provided him any information whatsoever on background?
13   Q. Did you ever provide her any information whatsoever     13   A. Explain what background means.
14     about any Department of Justice matter?                  14   Q. Means you give him information, background on a matter
15   A. What do you mean by provide her?                        15     that he's not supposed to use in the newspaper or cite
16   Q. Give her stuff about anything to do with the            16     to you. You're just essentially giving him a heads up
17     Department of Justice.                                   17     on a matter.
18   A. You're talking about particular cases?                  18             MR. SMITH: Objection to form.
19   Q. Anything.                                               19             You can answer if you're able to.
20   A. Well, I don't know what anything means.                 20   A. When you say a matter, are you talking about specific
21   Q. DOJ matters.                                            21     cases?
22   A. Well, let me say it this way. She's a legal analyst,    22   BY MR. KOHN:
23     she writes about legal issues. I sometimes discuss my    23   Q. Anything, anything.
24     understanding of legal issues with her without talking   24   A. I recall, I believe it was Mr. Ashenfelter, once was
25     about specific cases, if that's what you mean.           25     told there was a reporter, it was either

                                                Page 39                                                          Page 41
 1   Q. And did you communicate with Ann Coulter, have           1     Mr. Ashenfelter or Mr. Shepherdson, there was a murder
 2     communications with her in the August of 2003 through     2     in a suburban community which was believed to be drug
 3     January 2004 time frame?                                  3     related. The chief of police of that community said
 4   A. Say the dates again.                                     4     that he was going to send it to the Department of
 5   Q. August of 2003, January 2004 time frame, did you have    5     Justice as a possible death penalty case. Someone
 6     any communications with her?                              6     called me and said, is this a potential death penalty
 7   A. On any subject?                                          7     case and I remember providing that.
 8   Q. Yeah.                                                    8   Q. And you did that on background, in other words, like
 9   A. I don't recall.                                          9     your name wasn't used but you gave them that
10   Q. Did you tell her or send her an e-mail or anything to   10     information on background?
11     alert her to the fact that the Plymouth Free Press was   11             MR. SMITH: Objection to form.
12     going to do an article about Mr. Convertino?             12   BY MR. KOHN:
13   A. No.                                                     13   Q. In other words, did you -- at the time you gave that
14   Q. Are you aware that she works for Fox News?              14     information to the journalist, did you know if your
15   A. I don't believe she does. I don't believe she ever      15     name was going to appear as the source of that
16     did.                                                     16     information?
17   Q. Do you know what network she works for?                 17   A. I think I did.
18   A. I don't believe she works for a network. I'm sorry.     18   Q. And did it appear as the source?
19             MR. SMITH: I was going to object on              19   A. I don't recall, but --
20     foundation grounds but --                                20   Q. So you did not ask or say, this is on background,
21   BY MR. KOHN:                                               21     don't use my name?
22   Q. Have you ever had any communications with Fox News?     22   A. No, I believe what I did was explain as best I could
23   A. No.                                                     23     my understanding of the federal death penalty statute
24   Q. Did you make any person who's not a DOJ employee, any   24     and say, if a law enforcement agency asks us to look
25     person in the whole world, aware that Mr. Ashenfelter    25     at a case, we will look at it and evaluate it.




                                                                                      11 (Pages 38 to 41)

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 1   Q. Okay. But at the time you had the conversation were       1     article as an official Department of Justice
 2     you providing this information understanding that you      2     spokesperson?
 3     were going to be quoted as some type of expert or          3   A. As to that it was a local media representative and it
 4     department spokesperson or were you just giving him        4     was simply saying, we will listen to any information
 5     the information because it's just information but you      5     that a law enforcement agency brings us, yes, I could.
 6     didn't -- but you didn't want to be quoted, like, you      6   Q. Next question, did you ever speak to any journalist in
 7     know, Mr. Tukel, Assistant United States Attorney,         7     your entire life off the record?
 8     U.S. Department of Justice, you understand the             8   A. Explain what you mean by off the record.
 9     difference here?                                           9   Q. Well, where you go to the journalist and say this is
10   A. I didn't really follow the whole question.               10     off the record.
11   Q. Okay. I'm trying to say --                               11   A. No.
12   A. I thought there were several questions in there.         12   Q. Your entire life you've never done that?
13   Q. I'm trying to say background means -- and I'm not        13   A. Not that I recall.
14     trying to say there's something wrong with this, but      14   Q. How many times have you spoken to Mr. Shepherdson?
15     when you give a journalist information on background,     15   A. Numerous times.
16     you're giving them information which might be 100         16   Q. Was it at one point almost once a day or something?
17     percent legitimate, but you just don't want your name     17             MR. SMITH: Objection to form.
18     associated with it when it goes into print.               18   BY MR. KOHN:
19   A. I did --                                                 19   Q. I mean, was there a time in your life when you spoke
20             MR. SMITH: There's no question pending.           20     to him almost once a day?
21   BY MR. KOHN:                                                21   A. There was a time where we spoke frequently, yes.
22   Q. That's my definition. And this conversation you had,     22   Q. And never once during that entire series of
23     did you give it to the journalist on background or did    23     conversations you ever -- you asked him to keep
24     you anticipate that you'd be quoted in the newspaper?     24     something off the record?
25   A. I didn't know what they would do, but I was willing to   25             MR. SMITH: Objection to form.
                                                  Page 43                                                         Page 45
 1     be quoted saying if a law enforcement agency brings us     1             You can answer.
 2     a case and asks us to look at it to determine if there     2   A. My relationship with Mr. Shepherdson was more that I
 3     are potential federal criminal charges, we will            3     found out information from him than I was telling him,
 4     evaluate it.                                               4     which is the primary reason that I spoke with him.
 5             MR. SMITH: I just wanted you to let him            5   BY MR. KOHN:
 6     finish.                                                    6   Q. I understand, but as you spoke to him was this for
 7   BY MR. KOHN:                                                 7     attribution to be published in the newspaper?
 8   Q. Okay. And are there rules concerning who can speak on     8   A. Sometimes.
 9     the record to the press, you know, and identify            9   Q. All these con -- sometimes but sometimes it was not?
10     themselves as a United States Department of Justice       10   A. Sometimes he would call me up to tell me something.
11     employee?                                                 11     He would say, such and such happened in court, what do
12             MR. SMITH: Are you talking specifically           12     you think about that case. It so happens that at that
13     about --                                                  13     time we did not have a very good policy of how
14   BY MR. KOHN:                                                14     information about what was going on in court came to
15   Q. Press rules.                                             15     senior staff and it was a very effective way of
16             MR. SMITH: -- press rules at the U.S.             16     finding out what was going on in court.
17     Attorney's Office in Plymouth or some broader?            17   Q. And on -- my question is during all of these
18   BY MR. KOHN:                                                18     conversations did you have any understanding with
19   Q. Where you worked. Did you know that?                     19     Mr. Shepherdson that some of the stuff you said to him
20   A. What time frame are you talking about?                   20     would not be used in a newspaper or at least
21   Q. Since you've worked there.                               21     attributed to you?
22   A. Yes, there are. There are Eastern District of            22   A. No.
23     Michigan rules and there are U.S. attorney general        23             MR. SMITH: Objection to form.
24     rules -- or Department of Justice general rules.          24             You've already answered.
25   Q. Under those rules could you have been quoted in this     25   BY MR. KOHN:




                                                                                       12 (Pages 42 to 45)

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 1   Q. Did -- how many times did he put your name in the       1   A. Not in terms of those specific dates.
 2     newspaper with all these conversations, how many times 2     Q. But if you said it kind of started around sometime in
 3     did he quote you?                                        3     '02 and '03?
 4   A. I don't know.                                           4   A. Right, but then I left for a while.
 5   Q. But that would be in this file you have, we could look  5   Q. Okay. And when did you come back, September?
 6     at all your quotes in the newspaper?                     6   A. Right.
 7   A. My file is about cases that I personally litigated,     7   Q. Okay. Let's talk September. When you came back
 8     worked on.                                               8     through the time period that the article in the
 9   Q. So would you answer questions about cases you aren't    9     Plymouth Free Press was published, were you having
10     working on?                                             10     communications with Mr. Shepherdson on an almost daily
11   A. At times when I was first assistant that was one of my 11     basis?
12     responsibilities.                                       12   A. I don't know if that was the case throughout that
13   Q. No, with Mr. Shepherdson, you'd give him information 13       period but at some point in that period, yes.
14     or answer questions about cases you weren't working     14   Q. And during these communications did you talk about the
15     on?                                                     15     Koubriti case, yes or no?
16   A. If I was the first assistant and he had a specific     16   A. I don't recall.
17     case related question and it was something which was    17   Q. And during this time period did you ever talk about
18     permissible, I would answer.                            18     Mr. Convertino with Mr. Shepherdson, yes or no?
19   Q. So every time you spoke -- in 2003 and 4, about how    19   A. I don't recall that.
20     many conversations did you have with Mr. Shepherdson? 20     Q. I want to get back to this I don't recall. Wasn't the
21   A. I don't recall.                                        21     Koubriti case a big thing between September 2003 and
22   Q. Was it over 100?                                       22     January 2004?
23   A. I don't recall that.                                   23   A. Not during that entire time period.
24   Q. When it was on a daily basis what was that time frame? 24   Q. But during that time period, wasn't that a major case
25   A. I wouldn't say it was always on a daily basis. I       25     of sorts?

                                                 Page 47                                                        Page 49
 1     think that's a mischaracterization.                     1    A. Yes.
 2   Q. Okay. But there was a time when it was on a daily      2    Q. And you had daily or almost daily contact with a
 3     basis?                                                  3      journalist during that time period, yes or no?
 4   A. It was on an approximate daily basis.                  4    A. Yes or no what?
 5   Q. Okay. During what time period?                         5    Q. Did you have daily or almost daily contact with a
 6   A. I don't recall exactly when that started.              6      journalist during that time period?
 7   Q. Best guess.                                            7    A. Yes.
 8   A. 2002, 2003.                                            8    Q. And you are now testifying that you cannot remember if
 9   Q. And when did it end?                                   9      you discussed the Koubriti case during that time
10   A. Through the years, after I was no longer first        10      period with that journalist. I'm giving you an
11     assistant it declined, and then he moved to Washington 11      opportunity to correct this testimony right now or let
12     and we rarely speak now.                               12      it stand that you can't remember, what is it?
13   Q. Okay. And when did he leave to Washington?            13    A. Are you saying did I ever discuss the Koubriti case
14   A. I can't tell you the exact day.                       14      with him?
15   Q. Best guess.                                           15    Q. During that time period did you discuss the Koubriti
16   A. Within the last two years.                            16      case with him?
17   Q. Was this daily or almost daily communication in place 17    A. Even one time?
18     between the -- between August of 2003 and January      18    Q. Yes.
19     2004?                                                  19    A. Oh, yeah.
20   A. Repeat that please.                                   20    Q. More than one time?
21   Q. Was this daily or almost daily communication with     21    A. I don't recall how many times.
22     Mr. Shepherdson in place, happening, between August of 22    Q. Give me your best guess on how many times.
23     2003 and January, including January 2004?              23              MR. SMITH: With David Shepherdson?
24   A. I don't recall that.                                  24    BY MR. KOHN:
25   Q. You don't remember?                                   25    Q. David Shepherdson, best guest.




                                                                                     13 (Pages 46 to 49)

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                                                 Page 50                                                         Page 52
 1   A. I couldn't tell you that.                                 1   Q. Is there any log kept of phone calls that you make or
 2   Q. More than once?                                           2     that come in to you through the office?
 3   A. You have to understand, Mr. Shepherdson would call and    3   A. Not that I know of.
 4     would say things to me. I wouldn't necessarily             4   Q. Now, I understand -- did you ever speak to
 5     respond to what he was saying.                             5     Mr. Ashenfelter about Mr. Convertino?
 6   Q. How many times did he call about the Koubriti matter      6   A. Yes.
 7     during that time period?                                   7   Q. And when was that?
 8   A. Well, I think you also have to understand, he wouldn't    8   A. The day of that hearing in December he called me.
 9     really call about any particular matter. He would          9   Q. Tell me what happened, where did he call you, at home
10     call and say, this is going on in the courthouse,         10     or at work?
11     there's these other things going on, you know.            11   A. We spoke at home. I don't recall exactly where he
12   Q. And how many times during that time period did he call   12     called me.
13     in which the subject of the call related to the           13   Q. And so you -- did he have your home phone number?
14     Koubriti matter?                                          14   A. I believe he had my cell phone number because he had
15   A. I couldn't tell you that. I don't --                     15     it from when he wrote that article about me.
16   Q. But more than once?                                      16   Q. And so he called you on your cell or did he call you
17   A. I suspect it was more than once.                         17     on your home line?
18   Q. A lot of times, multiple?                                18   A. I'm sure he didn't call me on my home line because I
19   A. I don't recall but I believe that probably around the    19     don't think he had that. He may have left me a
20     time of the December hearing there were probably          20     message at the office or he may have called on my
21     several calls.                                            21     cell.
22   Q. Do you keep a log or a diary --                          22   Q. Okay. So at home, what time of the evening, if it was
23   A. No.                                                      23     in the evening, was this call made?
24   Q. -- of any sort?                                          24   A. I don't recall the exact time. It was after baths and
25   A. No.                                                      25     kids went to bed.
                                                 Page 51                                                         Page 53
 1   Q. Do you have a personal calendar, a personal calendar      1   Q. What time do they usually go to bed?
 2     where you put notations in it?                             2   A. Well, at the time they were very young. I don't know,
 3   A. Yes.                                                      3     7:30 or 8:00 I would guess.
 4   Q. Do you know if that was turned over to the Department     4   Q. So sometime after 8:00 p.m. you received a call from
 5     of Justice Office of inspector general?                    5     Mr. Ashenfelter at home?
 6   A. I don't know.                                             6            MR. SMITH: Objection, foundation.
 7   Q. Do you know if it was turned over to the lawyers here     7   A. I think the call might have been earlier and I was
 8     today?                                                     8     busy and I called him back.
 9   A. I don't know.                                             9   BY MR. KOHN:
10   Q. Okay. Do you still have that calendar?                   10   Q. Okay. So you had a discussion and approximately how
11             MR. SMITH: For what time period?                  11     long was this discussion?
12   BY MR. KOHN:                                                12   A. I don't recall that.
13   Q. The time period of 2003 all the way through now.         13   Q. Was it more than 15 minutes do you think?
14   A. Well, I have some, but I doubt I have anything going     14   A. At this point I really don't recall.
15     back that far.                                            15   Q. Was it two hours? Do you have any idea --
16   Q. I'm interested now also just in terms of contacts and    16   A. No, it would not have been two hours.
17     communications you may have had so I'm just going         17   Q. How about one hour?
18     to -- and I'll discuss that.                              18   A. I don't think so.
19   A. Well, back up, I'm not sure I understood your            19   Q. 30 minutes, what's your best guess?
20     question. When you say calendar, I calendar meetings.     20   A. Something in that vicinity.
21   Q. Yeah, I'd like to take a look at that.                   21   Q. And during this telephone conversation you talked
22   A. Okay. I mean, I understand your question, but --         22     about Mr. Convertino?
23   Q. Do you keep time records?                                23   A. Well, he brought up the subject because he was asking
24   A. No. Well, not billable hour records if that's what       24     about the hearing that day.
25     you mean. We fill out something called a USA 5.           25   Q. In regards to Mr. Convertino, what do you remember of




                                                                                       14 (Pages 50 to 53)

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                                                 Page 54                                                         Page 56
 1     the conversation?                                         1   A. In that conversation?
 2   A. I recall that it was his impression that it was the      2   BY MR. KOHN:
 3     beginning of the -- it was the beginning of the           3   Q. Yes.
 4     undoing of that case.                                     4   A. I don't think we talked about anything else because I
 5   Q. That's what he said to you?                              5     didn't think it was appropriate to talk about
 6   A. Words to that effect.                                    6     specifics like that, but I did want him to understand
 7   Q. And what did -- how did you respond to that?             7     that I didn't think it was the undoing of that case.
 8   A. I told him that I thought that was a premature           8   Q. Did you think it -- did he ask you if it could lead to
 9     conclusion and you can't ever tell what a judge is        9     the undoing?
10     planning to do and I would not -- I would not reach      10   A. He didn't really ask, he -- that was his opinion.
11     that conclusion at that time.                            11   Q. Did you tell him, well, maybe but it's too early to
12   Q. And then what else was said during this conversation?   12     tell?
13   A. We discussed things that had gone on in the office      13   A. That's exactly basically what I told him.
14     during the time I was gone and cases that were           14   Q. Now, this call occurred 10 days after Mr. Convertino
15     pending.                                                 15     was given his OPR referral letter, correct?
16   Q. What types of things did you discuss that had gone on   16             MR. SMITH: You can answer if you know.
17     in the office?                                           17   A. I don't know the date.
18   A. What cases were going on, what cases seemed             18   BY MR. KOHN:
19     significant. I'd been gone -- as I said, we learned a    19   Q. Well, wasn't that hearing on or about December 12th,
20     lot of information from reporters telling us what they   20     2003? Does that ring a bell?
21     observed in court at the time. I mean, that was well     21   A. That sounds familiar.
22     understood throughout the office.                        22   Q. And didn't you -- didn't the letter get sent to
23   Q. So at 8:00 p.m. you're having a chat with him at home   23     Mr. Convertino about his OPR on December 2nd, 2002?
24     about what's been going on in the office --              24   A. I'm not sure of the dates.
25   A. Well --                                                 25   Q. I'm sorry, December 2nd, 2003?
                                                 Page 55                                                         Page 57
 1   Q. -- the day after the hearing -- was this the day of      1   A. I'm sorry, could you repeat the full question?
 2     that hearing or the day after?                            2   Q. Do you remember that his referral to the OPR, meaning
 3   A. I think it was the day of.                               3     when he got the letter being told he was under an OPR
 4   Q. So on the day of that hearing related to the Koubriti    4     investigation, that was on or about December 2nd,
 5     case where he thought the Koubriti case might be          5     2003, correct?
 6     undone, you guys are having an nice friendly chat         6   A. I think that's right.
 7     about what's going on in the office, correct?             7   Q. And that hearing was on or about December 12th, 2003,
 8             MR. SMITH: Objection, argumentative, asked        8     correct?
 9     and answered.                                             9   A. On or about.
10             You can answer it.                               10   Q. So this call at eight -- with an adult at 8:00 p.m. at
11   BY MR. KOHN:                                               11     your house was about 10 days after Mr. Convertino was
12   Q. That's what was going on?                               12     given the OPR charge, correct?
13   A. Well --                                                 13   A. Right.
14             MR. SMITH: Same objection.                       14   Q. And you knew that Mr. Convertino was given that
15   A. -- at the time, first of all, it was a very long day    15     charge, correct?
16     and at the time I had at home a two-year-old and a       16   A. Yes.
17     less than one year old and my wife was expecting our     17   Q. And now you're talking to Mr. Ashenfelter at home
18     third child, and after a long day and baths and          18     about Mr. Convertino, correct?
19     putting kids to sleep, it was actually just sort of      19            MR. SMITH: Objection, asked and
20     pleasant to talk to an adult and he happened to call     20     answered --
21     me.                                                      21   BY MR. KOHN:
22   BY MR. KOHN:                                               22   Q. Yes or no?
23   Q. And what else do you remember talking about             23            MR. SMITH: -- several times.
24     Mr. Convertino?                                          24   A. I don't think that's what I was doing.
25             MR. SMITH: Objection to the form.                25   BY MR. KOHN:




                                                                                      15 (Pages 54 to 57)

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                                                 Page 58                                                         Page 60
 1   Q. But you were talking about -- Mr. Convertino came up     1   Q. Yes.
 2     in the conversation, didn't he?                           2   A. Ever?
 3   A. He brought it up in the case. I discussed my             3   Q. Yeah.
 4     conclusion about what the effect on the case was.         4   A. In person on phone?
 5   Q. Now, this friendly conversation about what was going     5   Q. Yes.
 6     on in the office, did any of that also include            6   A. Yes.
 7     Mr. Convertino?                                           7   Q. How many times?
 8   A. I don't believe so.                                      8   A. I couldn't tell you that, I don't recall that.
 9   Q. So you talked about the hearing, somehow Convertino      9   Q. How about from your home, did you ever talk to him?
10     came up and then you started talking about what's        10   A. I don't think so.
11     happening in the office but none of that talk            11   Q. You don't think so but you could have?
12     concerned anything to do with Mr. Convertino, correct,   12   A. Well, I don't recall.
13     yes or no?                                               13   Q. Is it I don't recall but no, or I don't recall but it
14   A. I think that's correct.                                 14     could have happened?
15   Q. Did you also talk about personal things during that     15              MR. SMITH: Objection, form.
16     phone call?                                              16   A. It's I don't recall.
17   A. What do you mean by personal things?                    17   BY MR. KOHN:
18   Q. You know like how your kids are doing, that type of     18   Q. Okay. Now, after the article appeared in the
19     thing?                                                   19     newspaper about Mr. -- and this is the article from
20   A. I don't think we talked about my kids. We talked        20     January, published on January 16th or 17, 2004, do you
21     about what I had done in Washington and why I had come   21     know the article I'm talking about?
22     back from Washington.                                    22   A. Yes.
23   Q. And did you consider if every single thing you said     23   Q. After that article appeared in the paper, did
24     during that conversation word for word was published     24     Mr. Ashenfelter ever contact you about, one, to find
25     in the newspaper, would you have been surprised?         25     out who the source of that article was -- excuse me,
                                                 Page 59                                                         Page 61
 1   A. Yeah.                                                    1     to find out anything in the office, like discussions,
 2   Q. So during that conversation you did have an              2     internal office discussions, et cetera, about that
 3     expectation that at least some of the things you were     3     article?
 4     talking about would not be put into print, correct,       4   A. No.
 5     yes or no? You can explain.                               5   Q. Did he ever call you about any of the subject matters
 6   A. I would say no with the explanation that I believed      6     in the article?
 7     that very little of what we talked about was              7   A. You're talking about subsequent to it appearing?
 8     newsworthy.                                               8   Q. Yeah, after the article. Did he ever call you up
 9   Q. How many other times -- okay. This was a December        9     about say Marwan Farhat?
10     2003 call, have you ever spoken to Mr. Ashenfelter at    10   A. No.
11     your home before?                                        11   Q. Did he ever call you up about the Makalda matter after
12   A. I believe when I was leaving for Washington he called   12     the article?
13     me several times writing that piece. I don't know if     13   A. I don't believe so.
14     they were at home. I remember being on the cell          14   Q. Did he ever call you after that article about
15     phone, because I remember one of them I was at the       15     Mr. Convertino?
16     48th District Court, which is a local district court,    16   A. I don't believe so.
17     filing something there.                                  17   Q. Did he ever call you to tell you about anything to do
18   Q. After your conversation with Mr. Ashenfelter on or      18     with what was going on in -- whether he was going to
19     about December 12th, did you ever talk in your entire    19     have to divulge any sources?
20     rest of your life to Mr. Ashenfelter at home again?      20   A. No.
21   A. I don't recall doing so.                                21   Q. I'm going to show you a document we're going to mark
22   Q. After the article appeared about Mr. Convertino on or   22     as Exhibit 1 and this is the article.
23     about January 16th or 17, 2004, did you ever again       23   A. Okay.
24     talk to Mr. Ashenfelter, yes or no?                      24             MARKED BY THE REPORTER:
25   A. Ever?                                                   25             DEPOSITION EXHIBIT 1




                                                                                      16 (Pages 58 to 61)

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                                                Page 62                                                          Page 64
 1             10:08 a.m.                                        1   Q. Would he ever come by the office?
 2             MR. KOHN: And for the record I'm showing          2   A. He was by the office sometimes.
 3     the witness a document marked as Exhibit 1 which is       3   Q. When he would come by the office did he ever talk to
 4     the January -- it's dated January 17, 2004, the           4     you?
 5     headline, Terror Case Prosecutor is Probed on Conduct     5   A. I don't know what coming by the office means. We used
 6     by David Ashenfelter.                                     6     to have a policy where we would leave press releases
 7   BY MR. KOHN:                                                7     in the lobby, people would come and pick up press
 8   Q. Do you see this document?                                8     releases. I remember seeing him there once or twice.
 9   A. I do.                                                    9     I don't know that he came to speak to people after
10   Q. And when we've been talking about the Ashenfelter       10     that.
11     article or the article about Mr. Convertino, is this     11   Q. Did he ever come by and just say hello to you?
12     the article you understood?                              12   A. No, and the setup of our office wouldn't allow that
13   A. Yes.                                                    13     anyhow.
14   Q. Now, I want you to look at this article please and      14   Q. How about at the courthouse, did you ever see him at
15     tell me what in this article Mr. Convertino --           15     the courthouse?
16     Mr. Ashenfelter, after January -- on or after January    16   A. Sure. I mean that's how I knew him.
17     17, 2004, ever called you up about to talk to you on     17   Q. And when you would see him there, would you say hello?
18     or off the record, confidential or not?                  18   A. Generally.
19             MR. SMITH: Do you want him to read the           19   Q. Would you sometimes have some chit-chat with him, you
20     entire article?                                          20     know, how are things going?
21   BY MR. KOHN:                                               21   A. Yes.
22   Q. Yeah, I want you to go through it.                      22   Q. Do you know what his favorite baseball team is?
23   A. I will do that. Is your question anything that's in     23   A. No.
24     this article that he ever subsequently asked me about?   24   Q. Do you have a favorite baseball team?
25   Q. Yes. That's what I want to know and thank you for       25   A. Plymouth Tigers.

                                                Page 63                                                          Page 65
 1     rephrasing that.                                         1    Q. Do you know if he has any children?
 2             MR. SMITH: I think it'll take him a few          2    A. I don't know. I don't know anything about his
 3     minutes to read the article.                             3      personal life.
 4             MR. KOHN: Okay. We can go off the record,        4    Q. Did you ever talk to him about your personal life?
 5     sure.                                                    5    A. I certainly did when we -- when he was writing that
 6             (Recess taken at 10:09 a.m.)                     6      article when I was going to Washington.
 7             (Back on the record at 10:19 a.m.)               7              MARKED BY THE REPORTER:
 8   BY MR. KOHN:                                               8              DEPOSITION EXHIBIT 2
 9   Q. Mr. Tukel, have you had an opportunity to read Exhibit 9               10:22 a.m.
10     1, the Ashenfelter article?                             10    BY MR. KOHN:
11   A. Yes.                                                   11    Q. Do you recognize this document?
12   Q. And upon review of that can you tell me which parts of 12    A. Yes.
13     that article -- the subject matters in there you had    13    Q. And what is this?
14     conversations with Mr. Ashenfelter after January 17,    14    A. That is the article that Mr. Ashenfelter wrote about
15     2004?                                                   15      me when I was going to Washington.
16   A. I don't recall having conversation with him as to any  16    Q. Did you cooperate with him on this article?
17     of this.                                                17    A. I spoke to him about it, if that's what you mean.
18   Q. Okay. Thank you. Now, I want to call your -- now       18    Q. I'm going to call your attention on page two --
19     when you say any of this, what do you mean by any of 19       A. Can I have a chance to read the whole thing please?
20     this?                                                   20    Q. Oh, please, absolutely.
21   A. Any of the content of that article.                    21    A. Okay. I've read it.
22   Q. I want to again go back to your relationship with      22    Q. Okay. Is this the article that he wrote about you?
23     Mr. Ashenfelter. Can you remember the circumstances 23        A. Yes.
24     of your first meeting with him?                         24    Q. And my question is, did you fully cooperate with this
25   A. Not specifically.                                      25      article, the writing of this article, I mean giving




                                                                                      17 (Pages 62 to 65)

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                                                 Page 66                                                          Page 68
 1     him information for this article?                          1     surprise me, it was a Republican administration and it
 2   A. I answered the questions he asked me.                     2     was probably something he had asked, but if I didn't
 3   Q. If you look on page two, it mentions this Bloomfield      3     tell him, it's not a secret. A lot of people could
 4     Hills attorney?                                            4     have told him that.
 5   A. Yes.                                                      5   Q. And in terms of -- did you tell him that you came to
 6   Q. Who's he, who is him (sic)?                               6     the attention of the Attorney General through your
 7   A. He's a friend of mine.                                    7     membership in the Federalist Society?
 8   Q. And who gave Mr. Ashenfelter his name?                    8   A. Yes.
 9   A. I don't know.                                             9   Q. And did you tell him that you used to work for the
10   Q. Do you think that Mr. Ashenfelter knew before he         10     National Republican Congressional Committee?
11     started writing this article that this lawyer had         11   A. Yes.
12     information about you?                                    12   Q. And the National Republican Senatorial Committee?
13   A. I think he probably knew that, he knew that we were      13   A. Yes.
14     friends.                                                  14   Q. Now, you said the position you were going to was -- at
15   Q. How did he know you were friends?                        15     this time was a detail?
16   A. It's a well-known fact. Mr. Pizitowski (phonetic)        16   A. It was set up as a detail.
17     who's referred to in the article is a very well-known     17   Q. Okay. So therefore it was a career civil service
18     criminal defense attorney who's a former assistant        18     position at the time, correct?
19     U.S. attorney.                                            19   A. Correct, with the opportunity to convert it if I
20   Q. So I assume then you told him you were married and had   20     wanted to at some point.
21     two children?                                             21   Q. So what would your political leanings have to do with
22   A. Right.                                                   22     your selection for a civil service position?
23   Q. And did you share with him also your political           23             MR. SMITH: Objection to form.
24     beliefs?                                                  24             You can answer.
25   A. I don't know if he asked me that or if someone else      25   A. Well, number one, I wasn't making relevancy objections

                                                 Page 67                                                          Page 69
 1     told him that.                                             1     to the questions he asked me. He was asking me
 2   Q. Lifelong Republican, I'm looking on page two of the       2     biographical questions and I answered. Number two, it
 3     document where it says you're a lifelong Republican.       3     is very common in Washington for, I'm talking
 4   A. Yeah, I know, I saw that, but something just occurred     4     Department of Justice in Washington, for jobs which
 5     to me about this, because this is a web version            5     are slotted as political positions, as are all but I
 6     article and I don't think this is identical to the         6     believe one of the jobs in the department -- in the
 7     print article, because the print article made              7     deputy attorney general's office, to be filled by
 8     reference to Ann Coulter.                                  8     detailees.
 9   Q. So the print article may have more substance in it?       9   BY MR. KOHN:
10   A. Yes. And I definitely did not discuss Ann Coulter        10   Q. So it's your --
11     with him so someone had -- had brought that up with       11   A. So detailees can fill political positions. So I don't
12     him, and the same person or persons may have brought      12     know if that answers your question, but --
13     up lifetime -- lifelong Republican, I don't -- I don't    13   Q. Okay. It does, if that's your understanding. And
14     know.                                                     14     you've asked -- and I have a question.
15   Q. Did you tell him you had a friendship with Ann           15             When you went and took this job and you
16     Coulter?                                                  16     went to Washington, did anyone ever talk to you about
17   A. I did not.                                               17     the Koubriti case?
18   Q. Did you ever ask Ms. Coulter how it came that she was    18   A. When I went to Washington?
19     identified in the article?                                19   Q. Yeah, when you were in this position and I'm -- were
20   A. Did I ever ask Ann how?                                  20     you ever actually the associate deputy attorney
21   Q. Yeah.                                                    21     general, yes or no?
22   A. No.                                                      22   A. Well, there was more than one, but I was Associate
23   Q. What about, did you tell them you were a lifelong        23     deputy attorney general.
24     Republican?                                               24   Q. Okay. So, I'm just talking all the technicalities.
25   A. I don't know, I mean, I don't recall. It wouldn't        25     So you were that, but on a detail, that was your




                                                                                       18 (Pages 66 to 69)

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 1     position?                                                1     A. I'm sure he never said that.
 2   A. That's right. That's right.                             2     Q. Or he thinks the case will go down the tubes?
 3   Q. Okay. So when you were in that position did anybody     3     A. I'm sure he never said that. That would have stood
 4     ever talk to you about the Koubriti case?                4       out.
 5   A. Not that I recall. I was not working on those types     5     Q. Or he hopes that Convertino gets in trouble for the
 6     of issues.                                               6       case?
 7   Q. Did you ever try to apply to become U.S. Attorney for   7     A. Never.
 8     the Eastern District?                                    8     Q. Did you ever talk to Eric -- let me -- when you say
 9   A. Pardon?                                                 9       you're friends, have you ever socialized with
10   Q. Did you ever apply to become the U.S. Attorney for the 10       Mr. Straus?
11     Eastern District?                                       11     A. Occasionally.
12   A. Yes.                                                   12     Q. Are you both members of the Federalist Society?
13   Q. When was that?                                         13     A. He's not a member.
14   A. 2000.                                                  14     Q. Does he attend meetings?
15   Q. And is there an application for that somewhere?        15     A. He may have come to a meeting or two.
16   A. I don't know if it still exists. There was.            16     Q. Have you ever been to his house?
17   Q. And were you offered the position?                     17     A. No.
18   A. No.                                                    18     Q. Has he ever been to your house?
19   Q. And now going back, so it's your testimony that during 19     A. He was at my house once I think. I know he was there
20     your time period as the associate deputy attorney       20       once. I think that was the only time.
21     general, you were never -- no one ever talked to you    21     Q. And what about after work, have you ever --
22     about the Koubriti case?                                22     A. Occasionally.
23   A. That's my best recollection.                           23     Q. How about -- I'm sorry.
24   Q. Did the name Richard Convertino ever come up while you 24     A. We socialized a lot more when we were younger and
25     were in that position?                                  25       didn't have kids. Now everybody gets home because
                                                  Page 71                                                        Page 73
 1   A. I think David Nahmais brought it up once.                 1     they have family responsibilities.
 2   Q. Okay. What did he bring up?                               2   Q. Did you kind of start working at the office at a
 3   A. It was -- I don't remember the specifics. It was at       3     similar time that he started?
 4     the very end of my detail there. Everyone knew I was       4   A. He was there a little bit before me.
 5     coming back and I think he just said, you know,            5   Q. And what about lunch, you ever have lunch with him?
 6     there's something going on with that case in your          6   A. Very occasionally. He tends to eat in.
 7     office.                                                    7   Q. Okay. And now with Mr. Straus, did you ever talk to
 8   Q. What did you say in response?                             8     him about the newspaper article, Exhibit 1?
 9   A. Nothing. I didn't really -- I didn't know much about      9   A. I'm looking at 2.
10     the case. I had followed it in the papers. Before I       10   Q. 1 is the -- I'm sorry.
11     left I was a line assistant. I had no supervisory         11   A. The Ashenfelter piece?
12     involvement or role in that case.                         12   Q. Yes, Exhibit 1. Ashenfelter-Convertino, not
13   Q. Did you ever hear -- do you know Eric Straus?            13     Ashenfelter-Tukel.
14   A. Yes.                                                     14   A. Right. I know we talked about it shortly after it
15   Q. Is he a friend of yours?                                 15     came out.
16   A. Yes.                                                     16   Q. How about before it came out?
17   Q. Did you ever hear him make statements while the case     17             MR. SMITH: Whether he talked about the
18     was -- you know, before the jury verdict, you know,       18     article before it came out?
19     during the preparation phase of the case or the trial     19   BY MR. KOHN:
20     phase of the case, words to the effect that he thought    20   Q. Yeah, about that Ashenfelter was doing an article.
21     the case was bad?                                         21   A. I don't think so.
22   A. Tell me the time frame again you're asking about?        22   Q. What about -- when you talked to -- and after, what
23   Q. Any time up until the jury returned its verdict.         23     did you talk about this article after it came out?
24   A. I don't recall ever hearing that.                        24             MR. SMITH: Objection to form.
25   Q. Or words to the effect that he hopes the case is lost?   25             You can answer.




                                                                                       19 (Pages 70 to 73)

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 1   A. I remember talking about it with him the day it came      1   A. You're talking about things --
 2     out or the day after it came out.                          2   Q. Oh, no. I'm talking context of this article, trying
 3   BY MR. KOHN:                                                 3     to determine who the source or sources may have been.
 4   Q. What do you remember of that conversation?                4   A. Well, I mean we talked -- and you're talking now after
 5   A. Did you see that article that came out.                   5     the article came out?
 6   Q. Did you ever talk with him about who the source was?      6   Q. Yes. Yes.
 7   A. I think we did.                                           7   A. I know we talked about the Shishani stuff because
 8   Q. Did he ask you whether you were the source?               8     Shishani had been his case.
 9   A. I don't think he ever asked me like that.                 9   Q. What did you talk about that?
10   Q. Did you ever ask him?                                    10   A. I don't recall the specifics. I mean, I think it was
11   A. No.                                                      11     repeating what we had talked about during the OPR
12   Q. Is the reason you didn't do that because you each knew   12     referral process.
13     who the source was --                                     13   Q. Did any discussion go on who may have been the source
14   A. No.                                                      14     on the Shishani materials?
15   Q. -- you didn't need to ask?                               15   A. Not specifically like that.
16   A. No.                                                      16   Q. Who would have known about the Shishani incident that
17   Q. And when he asked about who the source was, what did     17     was reported in the press?
18     you say?                                                  18   A. I need to take a look again and see what it says.
19             MR. SMITH: Objection, foundation.                 19   Q. Yeah, take a look.
20             You can answer.                                   20   A. The pretrial services officer, I believe Mr. Straus,
21   A. I don't think he ever asked like that, the way you're    21     and it's possible the three agents who had been
22     asking.                                                   22     assigned to the case but I don't recall specifically
23   BY MR. KOHN:                                                23     what they told me about that.
24   Q. Did he ever ask you who you thought the source was?      24   Q. And you?
25   A. I don't think he ever asked it quite like that. I        25   A. Yes. Well, at what time frame?

                                                 Page 75                                                          Page 77
 1     think he said there was a lot of stuff floating            1   Q. Before the article came out.
 2     around. Do you think he heard -- he meaning                2   A. Well, once the OPR, yes.
 3     Mr. Ashenfelter, heard these different things that         3   Q. So you knew about it through the OPR and Straus knew
 4     were floating around.                                      4     about it and the pretrial services officer would have
 5   Q. And what did you say in response to that?                 5     known some of it?
 6   A. I don't know.                                             6   A. Uh-huh.
 7   Q. Did you agree with him?                                   7            MR. SMITH: Objection, compound. I mean
 8   A. About what?                                               8     are you asking him to --
 9   Q. That there was a lot of stuff floating around.            9   BY MR. KOHN:
10   A. I was not aware of that, but I had not been in the       10   Q. I'm going to -- okay. Yeah, because actually we've
11     strike force at the time of the Koubriti trial and he     11     done the old thing where you have to say yes, you
12     had. I had never laid eyes on or heard of Marwan          12     can't do a nonverbal communication.
13     Farhat, he had. So he seemed to know more of things       13   A. Sorry.
14     like that than I did.                                     14   Q. That's okay. I'll just go back and repeat myself.
15   Q. Did you ask him what these things floating around        15            So Mr. Straus knew it, correct?
16     were?                                                     16   A. And we're talking about --
17   A. Are you talking about any specific time frame or just    17   Q. Shishani?
18     ever?                                                     18   A. Yes, and we're talking about during the OPR referral
19   Q. Just in that conversation, when he said these things     19     period, right?
20     were floating around the office, did you ask him what     20   Q. We're talking about actually before January 16, 2004.
21     was floating around?                                      21   A. Okay.
22   A. He's mentioned things to me that were floating around.   22   Q. Okay. So Mr. Straus knew about it?
23   Q. Tell me, what were they?                                 23   A. Yes.
24   A. They're not necessarily things related to this.          24   Q. You knew about it?
25   Q. Yeah.                                                    25   A. Yes.




                                                                                       20 (Pages 74 to 77)

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 1   Q. Now, let's look at --                                    1     speculation early on, and I think including
 2   A. And the pretrial service officer and possibly the        2     Mr. Straus, that perhaps Mr. Convertino himself had
 3     three agents and Jeff Collins and Alan Gershel would      3     been the source of some of this.
 4     have known as well because they were involved in the      4   Q. And how did you learn about that speculation?
 5     OPR preparation process.                                  5   A. I think I heard it from him.
 6   Q. And now let's go and look at the -- have you             6   Q. And what did you say when he said that?
 7     identified where that is in the article?                  7   A. I don't recall any specific comments.
 8   A. What?                                                    8   Q. Has anyone in the office ever asked you if you were
 9   Q. The Shishani matter.                                     9     the source?
10   A. It's the fifth paragraph down.                          10   A. I don't think anyone's ever asked me in those words.
11             MR. SMITH: Sixth.                                11   Q. And have you ever asked anyone in the entire office
12   A. One, two, three, four, five, sixth paragraph down and   12     whether they were the source?
13     then I think it's mentioned maybe again. No, I guess     13   A. No.
14     that's the only reference to it.                         14   Q. In your last answer you said in those words. What do
15   BY MR. KOHN:                                               15     you mean by in those words?
16   Q. And going back to the reference in there, you           16            MR. SMITH: You're going back two answers.
17     mentioned the three agents?                              17            MR. KOHN: Two questions, we can read it
18   A. Yes.                                                    18     back.
19   Q. Why would the three agents have known about             19   A. You're going to have to read it back.
20     Mr. Convertino's conversation with the pretrial          20            MR. KOHN: Can you read back the question
21     services employee?                                       21     and answer from when he said in those words?
22   A. I think I said I'm not sure if they did, they might     22            (The following portion of the record was
23     have. There was a time where I interviewed those         23            read by the reporter at 10:42 a.m.:
24     three agents because they somehow -- I heard that they   24            "Question. Has anyone in the office ever
25     had information that they thought might be relevant.     25            asked you if you were the source?
                                                Page 79                                                          Page 81
 1   Q. Did you keep notes of that interview?                    1            Answer. I don't think anyone's ever asked
 2   A. I did.                                                   2            me in those words.")
 3   Q. And during the course of that interview did you tell     3   BY MR. KOHN:
 4     them what the allegations were against Mr. Convertino?    4   Q. Okay. What do you mean by in those words?
 5   A. I don't think there were allegations at that time.       5   A. Meaning words to that effect were you the source, were
 6   Q. And other than that, do you remember discussing any      6     you involved in that, something like that.
 7     other aspect of this article with Mr. Straus?             7   Q. Did they ever like ask you indirectly, more like in an
 8   A. At any time?                                             8     more indirect way trying to probe whether you were the
 9   Q. Yeah, after the article came out.                        9     source or knew who the source was?
10   A. After the article came out. I don't have any specific   10   A. I don't think so.
11     recollections of that.                                   11   Q. Now, going back to Mr. Sauget --
12   Q. Now, did Mr. Straus ever give -- tell you who he        12   A. Yes.
13     thought the leak or -- the leakers or the leaker might   13   Q. -- did you interview him related to the Makalda matter
14     be?                                                      14     for the OPR referral?
15   A. I think his thought from what he said is that there     15   A. I spoke to him, I'm not sure I'd call it an interview.
16     were these different things that were heard and put      16   Q. Did you take notes of that interview?
17     together.                                                17   A. There was --
18   Q. But he didn't put a name to the different things that   18            MR. SMITH: Objection to form. He just
19     were heard and put together, like who might be saying    19     said he didn't call it an interview.
20     that?                                                    20   BY MR. KOHN:
21   A. No.                                                     21   Q. Or notes when you spoke to him?
22   Q. And again, did you ever provide Mr. Straus any          22   A. Well, I spoke to him on more than one occasion, but
23     speculation or opinion whatsoever as to who the          23     specifically referring to the portion that's in the
24     sources or source may have been?                         24     OPR referral, I didn't take notes.
25   A. I don't think so. But I do recall there was             25   Q. And can you remember during your interview process




                                                                                      21 (Pages 78 to 81)

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 1     with him or just when you were talking with him about 1        A. A little bit.
 2     it, what -- how did -- what did he say happened at       2     Q. What do you know about him?
 3     the -- at that sentencing hearing?                       3     A. He was elected in 1980, he's from Iowa, he's a
 4   A. I believe he said that he got to court in Ann Arbor     4       Republican. I believe that he grew up as a farmer and
 5     and there was something in a case file that he had not 5         entered politics as a second career.
 6     been expecting or some sort of a motion or something. 6        Q. When you were in the position of associate deputy
 7   Q. And then what did he tell you?                          7       attorney general, in your detail or whatever as
 8   A. I can't recall that right now. I'd have to look back    8       reflected in Exhibit 2, did his name ever come up in
 9     at the OPR referral to try and...                        9       any discussions at all?
10   Q. Did he tell you that he was surprised about what       10     A. It may have. I'm trying to remember what his position
11     happened at the hearing?                                11       was. It was a Republican controlled senate at the
12   A. There was something about being surprised involved. 12          time so he would have been chairman of something but I
13   Q. Did you -- did you ever talk to -- strike that.        13       don't remember.
14             Did you ever again after 2000 apply to the      14               When I was in the Deputy Attorney General's
15     U.S. attorney?                                          15       Office it was very well delineated who had
16   A. No.                                                    16       responsibilities for what and in terms of really the
17   Q. Do you have -- do you have any concerns that if you 17          political on-the-hill legislative type of things, I
18     are identified as the person who leaked the             18       wasn't really involved in that and so it would have
19     information to the Plymouth Free Press that it could    19       been unusual for me really to hear nuts and bolts,
20     harm your career?                                       20       putting together legislation, legislatures' names
21   A. Of course.                                             21       coming up.
22   Q. Now, in this -- I'm going to call your attention again 22     Q. What was your function when you served as deputy
23     to Exhibit Number 2.                                    23       attorney general?
24   A. All right.                                             24               MR. SMITH: Associate deputy attorney
25   Q. So according to this you worked on the staff, it says, 25       general.
                                                 Page 83                                                          Page 85
 1     to be of a congressman?                                    1   BY MR. KOHN:
 2   A. Yes.                                                      2   Q. Associate deputy attorney general. What did you do?
 3   Q. And you also worked for the National Republican           3   A. My responsibilities?
 4     Congressional Committee?                                   4   Q. Yeah.
 5   A. Correct.                                                  5   A. I had oversight authority for the Bureau of Alcohol
 6   Q. And the National Republican Senatorial Committee?         6     Tobacco and Firearms which had only recently become a
 7   A. Yes.                                                      7     Department of Justice agency, there were a lot of
 8   Q. How much time did you actually spend working on either    8     transition issues, and then subsumed in all that was
 9     for congressman or senate or house related type of         9     everything involving firearms and firearms laws, which
10     activities?                                               10     I didn't know a whole lot about.
11   A. You want that broken down or just an aggregate?          11             I mean, there were things I had
12   Q. Yeah. It says here the next three years, is that         12     responsibility for on paper that I never really did
13     correct?                                                  13     much with. Do you want to hear those too?
14   A. Yeah, that's correct.                                    14   Q. No, just what you were actually working on.
15   Q. That was a three-year stint?                             15   A. Working on. ATF; recommendations for death penalty
16   A. A three-year stint.                                      16     cases to the attorney general and the deputy attorney
17   Q. And how much of that was in the congressman's office     17     general; the computer crimes and intellectual property
18     versus these other two offices?                           18     section of the department. I'm sure there's a couple
19   A. Approximately -- I worked for the congressman from --    19     others but I'd have to think for a few minutes.
20     I graduated college in May of 1982, started working       20   Q. Were you aware at any time while you worked there that
21     for the congressman probably in August. I stayed          21     Senator Grassley had placed holds on some Department
22     there until I think July the next year and I did that     22     of Justice nominees?
23     for about a year, did the senatorial committee for        23   A. No, I don't think so.
24     about a year and then I went to law school.               24   Q. Have you ever been made aware that?
25   Q. Do you know anything about Senator Charles Grassley?     25   A. No, my recollection is that the hold process is




                                                                                       22 (Pages 82 to 85)

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 1     confidential and so that doesn't get -- no one finds       1     would have answered I'm sure. I never asked her to,
 2     that out.                                                  2     if that's what you're saying.
 3   Q. When -- are you aware that there did come a time that     3   BY MR. KOHN:
 4     staff representatives from the finance committee or        4   Q. Do you know if she's ever done that for you any time
 5     people who worked for Senator Grassley had asked to        5     in your career?
 6     talk with Mr. Convertino?                                  6              MR. SMITH: Served as a reference?
 7   A. Did you say did I ever learn that?                        7   BY MR. KOHN:
 8   Q. Yeah.                                                     8   Q. Yeah.
 9   A. Yes.                                                      9   A. I've never listed her as a reference. I personally
10   Q. Okay. In relationship to -- were you in -- okay.         10     think she's too controversial to use for that.
11     When did you leave Washington?                            11   Q. Are you currently looking for a job outside of the
12   A. I don't remember the exact date. It was early            12     justice department?
13     September.                                                13   A. No.
14   Q. Okay. Early, so before or after Labor Day, do you        14   Q. Getting back to Senator Charles Grassley, so when you
15     know?                                                     15     returned to work in Plymouth did you learn of anything
16   A. I think it was -- I think Labor Day was on a Monday      16     going on between Rick Convertino and Senator Grassley?
17     and I think I finished that week. But it could have       17   A. Can I just back up to your last question?
18     been a week either way.                                   18   Q. Sure.
19   Q. Do you remember that there was any type of controversy   19   A. A colleague and I were just accepted to teach in the
20     related to Senator Grassley and Rick Convertino right     20     fall as a part-time position. I've never taught
21     at that time when you were coming back in?                21     before, but I understood your question to mean
22   A. You mean in Washington?                                  22     full-time employment.
23   Q. In Washington or in Plymouth.                            23   Q. Okay. Did you apply for that job?
24   A. Well, I took a week off before I got back to Plymouth.   24   A. We jointly applied.
25     I don't -- I mean -- I was transitioning out of           25   Q. And what is the -- what's the university or college?

                                                 Page 87                                                          Page 89
 1     Washington and I had a week off before I came back to      1   A.  University of Michigan.
 2     Plymouth.                                                  2   Q.  At the law school?
 3   Q. Did you have any involvement over the Butch Jones         3   A.  Law school.
 4     death penalty matter when you were an associate?           4   Q.  And so that'll be in the fall?
 5   A. No, I think --                                            5   A.  Correct.
 6            MR. SMITH: Associate deputy attorney                6   Q.  In regards to Senator Charles Grassley, what was your
 7     general.                                                   7     understanding when you came back from the detail of
 8   BY MR. KOHN:                                                 8     Mr. Convertino and Senator Grassley?
 9   Q. Associate deputy attorney general.                        9   A. Could you --
10   A. No, I think that case was much older than that, and I    10   Q. Did you know there was any relationship anything going
11     would have been recused from it anyhow. There was         11     on between Convertino and Grassley?
12     actually a Plymouth case that came up while I was         12   A. Well, I think I had heard that there was a controversy
13     there and I did not handle that for that reason.          13     about his testimony.
14   Q. Did Ann Coulter, do you think she had anything to do     14   Q. Tell me who you heard that from.
15     with your getting a job in D.C.?                          15   A. I think I heard that from Alan Gershel.
16   A. Ann?                                                     16   Q. What did he tell you?
17   Q. Yes.                                                     17   A. There was controversy about his testimony.
18   A. I don't know. It's -- I mean, if someone had called      18   Q. What else did he say about it?
19     her for a reference she might have --                     19   A. I don't recall any specifics, but it was something to
20   Q. Have you ever used her for a reference?                  20     do with whether he had gotten clearances to appear or
21            MR. SMITH: You kind of cut off his answer.         21     something like that. It was a very formal process at
22     She might have, was there more to that answer?            22     the Department of Justice.
23   A. I mean, she knows a lot of people. If people, you        23   Q. And did you -- what was your comment on that?
24     know, those types of jobs, networking is important.       24   A. I had none. I didn't -- I didn't know anything about
25     If someone had called her to say, who is this guy, she    25     it.




                                                                                       23 (Pages 86 to 89)

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 1   Q. And do you know if the Department of Justice was          1     mean, yeah, a letter from Senator Grassley and they
 2     communicating with Senator Grassley about Rick             2     wanted to know about this -- is there a reassignment
 3     Convertino?                                                3     going on, is a secretary in our office being
 4   A. At what time?                                             4     reassigned, what are the facts.
 5   Q. After -- from September 2003 through January 17, 2004.    5   Q. Do you remember about when that happened?
 6   A. At some point I learned that.                             6   A. In the fall.
 7   Q. How'd you learn that?                                     7   Q. Okay. Now, did there come a time when you were asked
 8   A. There were some letters that -- or -- well, there was     8     to do some type of review about Mr. Convertino and --
 9     at least one letter that was written, there may have       9     which ultimately led to the OPR referral?
10     been more than one.                                       10   A. Not exactly.
11   Q. What was this?                                           11   Q. Okay. How did your involvement in putting together
12   A. There was a letter from Senator Grassley, I don't        12     what would ultimately become the OPR, how did that
13     remember to whom it was addressed, asking about           13     originate?
14     Mr. Convertino and whether he was being reassigned or     14   A. Bob Cares had prepared a memo which he brought to Alan
15     something to that effect.                                 15     Gershel and myself and the memo had to do with Marwan
16   Q. Did you see that letter?                                 16     Farhat and it documented some history. At the time,
17   A. Yes.                                                     17     this was the fall of 2003, we had formed a
18   Q. And did you help write a response to it?                 18     counterterrorism unit at some point shortly after
19   A. I don't remember, I may have. My recollection is         19     9/11, 2001. Bob Cares was the chief of that. It had
20     there was a conference call involving some people in      20     something to do with Mr. Cares having wanted to use
21     the DAG's office with whom I had recently been working    21     Marwan Farhat as a witness in one or more cases and
22     and I think they were -- nothing in the Department of     22     that -- that never happened, and then Mr. Cares
23     Justice gets written by any one person. They were         23     learned somehow that there had been a significant
24     having input, I think they were seeking our input.        24     motion for reduction of Mr. Farhat's sentence by
25     Ultimately, anything that goes to a member of congress    25     Mr. Convertino and he brought that to our attention

                                                 Page 91                                                          Page 93
 1     gets signed off by the Office of Legislative Affairs       1     with that memorandum.
 2     but I think they were putting together a working           2   Q. And did he attach to that memo like e-mails?
 3     response.                                                  3   A. There were a couple of attachments to it, one or two
 4   Q. Office of Legislative Affairs?                            4     e-mails. I mean, it wasn't a huge memo but there were
 5   A. Right.                                                    5     definitely one or two e-mails attached to it.
 6   Q. And who from the DAG's office?                            6            MR. KOHN: And once -- I'm going to show
 7   A. I remember Stuart Levy.                                   7     you a document I'll now mark as Exhibit Number 3.
 8   Q. Anybody else?                                             8            MARKED BY THE REPORTER:
 9   A. I don't remember anyone else. It would be fairly          9            DEPOSITION EXHIBIT 3
10     typical in any DAG meeting that there's going to be a     10            10:59 a.m.
11     whole bunch of people.                                    11   BY MR. KOHN:
12   Q. And have you had other contacts with Mr. Levy?           12   Q. And I'm going to ask you if you could please take a
13   A. Well, I had worked with him that summer.                 13     look at that and tell me -- I'm going to have two
14   Q. Was he also an associate deputy attorney general?        14     questions. First, if you have ever seen this before;
15   A. He was the Principal Associate Attorney General.         15     and second, if to the best of your recollection this
16             MR. SMITH: Associate deputy attorney              16     was one of the documents attached to the Cares memo.
17     general or --                                             17            MR. SMITH: Read it with those questions in
18   A. Principal associate deputy attorney general or as they   18     mind but let him then ask the questions before you say
19     would refer to it, PA-DAG. Which means when               19     anything.
20     Mr. Thompson left, he became the acting deputy            20   BY MR. KOHN:
21     attorney general for a short period of time.              21   Q. Thank you.
22   BY MR. KOHN:                                                22   A. Okay. Ask me the questions please.
23   Q. Okay. So there's a -- and what do you remember about     23   Q. First of all, have you ever seen any of these e-mails
24     this conference call?                                     24     before?
25   A. That there was a letter from Senator Grassley -- I       25   A. Before this memo has been given to me --




                                                                                       24 (Pages 90 to 93)

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                                                Page 94                                                          Page 96
 1   Q. Yes.                                                     1   Q. Who obtained a copy of the transcript of the
 2   A. -- when Bob Cares gave it to me?                         2     sentencing to the best of your knowledge?
 3   Q. Yes.                                                     3   A. Mr. Gershel ordered it.
 4   A. Never.                                                   4   Q. So he got it. Who else got a copy?
 5   Q. And did Mr. Cares provide you these documents?           5   A. I'm not sure.
 6   A. Yes.                                                     6   Q. You got a copy?
 7   Q. Can you remember about when that happened?               7   A. I think I did. I either had --
 8   A. It was the first week I was back from Washington.        8   Q. You think you did or did you get copy of that
 9   Q. Okay. So he brought this issue to your attention?        9     transcript --
10   A. Well, actually I was in Alan Gershel's office and he    10   A. Well, I --
11     was bringing it to Alan's attention, and, you know, I    11            MR. SMITH: Let him finish the question
12     was sort of new on the job and I think everyone forgot   12     before you start answering, and also please let him
13     about me, but since I was there, he gave it to me        13     finish his answer before you ask the next question.
14     also.                                                    14            MR. KOHN: Thank you.
15   Q. And what happened next?                                 15   BY MR. KOHN:
16   A. I know Alan and I talked about it. I assume we talked   16   Q. Just saying, question, to the best of your
17     about it with Bob Cares also, but I don't really         17     recollection did you obtain a copy of that sentencing
18     recall that. Considered what was being told to us.       18     hearing?
19   Q. And how did that then lead into something to do with    19   A. Me personally?
20     Mr. Convertino, like what was the follow-up to that?     20   Q. Yes.
21   A. I can tell you events that happened, I'm not certain    21   A. I don't know if I ever had my own copy. The office
22     about the time frame --                                  22     had received a copy, Alan had it and I had access to
23   Q. Okay.                                                   23     it.
24   A. -- the time line at this point.                         24   Q. Did you ever read the transcript?
25   Q. So what happened next with the Cares memo?              25   A. Yes.
                                                Page 95                                                          Page 97
 1   A.  I can't tell you exactly what happened next.            1   Q. Did you ever make a notation on the transcript?
 2   Q.  Okay. So --                                             2   A. No.
 3   A.  But I can tell you things that happened.                3   Q. Now, did you ever make a copy of the transcript?
 4   Q.  Okay. Tell me what happened.                            4   A. I don't recall.
 5   A.  Okay. Mr. Gershel and I were thinking about talking     5   Q. Okay. Going back, so you ordered the transcript.
 6     to Mr. Convertino about this and finding out what had     6   A. I did not order it, Mr. Gershel ordered it.
 7     happened, because the allegation here, either in this     7   Q. And then you read it?
 8     memo or the implication from what we found out, was       8   A. At some point I read it.
 9     that a motion had been made to reduce Mr. Farhat's        9   Q. And then in terms of my question, this genesis of what
10     sentence and at that time that required approval from    10     eventually led to your writing the OPR letter?
11     Mr. Gershel.                                             11   A. Okay.
12             We were thinking about whether we should         12   Q. Okay. So now you have the transcript, what -- you had
13     ask to schedule a meeting and how we should do that or   13     a meeting with Mr. Convertino.
14     if we should do that, and Mr. Convertino sent either     14   A. Right.
15     us or me, meaning either myself and Mr. Gershel or       15   Q. What are you talking about with Mr. Gershel and
16     just me a memo asking for a meeting.                     16     Mr. Collins concerning Mr. Convertino?
17   Q. Okay.                                                   17   A. We were not -- we were not getting answers, I don't
18   A. And that led to a meeting.                              18     believe, about what the approval process had been for
19   Q. And then what happened?                                 19     Mr. Farhat's sentence and it led to subsequent
20   A. We met.                                                 20     meetings.
21   Q. And then what happened after -- you met and then what   21   Q. And then what?
22     happened?                                                22   A. After the meetings?
23   A. We met, we discussed the case. At some point            23   Q. Yeah.
24     Mr. Gershel ordered the transcript of the sentencing     24   A. I mean, at some point two things happened. One, we
25     and --                                                   25     decided to take a look at other cases of




                                                                                      25 (Pages 94 to 97)

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                                                 Page 98                                                       Page 100
 1     Mr. Convertino's in which there had been a motion to      1   Q. Okay. In any event, do you remember -- do you
 2     reduce the sentence to see if there had been approval     2     remember the time frame of this conference call about
 3     given in those, and we decided to make an OPR referral    3     responding to Senator Grassley's letter?
 4     on it.                                                    4   A. It was in the fall.
 5   Q. Now, who appointed you to undertake this job?            5   Q. It was sometime in the fall. Do you know if that
 6   A. I think it was Jeff Collins.                             6     meeting happened before or after there was a decision
 7   Q. Okay. Tell me about that, what did he say to you or      7     that what was going on -- that there might be a
 8     was it presented to him and he appointed you?             8     referral to OPR with Mr. Convertino?
 9   A. Yeah, I don't think it was as formal as all that, but    9   A. I don't know.
10     Mr. Gershel and I met with him, we discussed what had    10   Q. Was there any discussion at that meeting that you
11     occurred in our meetings. I think one of the things      11     alerted the people in Washington that there might be
12     that occurred was that Mr. Collins had sent a memo or    12     an OPR issue related to Mr. Convertino?
13     e-mail to Mr. Convertino saying that he needed to meet   13   A. In other words, when we were having the conference
14     with us to discuss that, and we reported back what the   14     call --
15     results of that had been and I think that there was      15   Q. Yes.
16     then a decision between the three of us that this        16   A. -- with the DAG's office --
17     needed to go to OPR.                                     17   Q. Yes.
18   Q. Okay. So that -- I think that meeting was on or         18   A. -- about the Senator Grassley letter?
19     about -- I think it was like October 10?                 19   Q. Yes.
20   A. Which meeting?                                          20   A. I don't recall that.
21   Q. The meeting you just testified to where you met with    21   Q. Would that be the type of information in your mind it
22     Mr. Convertino. I think that was in October.             22     would be important for the DAG's office to know about?
23   A. There were three meetings.                              23   A. Very likely.
24   Q. Okay. Do you remember the dates?                        24   Q. Why?
25   A. Not really without looking at my notes. I mean, I       25   A. They don't like surprises.
                                                 Page 99                                                       Page 101
 1     think I remember the dates on two but I would need to     1   Q. And did you ever inform the DAG's office that there --
 2     see my notes --                                           2     do you have a recollection of ever informing the DAG's
 3   Q. Okay. What were the two dates?                           3     office that there was in fact going to be or already
 4   A. The first was I believe September 23rd.                  4     had been an OPR referral?
 5   Q. Okay.                                                    5   A. Well, that's two questions.
 6   A. And I believe the next was October 10.                   6   Q. Okay.
 7   Q. Yeah, and the third one?                                 7   A. I don't know if we told them that there was going to
 8   A. I don't know.                                            8     be but -- well, I don't really know if we ever told
 9   Q. Okay. Which of these meetings was the one that you       9     them that, but when the referral was being put
10     came out of thinking that it was an OPR referral was     10     together and finalized I was told to send it to the
11     going to happen?                                         11     executive office of the U.S. attorneys and that
12   A. I'm not sure.                                           12     happened. I don't know if that also got communicated
13   Q. And do you know in terms of time sequence how much      13     to the Deputy Attorney General's Office or not.
14     time went between that October 10th meeting and that     14   Q. Who told you to send it to the executive office of
15     third meeting?                                           15     U.S. attorneys?
16   A. I would know if I looked at my notes.                   16   A. Jeffrey Collins.
17   Q. Do you have a copy of those?                            17   Q. Do you know why he did that?
18   A. Not with me.                                            18   A. I don't know why.
19            MR. KOHN: Do you have a copy?                     19   Q. Do you know what need to know the executive office
20            MR. SMITH: I don't believe we have them.          20     had?
21     They definitely were produced.                           21   A. I don't know specifically.
22            MR. KOHN: Yeah.                                   22   Q. You just sent it off?
23            (Discussion off the record at 11:07 a.m.)         23             MR. SMITH: Objection to form.
24            (Back on the record at 11:08 a.m.)                24             You can answer.
25   BY MR. KOHN:                                               25   BY MR. KOHN:




                                                                                    26 (Pages 98 to 101)

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                                                Page 102                                                        Page 104
 1   Q. What did you send to the executive office of U.S.         1   Q. Now, were there any other communications with Main --
 2     attorneys?                                                 2     were there any other communications between you and
 3   A. I sent them a draft.                                      3     Main Justice before the formal letter was sent to OPR?
 4   Q. So the draft of --                                        4   A. Me personally?
 5   A. An OPR referral.                                          5   Q. Yeah.
 6   Q. So that was done before there was a referral?             6   A. No.
 7   A. Correct.                                                  7   Q. Do you remember the date of the formal referral to
 8   Q. Did they have input into the referral?                    8     OPR? I know it was in the November, do you remember
 9   A. The executive office?                                     9     that date?
10   Q. Yes.                                                     10   A. No.
11   A. In terms of content?                                     11   Q. Okay. I'll tell you what, from my notes here, if I
12   Q. Yes.                                                     12     was to tell you it was November 3, does that sound
13   A. I don't recall. I mean, I think the reason it was        13     about right?
14     sent to them was to give them that opportunity.           14   A. That sounds right. I was going to say 2nd or 3rd.
15   Q. And you wrote the referral, isn't that true?             15   Q. This sending of the draft to the executive office,
16   A. I wrote the majority of it.                              16     how -- about how much time was that done before
17   Q. Isn't it true that you wrote it and then Mr. Collins     17     November 3rd?
18     just signed it?                                           18   A. Perhaps a week to 10 days.
19   A. No. He edited it and there were discussions              19   Q. Now, in terms of the letter to Senator Grassley, you
20     throughout, certainly with Mr. Gershel and I think        20     talked about this conference call, do you know how
21     with Mr. Collins, about content and how it was being      21     much time, you know, between the conference call and
22     put together.                                             22     the letter to Senator Grassley?
23   Q. Did the executive office of U.S. Attorneys provide you   23   A. I think the letter from Senator Grassley was first.
24     any input into anything to do with the content of the     24   Q. Yeah, and then back to Senator Grassley, so there'd be
25     letter?                                                   25     a letter from Grassley, a conference call and then a

                                                Page 103                                                        Page 105
 1   A. I don't recall.                                         1       letter to Senator Grassley.
 2   Q. Who was your point of contact at the executive office? 2      A. Yeah --
 3   A. I did not really have a point of contact. I believe     3               MR. SMITH: Is that a question?
 4     Mr. Collins had a point of contact and my recollection   4     BY MR. KOHN:
 5     from looking at the documents was that it was sent to    5     Q. Do you know how much time expired between your
 6     a gentleman by the name of Ken Blanco.                   6       conference call and the letter to Senator Grassley?
 7   Q. And did you ever talk to Mr. Blanco?                    7     A. I'm not sure I ever even saw the letter from Senator
 8   A. Have I ever?                                            8       Grassley. That would have been the Office of
 9   Q. Yeah.                                                   9       Legislative Affairs, so, no, I don't know.
10   A. I think I did when I was in Washington.                10     Q. But what about the letter to, the response to Senator
11   Q. So you knew him at that time?                          11       Grassley? Did you ever see that?
12   A. I wouldn't say that. I think I was introduced to him   12     A. Right, but -- I don't know.
13     once in the hallway.                                    13     Q. And at that conference call was there a discussion --
14   Q. So that office is in Main Justice?                     14       were they going over the contents of the letter with
15   A. The AUSA's office is in Main. It was at the time, I    15       you?
16     don't know where they are now.                          16     A. I don't think so.
17   Q. And so he got it, did you talk to him or anyone in     17     Q. Are you aware or ever made aware whether anyone from
18     that office about what you -- was there oral            18       the Office of Legislative Affairs was provided
19     communications between you and the executive office of 19        information concerning the OPR referral?
20     U.S. Attorneys?                                         20     A. I don't know that.
21   A. You mean after this draft was sent to them?            21     Q. Did you ever provide information to anyone from
22   Q. Yeah.                                                  22       legislative affairs to the -- about the OPR referral?
23   A. Not that I recall.                                     23     A. The only way it would have been in that conference
24   Q. Did they ever send you something back?                 24       call is if someone was sitting in on that and if that
25   A. Not that I recall.                                     25       subject came up.




                                                                                   27 (Pages 102 to 105)

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 1            MARKED BY THE REPORTER:                             1   A. I don't know of any specific procedures or policies.
 2            DEPOSITION EXHIBIT 4                                2     I would have brought it to their attention because in
 3            11:16 a.m.                                          3     my opinion it would have been something they would
 4   BY MR. KOHN:                                                 4     have known of. It is also possible the way the
 5   Q. And Exhibit 4 is a November 13, 2003 letter from          5     bureaucracy there works that if it had already been
 6     William Moschella to Senator Charles Grassley, dated       6     brought, it would have been brought to their attention
 7     November 13, 2003. Do you see this?                        7     some other way. Most likely through EOUSA.
 8   A. Yeah, can I just have a chance to --                      8   BY MR. KOHN:
 9   Q. Please.                                                   9   Q. But again, I understand you have a specific
10            (Discussion off the record at 11:17 a.m.)          10     recollection, but in terms of your understanding of
11            (Back on the record at 11:19 a.m.)                 11     your job and your duties and what's expected of you,
12   A. All right.                                               12     it would be something that you would have called to
13   BY MR. KOHN:                                                13     their attention?
14   Q. Okay. Now, looking at -- does this letter help           14   A. Yes.
15     refresh your recollection as to the dates that            15   Q. Now, after that interaction did you have any other
16     Grassley communicated with the Attorney General and       16     interaction with the Attorney General's, you know,
17     the Attorney General's Office had communicated with       17     Office or whatever that is? Is that the DAG?
18     him?                                                      18   A. No, the DAG is the Deputy.
19   A. No.                                                      19   Q. Okay. The DAG, the attorney general, you know,
20   Q. Okay. And looking at this letter and just -- you         20     that -- I don't know, what do you call the whole thing
21     know, I'm just going to be under the assumption that      21     in Washington there, the attorney general and his --
22     the dates here are correct. It says -- do you see         22     his direct little unit?
23     this where it says that the letter came into the          23   A. The attorney general is usually referred to as OAG,
24     attorney general on November 10, 2003?                    24     Office of Attorney General.
25   A. Yes.                                                     25   Q. And then there's the DAG?
                                               Page 107                                                         Page 109
 1   Q. And then this letter is dated November 13, 2003?          1   A. Deputy attorney general or ODAG, Office of deputy
 2   A. Right.                                                    2     attorney general.
 3   Q. So would it be safe, I mean, to assume that this phone    3   Q. Do you remember whether the OPR matter to your
 4     conference you were on was sometime between the 10th       4     knowledge was ever again called to the attention of
 5     and the 13th?                                              5     the OHE or the DHE?
 6   A. I don't think so because it makes reference to an         6   A. Yes.
 7     October 14th letter to Mr. Collins which was               7   Q. Okay. When was that?
 8     specifically about personnel in the Plymouth office.       8   A. I don't know the exact date. Someone told me to fax a
 9   Q. And now my question for you is the phone call -- I        9     copy of it to the attorney general's office.
10     understood your testimony, and I could be corrected,      10   Q. Okay. Someone told you to fax a copy of it. What was
11     that you were called in because there was a letter to     11     it?
12     the attorney general?                                     12   A. The OPR referral.
13   A. No, I don't believe so. There was a letter from a        13   Q. And who was the someone who told you this?
14     senator which needed to be responded to, I don't know     14   A. I don't recall who told me to do it. I know that it
15     which one it was.                                         15     was sent to Jeffrey Taylor in that office.
16   Q. Okay. So at the time of -- if at the time of that        16   Q. Do you know Mr. Jeffrey Taylor?
17     phone conference there had been an OPR sent or about      17   A. I know him from my days in Washington.
18     to be sent concerning Mr. Convertino, in standard         18   Q. Your days in Washington congressional or when you had
19     operating procedure in your mind would that be the        19     the detail?
20     type of information the DAG's office should be made       20   A. Detail.
21     aware of so they're not surprised or you know,            21   Q. Did you talk to Mr. Taylor?
22     blind-sided?                                              22            MR. SMITH: You mean ever?
23             MR. SMITH: Objection to form.                     23   BY MR. KOHN:
24             You can answer it if you understood the           24   Q. No, about this referral matter.
25     question.                                                 25   A. At some point I did.




                                                                                   28 (Pages 106 to 109)

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                                                Page 110                                                        Page 112
 1   Q. Tell me about that conversation.                          1   A. I probably had an assistant do the actual faxing, but,
 2   A. My recollection is that we were told to send it twice.    2     yeah.
 3     Once it went unredacted, the second time I --              3   Q. What assistant?
 4     Mr. Taylor called me on the telephone and said scrub       4   A. Could have been one of probably two or three.
 5     it of anything sensitive, and that was done and then       5   Q. Did you tell them not to read the letter or make any
 6     that was sent.                                             6     precautions when you handed it to them to fax?
 7   Q. Did he tell you why he wanted it scrubbed?                7             MR. SMITH: Objection to form, compound.
 8   A. He did not.                                               8   A. I don't recall making any restrictive comments on it.
 9   Q. Did he tell you what he was going to use it for?          9   BY MR. KOHN:
10   A. No.                                                      10   Q. Okay. So it got faxed to Mr. Taylor?
11   Q. Did the request come from him or did it come from        11   A. Right.
12     someone else in your office who told you to do it?        12   Q. Okay. And then as I understand your testimony the
13   A. I don't recall that.                                     13     next thing you remember is a phone call from
14   Q. So how did this request get communicated?                14     Mr. Taylor to you?
15   A. I don't know.                                            15   A. Correct.
16             MR. SMITH: Objection, asked and answered.         16   Q. Okay. To the best of your recollection today tell me
17   BY MR. KOHN:                                                17     what Mr. Taylor said to you.
18   Q. Okay. So what you remember is -- all right. Let's        18   A. My recollection is that some time had gone by and that
19     break it down.                                            19     Mr. Taylor hadn't ever really looked at the first one,
20             So in terms of the time sequence, is the          20     but it had some disclaimer on the top that says it may
21     letter you're sending, is that the November 3rd letter    21     contain grand jury material or something for which
22     that you wrote to OPR or is it the letter that --         22     disclosure is restricted, and he says something like,
23     December letter that was written to Convertino? Do        23     it looks like you have some grand jury stuff in there,
24     you remember which letter?                                24     redact that. He used the word scrub, scrub that, and
25   A. That we were sending to the attorney general's office?   25     any other sensitive information and resend it.
                                                Page 111                                                        Page 113
 1   Q.  Yeah.                                                    1   Q. Okay. Did you ask him why he wanted it scrubbed?
 2   A.  It would be the OPR referral.                            2   A. No.
 3   Q.  So that would be the one on November 3rd?                3   Q. Did he tell you why he wanted it scrubbed?
 4   A.  Yeah, but once it was sent in a redacted form.           4   A. He may have, I don't know.
 5   Q.  Yeah. Okay. So let's talk about the first time you       5   Q. But you don't remember now?
 6     sent it off in an unredacted form. Did that go to          6   A. I don't recall specifically.
 7     Mr. Jeffrey Taylor?                                        7   Q. Did he tell you that -- and did you in fact scrub it?
 8   A. Yes.                                                      8   A. Yes.
 9   Q. Okay. And how do you know that it was supposed to go      9   Q. And then did you fax it to him?
10     to Mr. Taylor?                                            10   A. I scrubbed it with Alan Gershel.
11   A. I don't know.                                            11   Q. Okay.
12   Q. Okay.                                                    12   A. And then we -- and then I fax -- and then I had it
13   A. Someone told me to send it to him.                       13     faxed.
14   Q. When someone told you to send it was that someone from   14   Q. And did you tell Mr. Gershel about this request from
15     your office or someone from Washington?                   15     Mr. Taylor?
16   A. I don't recall that.                                     16   A. Well, he knew because we were scrubbing it together.
17   Q. When someone told you to send it to him, did you ask     17     Oh, you mean was I the one who communicated that to --
18     why?                                                      18   Q. In other words, when you took it to him, did you tell
19   A. No.                                                      19     him why you were scrubbing it and the origin of that?
20   Q. Did they tell you why?                                   20   A. I don't know if he knew that already or if I was the
21   A. I don't think so.                                        21     one who told him that.
22   Q. Where was -- where was the letter being stored at the    22   Q. So at the time you were scrubbing it he understood it
23     time you made the copy?                                   23     was going to be scrubbed and sent to Mr. Taylor at the
24   A. In the safe in my office.                                24     attorney general's office?
25   Q. So you took it out of the safe and faxed it?             25   A. Right.




                                                                                   29 (Pages 110 to 113)

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                                                Page 114                                                        Page 116
 1   Q. Did he ask you to determine what use they were going      1     provided to senator Grassley?
 2     to make of this letter?                                    2   A. I wouldn't say it was my understanding. I would say
 3   A. I don't -- I don't think so.                              3     it was my assumption.
 4   Q. Now, when you scrubbed it, did you -- do you remember     4   Q. Okay. Did you talk to anybody in your office about
 5     what you deleted?                                          5     whether the OPR letter could be sent to the attorney
 6   A. I remember specifically --                                6     general's office?
 7            MR. SMITH: Objection to the word deleted.           7   A. No.
 8     I think he redacted it.                                    8   Q. Did you talk to anybody in your office about whether
 9   BY MR. KOHN:                                                 9     the scrubbed version of the OPR referral could be
10   Q. Or scrubbed.                                             10     given to the attorney general for use with a member of
11            MR. SMITH: Redacted.                               11     congress?
12   BY MR. KOHN:                                                12   A. Can you explain to me what you mean by the use of the
13   Q. Yeah, redacted.                                          13     word could?
14   A. I remember specifically taking out Mr. Farhat's          14   Q. Could, in other words, that they might take the letter
15     Hezbollah association.                                    15     you just faxed and somehow either give it to or use it
16   Q. And what about -- did it say on the letter that it was   16     in communications with congress. Did you -- my
17     directed to OPR and it concerned Mr. Convertino?          17     question is did you talk to like Collins or an ethics
18   A. I'm sure it did because I think that was how it had      18     officer about whether that -- whether you could --
19     been written and I don't think any of that was taken      19   A. You mean permissibly within the law?
20     off.                                                      20   Q. Permis -- exactly.
21   Q. Did you have any concern whatsoever that the attorney    21   A. No.
22     general's office may use this for a political purpose?    22   Q. Did you communicate -- call anyone at OPR to seek
23   A. No.                                                      23     guidance as to whom you could send a copy of the OPR
24   Q. Did you have any concern whatsoever that they may        24     referral letter to?
25     provide this document to the United States congress?      25   A. No.
                                                Page 115                                                        Page 117
 1   A.  When you say did I have concern --                       1   Q. And did you in fact fax the scrubbed version of that
 2   Q.  Yes?                                                     2     letter to the attorney general's office?
 3   A.  -- did I think that that would happen --                 3   A. Yes.
 4   Q.  Yeah. Did you --                                         4   Q. And did that happen in or about the month of November
 5   A.  -- or did I think that that was not something that       5     2003, do you remember?
 6     should happen?                                             6   A. I don't remember but I believe that the document I
 7   Q. Thank you very much. Did you think they may use this      7     produced had a fax cover sheet with it that should
 8     letter to provide to members of congress, yes or no?       8     show that.
 9   A. I thought they were planning to show it to senator        9   Q. Did that communication to the attorney general's
10     Grassley.                                                 10     office occur before the leak or, excuse me, before
11   Q. And what was your basis for believing they were going    11     Mr. Ashenfelter published his story in the newspaper?
12     to show it to senator Grassley?                           12     Did you fax the letter to the attorney general's
13   A. Because this correspondence with senator Grassley had    13     office before the article appeared in the Plymouth
14     been taking place.                                        14     Free Press, Exhibit Number 1?
15   Q. And this means Exhibit Number 4?                         15   A. Yes.
16   A. And associated redactions that we talked about.          16   Q. And did you fax that letter to the attorney general's
17   Q. But the thing you were just pointing to was Exhibit 4,   17     office before you had your conversation with
18     the letter?                                               18     Mr. Ashenfelter on December -- on or about December
19   A. Correct.                                                 19     12, 2003?
20   Q. My question is, so in your mind at the time you faxed    20   A. I don't know.
21     it you understood that this redacted or scrubbed          21   Q. Did you know that the OPR referral letter should be
22     version may be provided to senator Grassley, correct?     22     kept confidential, yes or no?
23   A. Repeat it once please.                                   23   A. When you say should --
24   Q. At the time you faxed the scrubbed version it was your   24   Q. Yeah. Did you understand that there was a requirement
25     understanding that the scrubbed version may be            25     that the OPR referral that you wrote up, Collins




                                                                                   30 (Pages 114 to 117)

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 1     signed, on or about November 3, 2003, was required to      1   A. Well, I don't think that can be answered yes or no.
 2     be kept strictly confidential?                             2   Q. Why not?
 3   A. I'm not sure I knew in terms of statutes or               3   A. Well, first of all, Mr. Thompson was no longer in
 4     regulations but I assumed that.                            4     office so he couldn't direct me to do anything. The
 5   Q. Yet you willfully faxed it to the attorney general's      5     office in which he had held reported to the attorney
 6     office, knowing that it might be given to a member of      6     general. Mr. Taylor was on the staff of the attorney
 7     congress, correct?                                         7     general. I felt that I reported to him.
 8             MR. SMITH: Objection, argumentative, asked         8   Q. Did anyone from the staff of the attorney general ever
 9     and answered.                                              9     give you -- prior to -- ever like write your
10             You can answer if you can.                        10     performance reviews?
11   A. I was directed to fax it to the attorney general who     11             MR. SMITH: Objection to form.
12     is the head of my agency, so I did.                       12   BY MR. KOHN:
13   BY MR. KOHN:                                                13   Q. Okay. You -- so while you were working on
14   Q. And in terms of the redacted version, who directed you   14     Mr. Convertino's OPR referral you understood that you
15     to do that, Mr. Smith or who?                             15     were reporting both to Mr. Collins and to the -- and
16   A. Who's Mr. Smith?                                         16     to the staff of the attorney general, correct?
17   Q. Excuse me, who directed you --                           17   A. No.
18             MR. SMITH: Are you asking whether I               18   Q. On matters related to whether the OPR referral letter
19     directed him?                                             19     should be kept confidential, you understood you were
20             BY MR. KOHN: No, no, not you. I just said         20     reporting to the staff of the attorney general, isn't
21     the name wrong, don't worry.                              21     that true?
22   BY MR. KOHN:                                                22   A. No.
23   Q. Who directed you to redact a copy of the referral        23   Q. You understood that the staff of the attorney general
24     letter?                                                   24     could instruct you to make, at will, giving you no
25   A. Jeffrey Taylor.                                          25     justification, to make the OPR referral on
                                                Page 119                                                         Page 121
 1   Q. Is Jeffrey Taylor your boss, yes or no?                   1     Mr. Convertino not confidential, correct?
 2             MR. SMITH: You mean now or --                      2             MR. SMITH: Objection to form.
 3   BY MR. KOHN:                                                 3             You can answer if you understand the
 4   Q. No, at that time. Was Jeffrey Taylor your boss?           4     question.
 5   A. Arguably.                                                 5   A. I'm going to have to hear the question back.
 6   Q. Oh, you didn't report to the U.S. Attorney?               6   BY MR. KOHN:
 7             MR. SMITH: Objection, argumentative.               7   Q. Okay. Let me just rephrase it.
 8   BY MR. KOHN:                                                 8   A. Okay.
 9   Q. Did you report to the U.S. Attorney for the Eastern       9   Q. You willfully, in other words, no one forced you, you
10     District, yes or no?                                      10     did it on your own volition, knowingly sent the fax to
11   A. Directly.                                                11     the staff of the attorney general of Mr. Convertino's
12   Q. And who did the U.S. Attorney for the Eastern District   12     OPR referral, correct?
13     of Michigan report to?                                    13   A. I don't think that's correct.
14   A. Deputy attorney general.                                 14   Q. You were forced to do it?
15   Q. And who's that?                                          15   A. I was ordered to --
16   A. At the time?                                             16             MR. SMITH: Objection.
17   Q. Yeah.                                                    17   BY MR. KOHN:
18   A. I don't know. It would depend on exactly when this       18   Q. Yeah?
19     took place. I don't think there was a deputy attorney     19   A. I was ordered to do it.
20     general when Mr. Thompson resigned, I came back to        20   Q. So when Mr. -- what was the name of that individual
21     Plymouth, I think there was an interim, later James       21     again?
22     Colme became the deputy attorney general.                 22   A. Jeffrey Taylor.
23   Q. So did either Mr. Thompson, the interim or Mr. Colme     23   Q. Jeffrey Taylor got on the phone and said, I order you
24     act or direct you to send that redacted version, yes      24     to do this?
25     or no?                                                    25             MR. SMITH: Objection, argumentative.




                                                                                   31 (Pages 118 to 121)

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 1             You can --                                        1     version of that referral letter regarding
 2   BY MR. KOHN:                                                2     Mr. Convertino to Mr. Ashenfelter, you would have
 3   Q. Did Jeffrey Taylor get on the phone and order you to     3     refused to comply with that instruction unless they
 4     do it, yes or no?                                         4     gave you sufficient justification? Is that your
 5   A. My understanding from my years of --                     5     testimony?
 6   Q. That's not my question. Did he order, did he say I am    6   A. Yes.
 7     instructing you to do this?                               7   Q. Okay. So -- but you -- you were willing to fax the
 8             MR. SMITH: Will you let him answer the            8     exact letter to the staff of the attorney general,
 9     question please?                                          9     knowing it might be turned over to a United States
10             MR. KOHN: It's a yes or no and then he can       10     senator, isn't that true?
11     explain.                                                 11   A. Yes.
12             MR. SMITH: I don't think the question can        12   Q. And once turned over to the United States senator,
13     be answered yes or no, but you can ask him if it can     13     what would be the restrictions on what that senator
14     be.                                                      14     could do with that document?
15   BY MR. KOHN:                                               15            MR. SMITH: Objection, calls for a legal
16   Q. Can the question be answered yes or no?                 16     conclusion I believe.
17   A. Not in my opinion.                                      17            You can answer if you know -- have any
18   Q. Okay. Then let's go to the next one. Did you tell       18     knowledge of that.
19     Mr. Collins that you were going to fax this letter,      19   A. There's an expression that I don't particularly like
20     the OPR report?                                          20     that became famous during the campaign last year
21   A. I'm sure I did. Everything involving all of the OPR     21     called, above my pay grade. I considered that
22     matters I kept Mr. Collins completely informed of.       22     decision to be above my pay grade. The attorney
23   Q. And did you in your mind -- if they had asked you --    23     general's office asked for it and it was a Department
24     if the staff of the attorney general had said, would     24     of Justice document. I gave it to them, what use they
25     you please leak the referral to the Plymouth Free        25     made of it would be up to them.
                                               Page 123                                                         Page 125
 1     Press, would you have leaked it, yes or no?               1   BY MR. KOHN:
 2   A. No.                                                      2   Q. Okay. Thank you. Based on your experience with
 3   Q. You would have been -- what if the staff of the          3     Capitol Hill, you worked there I know, other than
 4     attorney general called you up and said, would you        4     working there or in and around congress for three
 5     please fax the redacted version of the referral letter    5     years, did you have any other interactions with
 6     to Mr. Ashenfelter, would you have complied with that     6     members of the congress or legislative activities?
 7     request, yes or no?                                       7   A. Ever?
 8   A. Not without an explanation.                              8   Q. Yeah.
 9   Q. And the explanation was, we're ordering you to do it.    9   A. Not that I recall.
10   A. I -- I would not have taken that as satisfactory.       10   Q. Well, based on your experience, whatever it -- you
11   Q. If they said, in our discretion we've decided this is   11     know, at least those three years and your knowledge,
12     the appropriate use of this letter?                      12     if a document's given to a senator, do you believe
13             MR. SMITH: Objection to form.                    13     there's a chance that that senator may leak it out to
14             You can answer if you --                         14     the press?
15   A. Hypothetically?                                         15   A. Yes.
16   BY MR. KOHN:                                               16   Q. When you faxed the letter to Mr. Taylor -- is that his
17   Q. Yes.                                                    17     name Jeffrey Taylor?
18   A. I think I would have required them to come up with a    18   A. Yes, and it's spelled T-A-Y-L-O-R.
19     justification or do that themselves. What they were      19   Q. When you faxed it to him did you give him any
20     asking me for was to give them for their own internal    20     instruction as to limitations on how he could use the
21     use a Department of Justice document which I felt I      21     document?
22     had no right to withhold from them.                      22   A. No.
23   Q. So it's your testimony that if the staff of the         23   Q. Did he ask you for any guidance as to potential
24     attorney general in your supervisory chain of command    24     limitations on use of the documents?
25     asked you or ordered you to provide the redacted         25   A. He asked me to scrub it of grand jury material and




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 1     anything that he called sensitive.                      1      information did you delete all reference to the fact
 2   Q. Do you believe that the fact that Mr. Convertino was   2      that Mr. Convertino was the subject of an OPR
 3     the subject of an OPR investigation was sensitive, yes  3      referral?
 4     or no?                                                  4    A. I would have to review the letter to be sure.
 5   A. I'm sure it was but Mr. Taylor already knew that.      5    Q. So today you don't remember if you scrubbed it in that
 6   Q. So -- but -- and he also knew what the grand jury      6      fashion?
 7     information was. He had the unredacted version,         7    A. Correct. Not specifically.
 8     correct?                                                8    Q. What about generally?
 9            MR. SMITH: Objection.                            9    A. I don't think I did but I would have to look at it to
10   BY MR. KOHN:                                             10      be certain.
11   Q. Correct?                                              11    Q. Okay. I'm going to show you a document that's under
12   A. Yes.                                                  12      protective order so I'm not going to introduce it onto
13   Q. I mean he had the unredacted version and he asked you 13      the record. I'm only going to show it to you for
14     to take away anything that was sensitive, correct?     14      purposes of refreshing your recollection and then you
15            MR. SMITH: Objection, asked and answered.       15      can answer the question.
16            You can answer one more time.                   16             And for the record, this is a document
17   BY MR. KOHN:                                             17      subject to Protective Order DOJ Number 20,341 through
18   Q. Right? Okay. I just --                                18      20,353 and I'll show it and this is not for -- this is
19   A. Yes.                                                  19      only for the purpose of refreshing the witness's
20   Q. Okay. And you met with Mr. Gershel and together you 20        recollection.
21     reviewed the referral to take out sensitive            21             So don't talk about the contents of this
22     information, correct?                                  22      document on the record, it's just to refresh your
23   A. Right, but our review was to take out what we thought 23      recollection. I will show it to counsel first.
24     could affect ongoing cases.                            24             MR. SMITH: Let me see it first.
25   Q. Okay. Did the affect ongoing cases definition of      25             MR. KOHN: Okay.
                                               Page 127                                                       Page 129
 1     sensitive, did that come from Mr. Taylor or was that      1           MR. SMITH: There's no question pending
 2     based on your discussion with Mr. Gershel?                2   though.
 3            MR. SMITH: Objection. It was an either or          3 BY MR. KOHN:
 4     but there are other possibilities.                        4 Q. This is to refresh your recollection as to whether you
 5   BY MR. KOHN:                                                5   scrubbed the fact that Mr. Convertino was the subject
 6   Q. Okay. Where did you come up with that definition of      6   of an OPR referral from the letter you faxed up to --
 7     sensitive information?                                    7           MR. SMITH: Why don't you let him look at
 8   A. I think that was my and Mr. Gershel's working            8   it and then reask the question.
 9     assumption.                                               9           MR. KOHN: Sure.
10   Q. Okay. So when you -- did you call OPR to determine      10 A. I really can't answer the question without getting
11     what their definition of sensitive information was?      11   into the content.
12            MR. SMITH: You can answer.                        12           MR. SMITH: Okay. What do you want to do?
13   A. OPR had not given me any definition of sensitive.       13           MR. KOHN: Nothing. I want to come back to
14   BY MR. KOHN:                                               14   that.
15   Q. Okay.                                                   15           THE WITNESS: You want to talk about it --
16   A. That was Mr. Taylor's words.                            16           MR. SMITH: I want to talk to you.
17   Q. Okay. But did you call OPR to determine what they       17           MR. KOHN: Okay. Just so you know I'll
18     might consider sensitive information in that letter,     18   probably --
19     yes or no?                                               19           THE WITNESS: Can we just take a break
20   A. No.                                                     20   anyhow?
21   Q. Did you talk to Mr. Collins to determine what he may    21           MR. KOHN: Yeah, we'll just take a break
22     think sensitive information was in that letter, yes or   22   but what I will probably do is stuff that -- and there
23     no?                                                      23   might be other things subject to a protective order so
24   A. Very likely.                                            24   I am going to put that in another category and we may
25   Q. Okay. So when you scrubbed the letter for sensitive     25   do a separate piece of this where I have to use those




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 1     exhibits.                                                  1     you sent the OPR referral letter with the deletions
 2             MR. SMITH: And then put that part of the           2     for sensitive information to the attorney general's
 3     deposition under protective order?                         3     office, correct?
 4             MR. KOHN: Under, yeah. Anything that               4   A. Yes.
 5     might be under that. So see if that works.                 5   Q. So when you spoke to Mr. Ashenfelter, you had already
 6             (Lunch recess at 11:51 a.m.)                       6     made one communication to someone outside of the
 7             (Back on the record at 12:48 p.m.)                 7     Plymouth United States Attorney's Office in which the
 8   BY MR. KOHN:                                                 8     fact that Mr. Convertino was going to be the subject
 9   Q. Okay. I'd like to call your attention to the time         9     of an OPR investigation was not considered sensitive
10     period of November 2003. In that time frame did you       10     enough to be kept -- to be redacted, correct?
11     consider the fact that your office was going to or had    11             MR. SMITH: Objection, argumentative and
12     made a referral of Mr. Convertino to OPR strictly         12     compound.
13     confidential, yes or no?                                  13             You can answer.
14   A. What do you mean by strictly confidential?               14   A. I'm going to have to ask you to repeat it.
15   Q. Okay. Now, I'll give you my next question. During        15   BY MR. KOHN:
16     that time period of November 2003 did you consider the    16   Q. Okay. I'll say this. So at the time when you spoke
17     fact that your office was either going to or had          17     to Mr. Ashenfelter on December 12th, 2003, in your
18     already communicated an OPR referral about                18     mind you'd already made a determination that the mere
19     Mr. Convertino, was that a matter that you had            19     fact of the referral to OPR was not sensitive, isn't
20     considered sensitive?                                     20     that true?
21   A. Yes.                                                     21   A. No.
22   Q. When you were asked by a representative of the U.S.      22   Q. And you understood at the time you spoke to
23     attorney general's office to fax you a copy of your       23     Mr. Ashenfelter on or about December 12, 2003, in your
24     OPR referral and delete from it sensitive material,       24     mind it would be appropriate for the fact that
25     did you delete the fact that there -- you know,           25     Mr. Convertino was referred to OPR to be disclosed to
                                               Page 131                                                         Page 133
 1     Mr. Convertino's name from the document you sent?          1     senator Charles Grassley, isn't that true?
 2             MR. SMITH: I think that's asked and                2   A. No.
 3     answered but you can go ahead and answer it again.         3   Q. What steps did you take to prevent the attorney
 4   A. No.                                                       4     general's office from transmitting the letter you
 5   BY MR. KOHN:                                                 5     communicated to them -- I'm talking about the one that
 6   Q. Same time frame, same basic question but did you          6     you took out the sensitive information, from being
 7     also -- did you delete the fact that a referral had        7     sent to senator Charles Grassley?
 8     been sent to OPR, in other words, you blacked out          8   A. None.
 9     OPR's address?                                             9   Q. Have you ever heard the phrase in reference to
10   A. I don't believe so.                                      10     Mr. Convertino by anybody that he had gone,
11   Q. If somebody -- based upon your memory of what you sent   11     quote-unquote, off the reservation?
12     to the attorney general's office after you made the       12   A. I think it's in his civil complaint.
13     deletions of sensitive information, if someone had        13   Q. Have you read his civil complaint?
14     reviewed that document could they have inferred that      14   A. Yes.
15     Mr. Convertino was going to be the subject of an OPR      15   Q. And when did you read that?
16     investigation?                                            16   A. Whenever it came out.
17             MR. SMITH: Objection to the tense.                17   Q. Did you make a copy of it?
18             You can answer.                                   18   A. I don't think so.
19   A. Yes.                                                     19   Q. Did you show it to anybody?
20   BY MR. KOHN:                                                20   A. No, I think it was shown to me.
21   Q. Now, when -- you testified earlier that you spoke to     21   Q. By who?
22     Mr. Ashenfelter on the phone on or about December         22   A. Our civil division probably, I don't know exactly.
23     12th, correct?                                            23   Q. Other than seeing it in his complaint, had you ever
24   A. Yes.                                                     24     heard anyone in the office use words to that effect in
25   Q. And to be very clear on the time frame, that was after   25     reference to Mr. Convertino?




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 1   A. I think one of the memoranda that Mr. Convertino said 1       Q.  Yeah.
 2     to me quoted those words but I had not heard anyone      2     A.  During what time frame?
 3     orally speak those words.                                3     Q.  September 2003.
 4   Q. What was your own personal opinion of Mr. Convertino 4        A.  He was a deputy assistant attorney general in the
 5     in the late 2003, early 2004 time frame?                 5       criminal division.
 6   A. I didn't particularly know him very well.               6     Q. Did you have any interaction with him?
 7   Q. Would it be true during that time period you did not    7     A. Yes.
 8     like him?                                                8     Q. And what was that?
 9   A. I knew of his reputation and he was someone I declined 9      A. One of my responsibilities in the deputy attorney
10     to socialize with, but -- if that's dislike, yes. He    10       general's office was reviewing death penalty
11     had invited me to a party at his house in December of   11       litigation. That fell within his jurisdiction also
12     2001, a Christmas party, which I couldn't attend        12       and we were on the attorney general capital case
13     anyhow because we had a new baby at home, and I         13       review committee together.
14     just -- he was not someone I wanted to socialize with.  14     Q. And when you returned to Plymouth did you have any
15   Q. Was there any -- do you know if there was anyone else 15        communications with him?
16     in the office who also didn't want to socialize with    16     A. No. He left shortly thereafter because he became a
17     Mr. Convertino?                                         17       United States attorney in Atlanta.
18   A. I don't know. I mean, he had a reputation as being a   18     Q. In September 2003, that time period, did you ever hear
19     polarizing figure so it wouldn't surprise me but I      19       Mr. Nahmais make any negative comments concerning
20     cannot think of specific names.                         20       senator Grassley?
21   Q. How about Mr. Eric Straus, do you know how he felt     21     A. No.
22     about Mr. Convertino during that time?                  22     Q. Did anyone ever tell you that Mr. Nahmais had made
23   A. 2002-2003?                                             23       statements such as Grassley's not our friend?
24   Q. Actually the time period that I'm focused on is from   24     A. I've seen writings of Mr. Convertino's that said that.
25     about September 2003 through January and including      25       No one told me that.
                                               Page 135                                                          Page 137
 1     January 2004.                                              1   Q. Marwan Farhat, who's he?
 2   A. I don't know specifically.                                2   A. He was an individual who had been a defendant in a
 3   Q. Did he ever say anything that could be interpreted as     3     case.
 4     a negative -- representing some type of negative           4   Q. And what -- do you know what service -- in the time
 5     opinion concerning Mr. Convertino?                         5     period before the publication of that -- of Exhibit 1,
 6   A. I don't recall during that time period that he did.       6     the article in the Plymouth Free Press about
 7   Q. Have you ever heard him during any time period make a     7     Mr. Convertino, tell me what you knew about
 8     negative comment about Mr. Convertino?                     8     Mr. Farhat.
 9   A. Well, subsequent to the full review that was conducted    9   A. I'm sorry, you have to tell me the time frame again.
10     by Craig Moreford, I think there were some negative       10   Q. Prior to the publication of the Plymouth Free Press
11     comments about the conduct of the case.                   11     article about Mr. Convertino, the Exhibit Number 1, so
12   Q. What about Mr. Convertino personally?                    12     that would be prior to January 17, 2004, what did you
13   A. Personally no.                                           13     know about Marwan Farhat?
14   Q. And when you say a polarizing figure, was the office     14   A. All I knew is what I had learned in the course of
15     in some way polarized in its opinions of                  15     preparing the OPR referral.
16     Mr. Convertino?                                           16   Q. And tell me what you knew, tell me what you remember.
17   A. I don't think it's correct to say that the office was.   17   A. Well, I -- I had gotten that memo from Bob Cares. I
18     I think there were some law enforcement agents who        18     heard that he had spent, he meaning Mr. Farhat, had
19     absolutely loved him and I think there were some who      19     spent a lot of time walking around unrestricted in the
20     did not. And my impression, because again, this is        20     U.S. Attorney's Office and I don't recall anything
21     mostly reputation, is that there was not a lot of         21     else specifically right now.
22     middle ground.                                            22   Q. Do you know what -- at the time did you know what
23   Q. You mentioned earlier in your testimony something with   23     services he was rendering for the United States?
24     Mr. Nahmais, and who is he?                               24   A. No.
25   A. David Nahmais?                                           25   Q. At the time do you know what agencies he was providing




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 1     information to?                                            1   Q. -- or the type of assistance?
 2   A. I'm going to have ask you again what time frame you're    2             MR. SMITH: Same objection.
 3     talking about.                                             3   A. I thought the question was did I think that he had
 4   Q. September --                                              4     information.
 5   A. Are we always going to stick with this time frame,        5   BY MR. KOHN:
 6     unless you tell me otherwise?                              6   Q. Okay. Did you think Mr. Tias had information
 7   Q. I don't know if I can actually say that per se, but       7     concerning the level -- the type of assistance
 8     for this question specifically I'm talking about in        8     Mr. Farhat had provided to the United States?
 9     September -- actually these questions are everything       9   A. The way it was presented to me, my understanding was
10     you knew before that article came out --                  10     that Mr. Pertuso was the lead agent and was the person
11   A. Okay.                                                    11     with the more significant knowledge.
12   Q. -- about Mr. Farhat, because after the article came      12   Q. And who told you that?
13     out is a different story. We want to know what            13   A. I think it was Mr. Convertino.
14     happened before, what you knew.                           14   Q. And did you talk to Mr. Pertuso about Mr. Farhat?
15   A. Okay.                                                    15   A. I did not.
16   Q. So before the article came out did you know what         16   Q. Was one of the issues concerning Mr. Farhat related to
17     agencies he had provided information to?                  17     a recommendation -- reference a 5K1.1 motion?
18   A. I knew that he had worked with the FBI.                  18   A. In his own personal sentencing?
19   Q. Do you know who with the FBI he was working with?        19   Q. Yes.
20   A. As to none of this do I have first-hand knowledge, I     20   A. And what is a 5K1.1 motion.
21     had been told these things.                               21   Q. Well, at the --
22   Q. Did anyone tell you who in the FBI he had been working   22             MR. SMITH: You can ask him his
23     with?                                                     23     understanding.
24   A. Bob Pertuso.                                             24   BY MR. KOHN:
25   Q. Anyone else?                                             25   Q. Yeah, your understanding.
                                                Page 139                                                        Page 141
 1   A.  Kevin Tias (phonetic).                                 1     A. At that time, the guidelines were mandatory. Since
 2   Q.  Did you ever talk to Kevin Tias about Mr. Farhat?      2       the Supreme Court has issued a series of rulings they
 3   A.  Never met him in my life.                              3       no longer are. At that time Section 5K1.1 of the
 4   Q.  You never met Kevin Tias?                              4       guidelines was a mechanism by which the United States
 5   A.  No.                                                    5       Attorney or whatever DOJ component was prosecuting the
 6   Q.  When you were writing the OPR referral did you make 6          case could make a motion asking the court to reduce a
 7     any effort to speak with Kevin Tias before you           7       defendant's sentence for cooperation.
 8     finished the product?                                    8     Q. Okay. And in order to know the validity of a 5K1.1
 9   A. I don't think so.                                       9       motion, do you think it would be important to know the
10   Q. Are you aware that Mr. Tias worked for the FBI?        10       level of cooperation that the individual who's the
11   A. I was told that.                                       11       subject of the motion was providing to the United
12   Q. And were you told he may have information related to 12         States?
13     the cooperation and assistance he was giving to the     13              MR. SMITH: Objection to form.
14     United States?                                          14              You can answer.
15   A. I don't think so.                                      15     A. For whom to know that?
16   Q. Did you think he might have that information?          16     BY MR. KOHN:
17   A. I don't think so.                                      17     Q. Well, for anyone reviewing the validity of a 5K1.1
18   Q. Pardon?                                                18       motion on behalf of an individual.
19   A. I don't think so.                                      19              Should they know the level of cooperation
20   Q. Then so it never entered your mind that Mr. Kevin Tias 20       that individual was giving to the United States in
21     would know -- that's your testimony, that you don't     21       order to make a determination as to the validity or
22     think he would know the level of assistance he was      22       the soundness of such a motion?
23     providing --                                            23              MR. SMITH: Same objection.
24            MR. SMITH: Objection, form.                      24     A. Well, a sentencing judge should certainly know that,
25   BY MR. KOHN:                                              25       the probation department should certainly know that.




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 1   BY MR. KOHN:                                                 1     published, that Mr. Farhat was working in some
 2   Q. In terms of their recommendations --                      2     capacity for the United States at the request of law
 3   A. Yes.                                                      3     enforcement officials of the United States, yes or no?
 4   Q. -- or decision.                                           4   A. I had been told that.
 5             What about you when you were drafting the          5   Q. When you -- and in fact, you also knew that
 6     OPR, do you think it would have been helpful               6     Mr. Farhat's cooperation was such that he could never
 7     information to know precisely how much cooperation he      7     testify in court, correct?
 8     was giving to the United States?                           8   A. I don't think that that's a question that could be
 9             MR. SMITH: He being Mr. Farhat?                    9     answered yes or no.
10   BY MR. KOHN:                                                10   Q. Okay. But did you have information that the type of
11   Q. No, he being -- he being Mr. Farhat.                     11     assistance Mr. Farhat was providing the United States
12   A. In other words, would it have been useful for me in      12     was consistent with his maintaining his identity
13     preparing the OPR referral to know what level of          13     completely confidential, including not appearing as a
14     cooperation?                                              14     witness in court?
15   Q. Yes.                                                     15             MR. SMITH: Objection to form.
16   A. Mr. -- that was not the focus of what I was doing.       16             You can answer.
17     The focus of what I was doing was whether or not the      17   A. I don't think so. I don't think that's correct.
18     motion itself had been authorized --                      18   BY MR. KOHN:
19   Q. Okay.                                                    19   Q. Weren't you provided information that Farhat was
20   A. -- not whether it was justified.                         20     not -- well, let's -- okay. I'm going to show you a
21   Q. Now, you knew at the time you obtained the information   21     document, I'll make it easy. This is, again, look at
22     to draft the OPR referral that Mr. Farhat was helping     22     Exhibit Number 3.
23     out the United States in some way, correct?               23             Now, you testified earlier today that this
24   A. I was told that.                                         24     was one of the documents provided in September of 2003
25   Q. By who?                                                  25     when you were reviewing allegations by Mr. Cares,

                                               Page 143                                                         Page 145
 1   A. Mr. Convertino.                                           1     C-A-R-E-S, correct?
 2   Q. But also you reviewed information that pretty much        2   A. Yes.
 3     confirmed that, didn't you?                                3   Q. So did you read this when you were preparing
 4   A. Specifically what?                                        4     allegations?
 5   Q. Didn't you look at documents?                             5   A. Yes.
 6   A. I'm not sure what you're referring to.                    6   Q. Okay. And if you look here, don't you see that part
 7   Q. Okay. We'll get back to it.                               7     of the controversy between Mr. Cares and
 8   A. Okay.                                                     8     Mr. Convertino dealt with Mr. Convertino's insistence
 9   Q. Did you know prior to the Plymouth Free Press             9     that Mr. Farhat not testify in open court?
10     publishing his name in the newspaper that the Plymouth    10   A. Yes.
11     Free Press might publish Mr. Farhat's name in the         11   Q. So you knew that at least at some point there was an
12     newspaper in relationship to Exhibit Number 1?            12     interest in Mr. Convertino, in keeping his identity
13   A. I think so.                                              13     confidential to the extent that he not testify in
14   Q. Okay. And when you found that out, before the article    14     court, isn't that true?
15     was published, did you know that Mr. Farhat was a         15   A. Yes, but that's not what you asked before.
16     cooperating witness or a confidential informant for       16   Q. Okay. I'm not -- I'm just trying to find out what you
17     the United States, yes or no?                             17     knew and when.
18            MR. SMITH: Objection, compound.                    18             And in fact for whatever reason, at least
19   A. I don't -- I didn't know that then because I don't       19     as of September 2002, Mr. Cares wanted to use
20     know if that's true now. I mean, confidential             20     Mr. Farhat in some, it looks here like a RICO
21     informant and cooperating witness are technical           21     investigation, isn't that true?
22     defined terms and I don't know what his status was.       22   A. Yeah, you know, I'm looking at this and you mentioned
23   BY MR. KOHN:                                                23     2002 and I'm not sure why it says 2002. I mean, I
24   Q. Did you know beyond the technical defined terms          24     think this was all 2003.
25     whether, prior to this newspaper article being            25   Q. I think -- maybe to help, I think what happened is




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 1     this was presented to you in 2003 because of the           1     United States had, according to Mr. Convertino, had
 2     sentencing but these were then attached to what was        2     agreed that they would not make him testify, isn't
 3     sent up, the earlier controversy.                          3     that true?
 4   A. Oh, that's possible because it's September so I           4   A. According to what this says that's true. I don't know
 5     assumed it was -- okay. What was your question?            5     how he was opened, I don't know which form he signed,
 6   Q. My question was you understood that Mr. Cares wanted      6     I don't know what promises were made to him.
 7     to use him for a RICO investigation.                       7   Q. When you learned that his name would appear in the
 8   A. Uh-huh.                                                   8     Plymouth Free Press, did you attempt to learn any of
 9   Q. And if you see here where it says consensual phone        9     those things you just mentioned?
10     calls?                                                    10             MR. SMITH: Objection, foundation.
11   A. Where are you?                                           11             MR. KOHN: Okay. The witness just gave an
12   Q. On page one of Exhibit 3, we're looking at the Cares     12     answer where he listed a couple things he didn't know.
13     e-mail, consensual phone calls?                           13     Could you read that back please?
14   A. Yes.                                                     14             (The following portion of the record was
15   Q. Wouldn't consensual phone calls generally be made by     15             read by the reporter at 1:15 p.m.:
16     someone whom the target of the phone calls didn't know    16             "According to what this says, that's true.
17     was working for the government?                           17             I don't know how he was opened, I don't
18   A. That's usually the idea, yeah.                           18             know what forms he signed, I don't know
19   Q. But then in this document, again we're looking at Bob    19             what promises were made to him.")
20     Cares's memo, then it says possibly trial testimony.      20   BY MR. KOHN:
21     Do you see that?                                          21   Q. When you learned before Mr. Farhat's name was put on
22   A. Yes.                                                     22     the front page of the Plymouth Free Press that his
23   Q. So if Mr. Farhat was used at trial his identity may be   23     name would -- likely would be in the paper, did you
24     publicly exposed, correct?                                24     take any steps to determine how he was opened?
25   A. Yes.                                                     25             MR. SMITH: Same foundation objection as to
                                               Page 147                                                         Page 149
 1   Q. Now, let's look at Mr. Convertino's memo, second          1     the would or likely would.
 2     paragraph, it says, it was always understood by the        2   BY MR. KOHN:
 3     FBI and me that Farhat would not testify. Do you see       3   Q. Did you take any steps to determine how he was opened?
 4     that?                                                      4   A. No.
 5   A. Yes.                                                      5   Q. Any attempt to determine what type of forms he signed?
 6   Q. As a general matter in your office, aren't informants     6             MR. SMITH: Objection to form.
 7     or cooperating witnesses put into two general              7             You can answer.
 8     categories, those that you might expect might testify      8   A. No.
 9     in open court but informants who will never -- or you      9   BY MR. KOHN:
10     don't anticipate they will ever testify, isn't that       10   Q. Any attempt to determine what promises were made to
11     true?                                                     11     him?
12             MR. SMITH: Objection to form.                     12             MR. SMITH: Same objection.
13             You can answer.                                   13   A. I think later there were attempts made to do that.
14   A. In criminal cases the terms are source who won't         14   BY MR. KOHN:
15     testify and cooperating witness who will.                 15   Q. I'm talking about before the article was published.
16   BY MR. KOHN:                                                16   A. No.
17   Q. And could a source also be considered a confidential     17   Q. How important is it to keep the identity of a
18     informant?                                                18     confidential source confidential?
19   A. Confidential informant is sort of a lazy shorthand       19   A. Are you speaking about a source or a cooperating
20     that blurs the distinctions. And now under the            20     witness or both generically?
21     current attorney general guidelines there is no such      21   Q. Well, let's talk -- start with -- if a cooperating
22     distinction anymore.                                      22     witness is acting in a confident -- is still
23   Q. But at the time Mr. Farhat was in the category of        23     confidential, in other words, they're doing stuff and
24     someone -- in the time meaning at least as of 2002        24     their identity has not yet been publicly revealed as a
25     whose concern over his identity was such that the         25     cooperating witness how important is it to keep that




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 1     identity confidential?                                   1      consideration and if not, you know, they're not given
 2   A. It's very important.                                    2      those -- they don't sign the formal agreement that a
 3   Q. Okay. If you're a confidential informant, and again     3      cooperating witness would.
 4     you're doing what confidential informants do and your    4    Q. Okay. And for all these people, if they're acting --
 5     identity has not yet been exposed, how important is it   5      if they're in the process of being confidential and
 6     to keep that identity confidential?                      6      acting in a confidential capacity how important is it
 7              MR. SMITH: I object because he's already        7      to preserve that confidentiality?
 8     said that confidential informant is what he considers    8    A. It's important.
 9     to be a lazy shorthand and he talked about sources --    9    Q. And if that confidentiality is inadvertently exposed
10              MR. KOHN: I understand --                      10      could it be life threatening to those people?
11              MR. SMITH: -- but if you want him to           11    A. Certainly, depending on the type of case.
12     answer the question he can try, if he can.              12    Q. And when you reviewed the allegations against
13   BY MR. KOHN:                                              13      Mr. Convertino in the September-October 2003 time
14   Q. As the way the term confidential informant was used in 14      frame, were you aware that Mr. Farhat was still
15     the U.S. Attorney's Office in or about January 2004,    15      providing assistance to the United States?
16     how important would it be to keep that confidential     16    A. I don't know.
17     informant's identity confidential?                      17    Q. But according to this memo, Exhibit 3, the line under
18   A. It's always very important but it's understood, and if 18      the September 12th, 2002 line, it states that he had
19     it is a cooperating witness which is almost always      19      already provided more assistance than was expected or
20     going to be the case in any sort of drug                20      anticipated. Do you see that?
21     investigation, in fact I think it's probably routinely  21    A. I do but you asked if he was continuing a year later
22     the case in drug investigations, they are cooperating   22      and I don't know the answer to that.
23     witnesses and are told that they might have to testify  23    Q. So your testimony, to be very clear here, that in the
24     because the nature of making tape recordings and doing 24       September -- okay, between September 2003 and before
25     things like that is you may have to authenticate        25      this article was published, Exhibit Number 1, you did
                                               Page 151                                                        Page 153
 1     those.                                                    1     not know if Mr. Farhat was still working with the
 2   Q. But at least in September 2003 the promise given to      2     United States government in some capacity on cases or
 3     Mr. Farhat at least as recorded by Mr. Convertino was     3     did you know he was?
 4     that he would not have to testify, isn't that true?       4   A. I'm sorry, I'm going to have to ask you to repeat
 5   A. That's what this says, yes.                              5     that.
 6   Q. So what was the official name in your office for a       6   Q. Sure. Between September 2003 and the time that the --
 7     cooperating witness that was not expected to ever         7     and say the minute before the article, January 17,
 8     testify in court, what did you call that person?          8     2004, that article was published, did you know if
 9   A. It could depend if they are truly a cooperating          9     Mr. Farhat was still providing help to the United
10     witness in which they're not receiving consideration     10     States?
11     in a case and that would be called a source.             11   A. No, I did not know.
12   Q. Okay.                                                   12   Q. And so when you reviewed the controversy over the
13   A. And if someone is cooperating in a case because         13     sentence recommended by Mr. Convertino, you did not
14     they're hoping to get some sort of consideration, that   14     inquire as to the status of Mr. Farhat?
15     would most usually be referred to as a cooperating       15            MR. SMITH: Objection, foundation.
16     defendant.                                               16            MR. KOHN: I just want to know that.
17   Q. Okay. Cooperating defendant. And what if someone was    17            MR. SMITH: I know that you do but I still
18     both cooperating in their own case but also              18     have an objection.
19     cooperating for other cases they had no relationship     19            MR. KOHN: Sure.
20     with, what are they called then?                         20   A. I'm going to have to ask you to repeat that.
21   A. There's probably no uniform description of that and     21   BY MR. KOHN:
22     different agencies will do it different ways. Some       22   Q. So when you wrote up your OPR allegations that related
23     will actually open them as a registered cooperating      23     to Mr. Farhat, you are testifying now that you did not
24     witness and some will just -- they take their            24     know the current status of Mr. Farhat?
25     cooperation, if it works, they get some sentence         25   A. I don't recall if I knew or not.




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 1   Q. Okay. When thinking back to it, hindsight, do you         1   Q. And you took no action upon learning that?
 2     think you should have taken some steps when you            2   A. I took no action with regard to trying to do anything
 3     learned that Mr. Farhat's name was going to be in the      3     to protect his security, if that's your question, yes.
 4     paper to try to mitigate the potential harm that could     4   Q. Now, based on the relationship you had developed with
 5     be caused by the disclosure of his identity?               5     Mr. Ashenfelter, do you think you were in a position
 6             MR. SMITH: Objection, foundation.                  6     to talk to Mr. Ashenfelter about the wisdom of
 7             You can answer.                                    7     printing that person's name, Mr. Farhat's name? Maybe
 8   A. I think it would have been a good idea in hindsight.      8     run the story without actually using the specific
 9   BY MR. KOHN:                                                 9     name?
10   Q. Have you ever been subject to any type of reprimand or   10   A. I don't know. I don't think so.
11     discipline for failing to take steps upon learning        11   Q. Do you know or have any information that
12     that a potential confidential source was about to be      12     Mr. Convertino talked to Mr. Ashenfelter and tried to
13     publicly exposed?                                         13     convince him not to use the name?
14             MR. SMITH: Objection, same foundational           14   A. I read that in his complaint.
15     objection.                                                15   Q. And do you know whether Mr. Convertino's attorney
16             You can answer.                                   16     Mr. Sullivan attempted to talk to Mr. Ashenfelter to
17   A. No.                                                      17     convince him not to use the name?
18   BY MR. KOHN:                                                18   A. I don't have any knowledge of that.
19   Q. Are you aware that because of that article, what was     19   Q. Did the thought enter your mind when you learned from
20     in that article, Mr. Farhat was shot at -- or excuse      20     Mr. Ashenfelter that Mr. Farhat's name would be in the
21     me, his house was shot at within a day or two of the      21     paper that maybe you could just politely ask him,
22     article appearing?                                        22     maybe you don't want to run that name?
23             MR. SMITH: You can -- I mean you can              23             MR. SMITH: Objection, foundation.
24     answer based on your knowledge.                           24   A. Could you repeat it?
25   BY MR. KOHN:                                                25   BY MR. KOHN:
                                                Page 155                                                        Page 157
 1   Q. Yeah, do you know that?                                   1   Q. When you learned from Mr. Ashenfelter that
 2   A. Well, I obviously have no personal knowledge and I        2     Mr. Farhat's name was going to be in the newspaper,
 3     have heard otherwise.                                      3     did the thought even enter your mind to maybe just ask
 4   Q. And did you know that he had to be removed from the       4     Mr. Ashenfelter, hey, maybe you just -- why don't you
 5     United States shortly after the article was published?     5     just not run that name?
 6   A. I don't have personal knowledge of it but I have heard    6            MR. SMITH: Same objection.
 7     otherwise.                                                 7   A. I don't think it did enter my mind.
 8   Q. You've heard otherwise, that he didn't leave the          8   BY MR. KOHN:
 9     United States?                                             9   Q. Have you ever been directly or indirectly responsible
10   A. No, that he --                                           10     for the exposure of the identity of a confidential
11            MR. SMITH: Objection, argumentative.               11     source?
12            You can answer if -- I mean, what's the            12   A. No.
13     question.                                                 13   Q. Do you know anyone in the Department of Justice who is
14   BY MR. KOHN:                                                14     responsible for the exposure of a confidential source?
15   Q. Okay. Do you know what investigations he was helping     15   A. Yes.
16     on at the time that article was published, yes or no?     16   Q. Who? Strike that.
17   A. No.                                                      17            Is that a serious offense in your mind,
18   Q. Do you know how the publication of that article          18     exposing the identity of a confidential source?
19     interfered with those investigations, yes or no?          19   A. Well, when you say offense, do you mean a criminal
20   A. No.                                                      20     offense?
21   Q. When you learned that his name was going to appear in    21   Q. Could it be criminal to expose the identity of a
22     the paper, were you surprised?                            22     confidential source?
23   A. That his name was appearing?                             23   A. Probably under some circumstances it could.
24   Q. Yeah.                                                    24   Q. And even if it's not criminal what about just work
25   A. Yes.                                                     25     performance, a performance type of infraction,




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 1     exposing a confidential source?                            1     thug and they don't care if he got beaten up, words
 2   A. I assume it could, yes.                                   2     like that?
 3   Q. If you were the manager and a subordinate of yours        3   A. Some of that.
 4     exposed a confidential source what do you think you'd      4   Q. From who?
 5     do?                                                        5   A. Bob Cares.
 6   A. I don't know. I remember one instance it happened in      6   Q. What did he say?
 7     our office and nothing really happened.                    7   A. That he was a thug.
 8   Q. So -- okay. And did you -- did you know about that        8   Q. And he didn't care about the exposure?
 9     incident where nothing really happened at the time         9   A. I don't remember him saying that.
10     when Mr. Ashenfelter told you that Mr. Farhat's name      10   Q. Do you remember words, he didn't care if he got beat
11     was going to appear in the newspaper?                     11     up?
12   A. I probably did. It didn't occur to me.                   12   A. I don't think so.
13   Q. Do you have any -- since this happened, do you have      13   Q. But what was the context of Bob Cares telling you he
14     any idea whatsoever to the negative impact to law         14     was a thug?
15     enforcement caused by Mr. Ashenfelter's putting that      15   A. I don't remember that.
16     name in that newspaper article?                           16   Q. Did you tell Mr. Cares in that conversation that it
17            MR. SMITH: Can you read that question back         17     was very important to keep the identity of
18     to me?                                                    18     confidential informant's confidential?
19            (The requested portion of the record was           19   A. Well, this was after the fact.
20            read by the reporter at 1:27 p.m.:                 20   Q. Did you tell him that?
21            "Question. Do you have any -- since this           21   A. I don't think I needed to tell him that. I think he
22            happened, do you have any idea whatsoever          22     knew that.
23            to the negative impact to law enforcement          23   Q. What about Eric Straus, did he ever tell you he
24            caused by Mr. Ashenfelter's putting that           24     thought Farhat was a thug?
25            name in that newspaper article?")                  25   A. I don't think he used that word.
                                               Page 159                                                         Page 161
 1             MR. SMITH: Objection to form.                      1   Q. Do you find it strange when Cares on the one level was
 2             You can answer.                                    2     being very aggressive trying to get help from
 3             MR. KOHN: Okay. I can rephrase it if               3     Mr. Farhat which apparently was denied and then turns
 4     you'd like.                                                4     around and says, he's just a thug, do you find
 5             MR. SMITH: Okay.                                   5     anything strange about that?
 6   BY MR. KOHN:                                                 6   A. I'm going to have to ask you to repeat that because I
 7   Q. Do you know the impact on law enforcement activities      7     was looking at the memo.
 8     caused by the exposure of Mr. Farhat's identity in the     8   Q. Okay. In your mind when Cares called Mr. Farhat a
 9     January 17, 2004 Plymouth Free Press article?              9     thug, did you find anything strange about the fact
10   A. Not firsthand, no.                                       10     that Cares had previously attempted to get his
11   Q. So you have researched the law on exposure of            11     assistance on a RICO case?
12     confidential leaks by newspaper reporters, you follow     12   A. No.
13     the Ashenfelter motion to compel, but you did not         13   Q. So if an informant or source or cooperating witness is
14     undertake any type of review to the damage caused to      14     a thug, does that make them any less entitled to
15     the United States by exposing Mr. Farhat's identity.      15     having their confidentiality strictly protected?
16     Isn't that the case?                                      16             MR. SMITH: Objection to the term entitled.
17             MR. SMITH: Objection, compound,                   17     I mean, what's --
18     argumentative.                                            18   BY MR. KOHN:
19             You can answer to the extent that you             19   Q. Well, should your office keep confidential sources
20     understand it and are able to.                            20     identities confidential even if that source is a thug,
21   A. I'm not really sure what you mean by conduct research.   21     yes or no?
22   BY MR. KOHN:                                                22   A. Yes.
23   Q. Okay. There have been comments by various -- okay.       23   Q. When you were sending your OPR referral to the
24             Have you ever heard anyone say they didn't        24     attorney general's office, it included the name of
25     care about the exposure of Farhat's identity, he was a    25     Mr. Farhat in it, didn't it?




                                                                                   41 (Pages 158 to 161)

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 1   A. I'm pretty sure it did.                                   1   and try to remember, and the question is simple, might
 2   Q. So you understood that there was a likelihood that the    2   you have said anything to Mr. Ashenfelter which could
 3     attorney general's office would provide the name of        3   have led Mr. Ashenfelter to believe that there was an
 4     that source to senator Charles Grassley, isn't that        4   OPR investigation related to Mr. Convertino?
 5     true?                                                      5          MR. SMITH: Can you read it back from might
 6   A. Well, I don't know that I understood that. I assumed      6   please, Might you have said?
 7     that that was a possibility.                               7          (The following portion of the record was
 8   Q. And you also previously testified that once something     8          read by the reporter at 1:35 p.m.:
 9     is given to a senator or a congressman, there's a          9          "Might you have said anything to
10     likelihood it could get provided to or leaked to the      10          Mr. Ashenfelter which could have led
11     press, isn't that true?                                   11          Mr. Ashenfelter to believe that there was
12             MR. SMITH: Objection, asked and answered          12          an OPR investigation related to Mr.
13     as the premise of your question states.                   13          Convertino.")
14             MR. KOHN: Yeah, okay.                             14          MR. SMITH: I think that's a
15             MR. SMITH: You can answer it one more             15   nonobjectionable question which the witness -- you're
16     time.                                                     16   asking him to do the best he can to answer.
17   BY MR. KOHN:                                                17          MR. KOHN: Yes.
18   Q. You previously testified that you understood that when   18 A. Not that I recall.
19     something's given to a senator or congressman there's     19          MR. KOHN: I'm going to show you a document
20     a likelihood that that representative will release it     20   which we'll mark as Exhibit 5.
21     to the press either through a leak or give it to the      21          MARKED BY THE REPORTER:
22     press?                                                    22          DEPOSITION EXHIBIT 5
23             MR. SMITH: Separate objection as to               23          1:36 p.m.
24     likelihood.                                               24 BY MR. KOHN:
25   A. I was going to say I don't know that there's a           25 Q. This is the December 2nd OPR referral. Do you

                                               Page 163                                                          Page 165
 1     likelihood. It increases the chance, sure.                 1     recognize this document?
 2   BY MR. KOHN:                                                 2   A. Can I review it?
 3   Q. So again, when you sent -- when you were asked to         3   Q. Please.
 4     delete sensitive information from your referral you        4   A. Okay.
 5     did not delete the name of someone who is working in       5   Q. If I -- I'd just like to ask you a question on another
 6     your office or through your office in a confidential       6     matter before we get to this.
 7     way, isn't that true?                                      7   A. Okay. Do you want me to stop reading?
 8   A. That's true.                                              8   Q. Yeah. Let's try to say it right, my client may have
 9   Q. Prior to the publication of this article, Exhibit         9     to help me once again, but, question. Is the
10     Number 1, search your memory as deep and as far as you    10     answer -- okay, I'm now talking about the legal
11     can and I have a question for you, did you say            11     definition or -- in other words, your understanding of
12     anything to Mr. Ashenfelter which in any way could be     12     what may or may not constitute perjury, okay?
13     interpreted that there was some type of OPR               13             My question is, if you give an answer, I do
14     investigation related to Mr. Convertino, yes or no?       14     not recall or I cannot recall, is that in your mind a
15             And if you want time to think that and            15     safe harbor for being charged with the crime of
16     really search your memory as hard as you can, we can      16     perjury?
17     take a break and you can think through that or you can    17   A. No.
18     answer it now.                                            18   Q. Okay. Now --
19             MR. SMITH: I object to the form, but you          19             MR. SMITH: Again, that's his personal
20     can answer it if you understand it.                       20     understanding.
21   A. I'm not sure I understand.                               21   A. That's my personal understanding. Although it is an
22   BY MR. KOHN:                                                22     obvious case specific determination.
23   Q. Okay. I'm going to repeat it. I would like you, on       23   BY MR. KOHN:
24     this particular question, to search your memory as        24   Q. And what does that mean?
25     absolutely hard as you can, to really go back in time     25   A. Well, everything -- it depends on the facts of the




                                                                                   42 (Pages 162 to 165)

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 1     case. If someone says -- my understanding of the law      1     aren't facts that -- I'm just assuming here that you
 2     is if someone says I do not recall and they do and you    2     sent the referral up and they did something and sent
 3     can prove that, that could constitute perjury.            3     the letter back to you, correct?
 4   Q. But then if they say I do not recall but they were       4   A. Well, not to me.
 5     mistaken, then it might not be perjury?                   5   Q. Okay. To Collins?
 6   A. Correct. It is -- it turns on the intent.                6   A. Yeah.
 7   Q. Okay.                                                    7   Q. And when they sent the letter back, they -- the
 8   A. That's my understanding.                                 8     wording of numbers one through five was OPR's wording,
 9   Q. Okay. Okay. If you could please review the               9     correct?
10     document --                                              10   A. I believe the wording of the entire letter was OPR's
11   A. All right.                                              11     wording other than putting it on Eastern District of
12   Q. -- I'm going to ask you some questions on that.         12     Michigan letterhead.
13             (Off the record at 1:37 p.m.)                    13   Q. Okay. I'm mostly concerned with numbers one through
14             (Back on the record at 1:39 p.m.)                14     five but I understand your testimony.
15   A. I'm assuming you don't care if I review the             15              So my question is when you read one through
16     attachment.                                              16     five was there anything in there, the way they worded
17   BY MR. KOHN:                                               17     it, that you thought in your mind may not constitute
18   Q. No, I'm not asking about the attachment right now.      18     an appropriate OPR referral?
19             And you -- what was your role in the             19   A. I thought that was their decision to make. As I look
20     drafting of this document?                               20     at it now and I don't recall what I thought at the
21   A. Something came in from OPR which I believe was          21     time, it seems to me that some of the language is
22     identical text, it was just addressed to Jeff Collins    22     slightly different than what had been sent to them.
23     and it said something to the effect of communicate       23   Q. I would like to call your attention to the last
24     this to Mr. Convertino, which we did by putting it on    24     sentence on paragraph number one where it says, also
25     our letterhead.                                          25     allegedly failed to obtain supervisory authorization

                                               Page 167                                                        Page 169
 1   Q. When you looked at what OPR had put together, the       1      for a 5K1.1 motion made orally to the court.
 2     communication back and you -- so it's your testimony     2    A. Right.
 3     it came back from OPR and did any of these five -- the 3      Q. Do you see that?
 4     way they worded these five charges strike you as not     4    A. Yes.
 5     being valid?                                             5    Q. Are 5K1.1 motions made from time to time orally to the
 6   A. What do you mean by valid?                              6      court?
 7   Q. Or -- in other words, the type of thing that you        7    A. It's unusual.
 8     should be charging an OPR offense on? I mean, did you 8       Q. But does it happen?
 9     have a -- did you yourself have an issue with the --     9    A. I guess it probably happens. It's unusual.
10     with whether Mr. Convertino should be charged with      10    Q. Okay. So if one is made orally to the court, then
11     everything set forth here?                              11      there may not be in that context a signed supervisory
12             MR. SMITH: At the time he received --           12      authorization, correct?
13             MR. KOHN: Yeah.                                 13    A. I'm sorry, could you repeat that?
14             MR. SMITH: -- saw the letter from OPR?          14    Q. If one is made orally to the court, a signed
15   BY MR. KOHN:                                              15      supervisory authorization may not exist for that
16   Q. In other words, you got it back, your testimony is you 16      motion?
17     pretty much took what OPR had, you put it into this     17    A. That's probably right.
18     document and then sent it off to Mr. Convertino.        18    Q. And in fact do you have any knowledge other than this
19             MR. SMITH: I don't know that he said he         19      one allegation, either directly or just through
20     did it.                                                 20      hearsay in the office, that any other AUSA ever made
21   BY MR. KOHN:                                              21      an oral motion to a court for a 5K1.1 motion in which
22   Q. Okay. Had Mr. Collins sign it and send it off.         22      they did not have specific supervisory authorization?
23             My question is, since your testimony is         23    A. Have I ever heard that?
24     that the numbers one through five here came from OPR, 24      Q. Yes.
25     and essentially -- I'm assuming -- and again these      25    A. Or had I heard it as of that date?




                                                                                  43 (Pages 166 to 169)

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 1   Q. Well, have you ever heard that that's happened in        1     what type of 5K1.1 motions were filed for everybody
 2     other cases other than this one with Mr. Convertino?      2     else?
 3   A. I think I have.                                          3   A. I don't remember if I did or not.
 4   Q. Okay. And where have you heard it?                       4   Q. Did you discuss this with Mr. Convertino?
 5   A. Somewhere in the office, I couldn't tell you.            5   A. I think we tried to and this was one of the cases he
 6   Q. Someone said that, told you that?                        6     did not want to discuss with us.
 7   A. I think so.                                              7   Q. I would like you to look at number three, the savage
 8   Q. Prior to December 2, 2003, had anyone told you that?     8     beating of the doctor and Mr. Farhat?
 9   A. I don't think so, but remember, I was not in a           9   A. Okay.
10     supervisory position at that time or for most of that    10   Q. Okay. I'm going to ask you some questions about that.
11     time.                                                    11     Did you do any type of review about the circumstances
12   Q. In looking at number two, failure to obtain             12     behind this savage beating of a doctor?
13     supervisory authorization for the 5K1.1 motions, do      13   A. What do you mean?
14     you remember who you spoke to about number two?          14   Q. What did you look into about that beating and
15   A. Mr. Convertino and Mr. Corbet.                          15     Mr. Farhat's relationship to it?
16   Q. Did you ever subsequently talk to Mr. Gershel about     16   A. I don't remember how that first came to my attention.
17     it?                                                      17     I did speak -- if you look on page two and it is the
18            MR. SMITH: Subsequent to what?                    18     end of paragraph three, quoting, further it is alleged
19   BY MR. KOHN:                                               19     that you told a local policeman that the assault had
20   Q. After writing this at any point?                        20     been taken into consideration, and it goes on, that's
21            MR. SMITH: Well, he didn't write this             21     the end of the quote?
22     document.                                                22   Q. Yeah.
23   BY MR. KOHN:                                               23   A. I did speak to him.
24   Q. Okay. Did you ever talk to Mr. Gershel about number     24   Q. How did you know the identity of that policeman?
25     two?                                                     25   A. I don't remember how I found that out but somehow I
                                               Page 171                                                        Page 173
 1   A. Did I ever speak to him?                                 1     did, and I can tell you his name and it's someone who
 2   Q. Yeah.                                                    2     I knew before.
 3             MR. SMITH: About the allegations in number        3   Q. Oh, someone who -- and what did he tell you?
 4     two.                                                      4   A. Basically what was said here and some more.
 5   A. Oh, sure. He was helping me draft the OPR referral.      5   Q. Okay. Can you please give me the name of that person?
 6   BY MR. KOHN:                                                6   A. James Kiefer, K-I-E-F-E-R.
 7   Q. Did he ever tell you that he had given authorization     7   Q. Are you sure that Kiefer was the police officer on the
 8     to Mr. Corbet to essentially handle the 5K1.1 motions?    8     case or was he just in the Dearborn Police Department
 9   A. I don't recall him saying that.                          9     and had information on the case?
10   Q. What did Mr. Corbet tell you about number two?          10            MR. SMITH: Objection to form.
11             MR. SMITH: About the information in number       11   A. I'm going to -- I'm not sure I understand the
12     two?                                                     12     distinction.
13             MR. KOHN: Yeah.                                  13   BY MR. KOHN:
14   A. I would have to look at my notes to be sure.            14   Q. Was Kiefer a policeman specifically working that
15   BY MR. KOHN:                                               15     beating case, it was like his case, or was Kiefer a
16   Q. And were these three cases here part of a larger        16     policeman in the local police department who maybe had
17     prosecution?                                             17     information about it?
18   A. Yes.                                                    18            MR. SMITH: Objection to form.
19   Q. And weren't all of the defendants pretty much treated   19            You can answer.
20     in the same way in that prosecution?                     20   A. I think at the time that Mr. Kiefer was assigned to a
21   A. I think they -- well, other than these three? You       21     federal task force and so I don't think he was
22     mean --                                                  22     assigned as the officer in charge of that case. He
23   Q. These and the others.                                   23     may well have been relating other information to me
24   A. I don't really know what happened with the others.      24     but my recollection is he also brought documents.
25   Q. At the time you wrote this you didn't look and see      25   BY MR. KOHN:




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 1   Q. Okay. Did you reach out to the officer assigned to       1     and I don't believe I ever asked.
 2     the case?                                                 2   Q. Okay. Did you talk to anyone else about Mr. Farhat?
 3   A. I don't believe so. I can't recall what the name is,     3   A. In terms of what?
 4     if I heard the name I might know.                         4   Q. This incident, the savage beating of a doctor.
 5   Q. And the documents he brought to you, do you remember     5   A. It's possible I talked to the AUSA who had that case
 6     if they had a CC to a certain FBI agent on those          6     because I think that doctor was a cooperating witness
 7     documents?                                                7     in another case but I'm not certain.
 8   A. I think he brought me a -- an investigator's report      8   Q. What did you know about the doctor who was beaten?
 9     and I think it was just an investigator's report with     9             MR. SMITH: You can answer.
10     some notes.                                              10   A. At what time?
11   Q. Okay. Now, who else did you get information --          11   BY MR. KOHN:
12   A. There was some more information from Mr. Kiefer         12   Q. At this time, December 2nd. You said he was a
13     though.                                                  13     cooperating witness in another case?
14   Q. Okay. What other -- other than Mr. Kiefer, where else   14   A. I don't think I knew that then.
15     did you gather information about this incident of the    15   Q. Okay. Do you know how the government came to learn
16     savage beating of a doctor?                              16     that Mr. Farhat had been involved in that beating of
17   A. I think I talked to -- I think I talked to an FBI       17     the doctor?
18     agent who had knowledge of it. I don't remember who      18             MR. SMITH: You mean the United States
19     that was.                                                19     government --
20   Q. Which agent, do you --                                  20             MR. KOHN: Yeah.
21   A. I don't remember the name.                              21             MR. SMITH: -- as opposed to the local
22   Q. Was it the case agent who was actually working on it,   22     government?
23     Mr. -- Mr. Pertuso?                                      23   A. I think at one time I did know and I don't recall what
24   A. No.                                                     24     that is and I'm pretty sure I discussed that with
25   Q. So you didn't speak to the case agent from the FBI      25     Mr. Kiefer.
                                               Page 175                                                        Page 177
 1     working on the case and you didn't speak to the -- you    1   BY MR. KOHN:
 2     did not speak to Mr. Pertuso --                           2   Q. And do you know that -- including do you know how the
 3   A. Wait, wait, wait.                                        3     Dearborn police came to learn that Mr. Farhat was
 4   Q. Who was the --                                           4     involved in the beating of the doctor?
 5             MR. SMITH: Let him ask the question and           5   A. I think I did at one time when I talked to Mr. Kiefer
 6     then I can object and you can answer.                     6     but I don't recall that.
 7   A. Okay.                                                    7   Q. Does this refresh your recollection, do you know that
 8   BY MR. KOHN:                                                8     Mr. Farhat signed a Kastigar letter related to the
 9   Q. To the best of your knowledge who was the FBI case       9     beating of the doctor?
10     agent working on matters related to the savage beating   10   A. I don't know that today. I don't know if I ever did
11     of the doctor?                                           11     know that.
12   A. I don't recall his name. I think it was someone on      12   Q. And do you know if before Mr. Farhat signed that
13     the health care squad.                                   13     Kastigar letter the police had -- the Dearborn police
14   Q. And did you talk to him about this case?                14     had actually arrested an innocent person on that
15   A. I think I did but I'm not certain because I can't       15     beating charge?
16     recall his name.                                         16   A. State that again.
17   Q. But you did not talk to Mr. Pertuso?                    17   Q. Are you aware that the Dearborn police had arrested an
18   A. No.                                                     18     innocent person on the beating charge initially?
19   Q. Do you know what Mr. Pertuso's relationship was with    19   A. If -- I may have at one time, I don't know now.
20     Marwan Farhat?                                           20   Q. And are you aware that the doctor had made a -- an
21   A. I have no firsthand knowledge of that.                  21     identification -- yeah, had identified the wrong
22   Q. Didn't you testify earlier that he was the main FBI     22     person as a -- you know, made an eyewitness
23     agent handling him?                                      23     identification of the wrong person in that case? Did
24   A. I testified that that is how it appeared to me from     24     you --
25     what Mr. Convertino presented to me but I don't know     25   A. I may have then, I don't now.




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 1   Q. And when you say -- and are you aware that -- on the     1   A. I have never spoken to Mr. Tias.
 2     basis of the Kastigar, Mr. Farhat admitted to his         2   Q. At the time you -- this letter, as of December, excuse
 3     participation -- of the Kastigar letter that              3     me, 2nd, 2003, did you have any information that Kevin
 4     Mr. Farhat then admitted to his participation in the      4     Tias knew the level and extent of the cooperation of
 5     beating? Were you ever aware of that?                     5     Mr. Farhat?
 6   A. I don't know if I was ever aware of it. I'm not aware    6   A. Could you repeat that?
 7     of it now.                                                7   Q. As of December 2nd, 2003, did you know that Kevin Tias
 8   Q. And are you aware that as a result of that statement     8     was an FBI agent who had a lot of knowledge about the
 9     in the Kastigar the innocent person was released from     9     level of cooperation and assistance Mr. Marwan Farhat
10     confinement?                                             10     was providing to the United States?
11   A. Again, I don't know today and I don't --                11            MR. SMITH: Objection, compound.
12   Q. And --                                                  12   A. As of that first meeting I had with Mr. Convertino,
13   A. I don't know that today and I don't know when I knew    13     which I think was September 23rd, he mentioned Kevin
14     that.                                                    14     Tias's name. It was a new name to me. As I said, the
15   Q. And didn't Mr. Convertino tell you there was a          15     way it came across to me and I can tell you, I mean,
16     Kastigar and that you were free to arrest Mr. Farhat     16     ordinarily when you have two agents assigned to the
17     at any time if you got information about him in that     17     case, one knows more about it than the other, one is
18     beating independent of the Kastigar?                     18     lead and one is assisting. It seemed to me from what
19   A. No.                                                     19     I was being told that Mr. Pertuso was the lead agent
20   Q. And didn't Mr. Convertino --                            20     so I would assume that he was the one who had more
21   A. He told me something different than that.               21     information but I don't know specifically what you're
22   Q. Did he tell you, we know his address and you can        22     asking.
23     arrest him whenever you want?                            23   BY MR. KOHN:
24   A. He said, there's nothing in there, there's nothing      24   Q. But you knew that Mr. Tias -- you had specific
25     that took place that can stop him from being charged,    25     knowledge prior to December 2nd, 2003 that Mr. Tias

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 1     you can go ahead and do that, but I have no              1      had information regarding the level of cooperation of
 2     recollection of any mention of Kastigar or any issue     2      Marwan Farhat?
 3     relating to that.                                        3    A. No. I had been told that by Mr. Convertino. I didn't
 4   Q. But when he said that to you, did he also say, as long  4      know Kevin Tias, I had never met Kevin Tias. Until
 5     as you have independent information to charge him?       5      Mr. Convertino mentioned his name to me, I had never
 6   A. No. When I say no issue relating to that, that would    6      heard of him.
 7     be the issue.                                            7    Q. If you could please look at number five on this
 8   Q. Okay.                                                   8      letter. Do you know a Mr. Jim Brennan?
 9   A. That was not said.                                      9    A. Yes.
10   Q. And do you know whether the information the Dearborn 10      Q. And who is he?
11     police had was also related to the disclosures of       11    A. He's an FBI agent.
12     information from the Kastigar letter that Mr. Farhat    12    Q. And do you know what his relationship was to the
13     had signed?                                             13      Makalda case?
14   A. I don't know how the Dearborn police develop their     14    A. Do I know today or did I know then?
15     case as I sit here today. It would surprise me if       15    Q. Did you know then?
16     they had information from a Kastigar letter because     16    A. I don't think so.
17     that's a federal procedure.                             17    Q. Did you ever speak to Mr. Brennan about matters
18   Q. Are you aware if Mr. Farhat passed a polygraph         18      related to the Makalda matter -- strike that.
19     concerning the doctor beating?                          19              In -- when you were investigating what
20   A. Not today. I don't know if I ever was.                 20      became charge number five on Exhibit 6, did you talk
21   Q. Looking at number one did you talk to Kevin Tias?      21      to Mr. Brennan?
22   A. I've never spoken to Mr. Tias.                         22    A. I don't think so.
23   Q. So then the answer would be in terms of getting        23    Q. Now, do you see the word blind-sided in number five?
24     information or your investigation number one, you       24    A. Yes.
25     never spoke to him?                                     25    Q. What investigation did you undergo or did you take to




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 1     determine whether Mr. Convertino had actually             1     Mr. Convertino had an interest in Makalda as a
 2     blind-sided the -- Mr. Sauget in that matter?             2     witness, correct?
 3   A. I spoke to Mr. Sauget, I believe Mr. Gershel had         3            MR. SMITH: Object to the term well known.
 4     information about that also and I think I -- I think I    4   BY MR. KOHN:
 5     saw one or two memoranda that were in files relating      5   Q. Was it known to Mr. Sauget -- strike all that.
 6     to that.                                                  6            Did you understand that Mr. Sauget knew at
 7   Q. What did those memoranda say?                            7     the time before the sentencing hearing in this case
 8   A. I don't specifically recall. It's not something I        8     that Convertino may want to use Makalda as a witness?
 9     reviewed prior to today.                                  9   A. I'm sorry, I'm going to have to ask you to repeat
10             MR. KOHN: Okay. Were you aware -- okay.          10     that.
11     I'm just going to show a document and ask him if he's    11   Q. Sure. Okay. This says that there was a sentencing
12     ever seen this before.                                   12     hearing on January 16th, 2003?
13             MARKED BY THE REPORTER:                          13   A. Right.
14             DEPOSITION EXHIBIT 6                             14   Q. What I'm saying is do you understand that before that
15             1:59 p.m.                                        15     sentencing hearing Sauget understood that
16   BY MR. KOHN:                                               16     Mr. Convertino may want to use Makalda as a witness in
17   Q. And have you ever seen this document before?            17     the case before Judge Rosen?
18   A. Can I read through it?                                  18   A. Yes.
19   Q. Please.                                                 19   Q. Okay. And then what's your understanding? So, okay,
20   A. Okay.                                                   20     what happened, tell me your understanding.
21   Q. Okay. In looking at this document, have you ever seen   21   A. Okay. I'm not sure about the time line.
22     this document before?                                    22   Q. Okay.
23   A. I am pretty sure I have.                                23   A. But Mr. Convertino wanted to use Makalda as a witness.
24   Q. And when you were doing the preparing the OPR           24   Q. Okay.
25     referral, were you provided a copy of this?              25   A. There were threats made regarding Mr. Sauget by

                                               Page 183                                                         Page 185
 1   A. I was at least shown a copy of it, yeah.                1      Mr. Makalda in the county jail. There was some sort
 2   Q. Were you the source of any information whatsoever that 2       of a meeting at which the authorization to use
 3     Ashenfelter put in the article, Exhibit Number 1?        3      Mr. Makalda as a witness was discussed with
 4   A. No.                                                     4      Mr. Convertino, Mr. Sauget and Mr. Gershel and that a
 5   Q. Now, in regard to this document, Exhibit Number 6, if 5        decision was made that given Mr. Makalda's history, he
 6     you look at page four do you see reference under         6      could not be used as a witness.
 7     paragraph number four, do you see reference to USA Jim 7      Q. And then what happened?
 8     Brennan?                                                 8    A. Then it was something to the effect of when Mr. Sauget
 9   A. I do.                                                   9      got to Ann Arbor for sentencing, the defense attorney
10   Q. So at the time you were preparing the OPR referral you 10      was asking about a 5K1.1 motion for Mr. Makalda and
11     would have known that Mr. Brennan had some type of 11           Mr. Sauget said, he didn't cooperate, and was told by
12     involvement in this case, correct?                      12      the defense attorney, no, he's been cooperating with
13   A. Correct.                                               13      Mr. Convertino.
14   Q. Did you ever talk to Mr. Brennan about this matter?    14    Q. And how did Mr. Sauget respond to this statement at
15   A. No.                                                    15      the hearing?
16   Q. Now, if you also look on page one, it says that -- I'm 16    A. According to Mr. Sauget, he stated on the record facts
17     looking at the second sentence, it says, during the     17      that are set forth in this memo that would have been
18     pendency of the prosecution, that would be the          18      available to impeach Mr. Makalda's testimony if
19     prosecution of Makalda, Assistant United States         19      Mr. Makalda in fact ever did testify.
20     Attorney Convertino of the strike force expressed an    20    Q. Okay. This meeting that you've testified to between
21     interest in losing Makalda as a witness in a trial      21      Gershel, Sauget and Convertino, where did you get
22     scheduled to commence before Judge Rosen. Do you see 22         information about that?
23     that?                                                   23    A. From Mr. Sauget and from Mr. Gershel.
24   A. Yes.                                                   24    Q. Would it surprise you to learn that Mr. Sauget came
25   Q. So you knew -- I mean, it was well known that          25      here and testified and there was no such meeting?




                                                                                  47 (Pages 182 to 185)

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                                               Page 186                                                        Page 188
 1             MR. SMITH: Objection to the form.                 1     care of the bitch ass prosecutor?
 2   A. My understanding could be wrong. I told you that this    2   A. I think in that context that means kill.
 3     was my understanding. I don't know the time line.         3   Q. Okay. You stated that Mr. Convertino blind-sided
 4   BY MR. KOHN:                                                4     Mr. Sauget, correct?
 5   Q. Okay.                                                    5   A. I don't know if I used that word in the referral or if
 6   A. But I believe that Mr. Sauget, and perhaps it was a      6     that is the choice of words that OPR put in what they
 7     different meeting, but there was some discussion from     7     sent back.
 8     what I'm told by Mr. Sauget involving himself,            8   Q. Are you aware that Mr. Convertino never told
 9     Mr. Convertino and Mr. Gershel where the use of           9     Mr. Sauget that he would not use Mr. Makalda? Are you
10     Mr. Makalda was discussed.                               10     aware of that?
11   Q. Okay. Exactly, and at that meeting, to help recollect   11   A. I'm not aware of what he said or didn't say.
12     it, there was no decision not to use him in the          12   Q. Did you ever ask Mr. Sauget to his -- say, Mr. Sauget,
13     terrorism trial. It was still an open question.          13     did Convertino tell you he wasn't going to use
14   A. So are you saying --                                    14     Makalda? Did you ask that question?
15             MR. SMITH: I object because that's not a         15   A. Mr. Sauget presented it in a way in which
16     question, that's a statement. You're not testifying.     16     Mr. Convertino said something like, is this written
17   BY MR. KOHN:                                               17     down anywhere and -- and Mr. Sauget to my
18   Q. What I am saying is you testified to a meeting,         18     understanding took that as, if it's not written down I
19     correct?                                                 19     might go ahead and use him, and Mr. Sauget took
20   A. I am testifying --                                      20     exception to that and expressed that. That's my
21             MR. SMITH: Let him ask a question.               21     understanding of what happened.
22   BY MR. KOHN:                                               22   Q. Do you think Mr. Convertino blind-sided Mr. Sauget
23   Q. You testified that there was a meeting between          23     based on the facts that you know of the Makalda
24     Gershel, Convertino and Sauget.                          24     matter, yes or no?
25   A. I testified that I was told that.                       25   A. I don't have enough of a recollection of all of the
                                               Page 187                                                        Page 189
 1   Q. By Mr. Sauget of this meeting?                         1       facts to really know.
 2   A. Correct, and I think Mr. Gershel also.                 2               MARKED BY THE REPORTER:
 3   Q. Okay. And you testified I guess that both Gershel and 3                DEPOSITION EXHIBIT 7
 4     Sauget told you that as a result of that meeting there  4               2:11 p.m.
 5     was a decision that Mr. Convertino was not going to     5     A. I assume you want me to review this?
 6     use Mr. Makalda as a witness.                           6     BY MR. KOHN:
 7   A. Oh, well, okay, that might have been a surmise on my 7       Q. You can just look at it. My question is quite simple,
 8     part. I think that what Mr. Sauget actually said when   8       do you remember getting a copy of this document at the
 9     he told me about this was that when it was discussed    9       time you were reviewing or drafting the OPR on
10     that Mr. Makalda had talked about killing Mr. Sauget, 10        Mr. Convertino?
11     that that was understood by him and Mr. Gershel to     11               And for the record Exhibit 7 is the
12     mean they couldn't use him but I'm not sure that was   12       transcript of the sentencing hearing of Mr. Makalda
13     ever expressed in words, if that's what you're getting 13       from January 16, 2003. Do you remember being shown a
14     at.                                                    14       copy --
15   Q. And did they tell you why -- this -- killing him, did 15     A. Yes.
16     Mr. Makalda ever say he would kill Mr. Sauget?         16     Q. -- or getting a copy of this?
17   A. I don't know what Mr. Makalda said.                   17     A. Well, I remember being shown it anyhow.
18   Q. Well, didn't --                                       18     Q. Okay. To the best of your knowledge, who in the U.S.
19   A. You're asking me by first-hand knowledge what he told 19       Attorney's Office had a copy of Exhibit Number 7?
20     him?                                                   20     A. I was shown it by Mr. Sauget.
21   Q. What were you told? Did Mr. Sauget tell you that      21     Q. Did anyone else have a copy of this document?
22     Mr. Makalda said he would kill him, yes or no?         22     A. I don't know.
23   A. I don't know what exact words Mr. Sauget used. That 23       Q. Did he -- do you know if you -- or maintained a copy
24     was his -- that was the impression he conveyed to me. 24        of it yourself?
25   Q. Wasn't the words of Mr. Makalda, he was going to take 25     A. I don't think I did. I think, I mean, I've been told




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 1     that Mr. Gershel had some sort of additional file he       1     responsibilities were, I can't tell you right now.
 2     was keeping involving Mr. Makalda with another             2   Q.  Did you ever discuss Mr. Convertino with him?
 3     memorandum so he may have.                                 3   A.  At what time?
 4   Q. Now, I want to be very specific here. Today do you        4   Q.  At any time.
 5     know whether or not in between -- you know, between        5   A.  I don't believe so.
 6     September 2003 and the date that the article appeared      6   Q.  Do you know what responsibility -- what -- do you know
 7     in the Plymouth Free Press whether you had a copy of       7     if he ever had any involvement in the OPR on
 8     Exhibit Number 7 if you can remember?                      8     Mr. Convertino?
 9   A. I don't know that.                                        9   A. I don't know but one of his responsibilities was to
10   Q. Did you ever provide any documents whatsoever, ever,     10     deal with OPR issues from all the agencies, not
11     to Mr. Ashenfelter in any context?                        11     just -- not just attorneys, DEA, FBI.
12   A. I don't think so. I take it back. I gave him a           12   Q. So did you ever talk to him about Mr. Convertino's
13     photograph of myself for that article that he wrote.      13     OPR?
14     He asked for a photograph, I gave him that.               14   A. No.
15   Q. Okay. Other than that, do you remember ever in any       15   Q. Did you ever talk to him about the Koubriti case?
16     case ever giving Mr. Ashenfelter a document?              16   A. I don't think so.
17   A. No.                                                      17   Q. Do you have any knowledge as to what Mr. Margolis's
18            MR. KOHN: Why don't we -- let's take a             18     involvement was in matters related to Mr. Convertino?
19     10-minute break, afternoon break.                         19   A. No.
20            MR. SMITH: Okay.                                   20   Q. And do you know Judge Rosen?
21            MR. KOHN: Thanks.                                  21   A. Yes.
22            (Recess taken at 2:15 p.m.)                        22   Q. Is he a member of the Federalist Society?
23            (Back on the record at 2:25 p.m.)                  23   A. I don't know -- I don't know if he pays dues. He is
24   BY MR. KOHN:                                                24     certainly a supporter and he has been to -- to
25   Q. Do you know someone in the deputy attorney general's     25     meetings.

                                                Page 191                                                         Page 193
 1     office, Mr. Margolis?                                      1   Q. And was he at meetings that you attended?
 2   A. Yes.                                                      2   A. I'm sure he was.
 3   Q. Who is he?                                                3   Q. Did you ever talk to Judge Rosen on anything
 4   A. David Margolis.                                           4     whatsoever to do with the Koubriti case outside of,
 5   Q. And what's his role?                                      5     you know, him sitting as a judge, like at a Federalist
 6   A. He is an associate deputy attorney general and I          6     Society meeting or after work or anything like that?
 7     believe he is the only nonpolitical person in the          7   A. You mean other than in his chambers or in his
 8     office. He's one of the senior most people in the          8     courtroom?
 9     Department of Justice.                                     9   Q. Yeah.
10   Q. And what's -- what does he do? So he was one of the      10   A. No.
11     same -- like at the same level you were at?               11   Q. What about Mr. Convertino, did you ever have a contact
12   A. Well, he was nonpolitical. He stays from                 12     with Judge Rosen about Mr. Convertino outside of his
13     administration to administration, he had been doing it    13     chambers or the courtroom?
14     a lot longer and he had different responsibilities.       14   A. There was one conversation that I recall.
15   Q. But you were also one of the associate deputy attorney   15   Q. Okay. Tell me what you remember.
16     generals?                                                 16   A. I'm trying to remember the year, I think it was 2005,
17   A. Yes.                                                     17     it was a Saturday in November, a group of friends and
18   Q. Okay. So what was his function? He was there when        18     I were watching the Michigan/Ohio State game at a bar,
19     you were there.                                           19     just a football game. Just so happened that Judge
20   A. Yes.                                                     20     Rosen and his son walked in and ended up sitting with
21   Q. Okay. What was his function, what did he do?             21     us. And he said at some point in the conversation,
22   A. You mean his responsibilities?                           22     these were a group of assistant U.S. attorneys, that a
23   Q. Yeah.                                                    23     complaint that Mr. Convertino had filed against him
24   A. Gosh, I don't know exactly. I couldn't -- I mean, I      24     with the 6th Circuit had recently been dismissed.
25     once had a list that said what everyone's                 25   Q. That's all he said?




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 1   A. That's all he said.                                       1   BY MR. KOHN:
 2   Q. Do you remember Judge Rosen -- getting any information    2   Q. To the best of your recollection, like what triggered
 3     that Judge Rosen called into the U.S. Attorney's           3     it? Were you talking about the Koubriti case or other
 4     Office in the Eastern District after the Plymouth Free     4     people talking about Rick?
 5     Press article, Exhibit Number 1 was published, seeking     5   A. No, it was five or six people, acquaintances more than
 6     information about matters that were in that article?       6     friends, sitting around watching a football game and
 7   A. No.                                                       7     in pops Judge Rosen and as we're watching football, he
 8   Q. In regard to Mr. Rosen -- Judge Rosen --                  8     brings it up.
 9   A. Can I back up and clarify something?                      9   Q. Did you make any statements, like, glad to hear that,
10   Q. Yes.                                                     10     or something like that?
11   A. There was a time, but it was in chambers, that Judge     11   A. No, I'm not even sure that I was aware that there had
12     Rosen I think asked to see the OPR referral. I think      12     been such a filing. I think they're not public.
13     he asked Craig Moreford who got it from me but I can      13   Q. Have you ever heard of something known as the Butch
14     -- and I can't remember if I was there or not, but as     14     Jones letter?
15     I understood your question is that was exempted.          15   A. Yes.
16   Q. Okay. Well, my question was about a phone call after     16   Q. And what was that?
17     the article.                                              17   A. It was a letter written by Butch Jones.
18   A. Yeah, I know nothing about --                            18   Q. Concerning what matter?
19   Q. Was this in-chambers discussion before or after the      19   A. Concerning the witness Hmimssa.
20     article appeared in the Plymouth Free Press?              20   Q. Related to the Koubriti case?
21   A. After.                                                   21   A. Yes.
22   Q. Do you know if a copy of the OPR referral was provided   22   Q. And I think there was some testimony earlier about the
23     to the judge?                                             23     phone call you had with Mr. Ashenfelter on or about
24   A. After the article?                                       24     December 12, 2003?
25   Q. Yes.                                                     25   A. Yes.
                                                Page 195                                                        Page 197
 1   A.  I think it was.                                        1     Q. And we talked about there was a discussion about a
 2   Q.  Do you know who did that?                              2       hearing that occurred the day of that --
 3   A.  I think it was Mr. Moreford.                           3     A. Right.
 4   Q.  Do you know what steps he undertook to determine       4     Q. -- you know, it was the evening. Was that hearing
 5     whether that referral could be provided to the court?    5       related to the Butch Jones letter?
 6   A. I'm not sure what you mean by could be.                 6     A. I think that was the purpose for the hearing.
 7   Q. In other words, do you know what steps Mr. Moreford 7         Q. Based on your under -- knowledge of the Butch Jones
 8     took to determine --                                     8       letter matter, what was your own assessment as to the
 9   A. I'm not even sure Mr. Moreford is the one who provided 9        seriousness of -- or the significance of that letter?
10     it. I remember -- I'm pretty sure that was provided     10     A. Not very significant.
11     to Judge Rosen, I don't remember by whom or how so I 11        Q. And why did you have that opinion?
12     don't know what steps were taken.                       12     A. I didn't think it was material to any of the issues
13   Q. Do you know if Judge Rosen also asked for              13       that had gone on at trial. I had a better defined
14     Mr. Convertino's rebuttal to the OPR charges?           14       sense of that back then, but I remember thinking it
15   A. I have no knowledge of that.                           15       was not material, it would not effect the verdicts and
16   Q. Do you know if your office provided a copy of the      16       I can't, right now as we sit here, walk you through
17     rebuttal?                                               17       the entire legal analysis but it seemed to me it was
18   A. I don't think we ever had the rebuttal.                18       something that should have been provided but was
19   Q. Just going back to the -- when you had the interaction 19       harmless error.
20     with Judge Rosen in the bar, what -- what was           20     Q. And when you had the discussion with Mr. Ashenfelter
21     occurring in the conversation that caused him to the    21       on the evening of the 12th or there -- on or about the
22     best of your recollection to bring up this 6th Circuit  22       12th, did you state that to him, give him --
23     filing by Mr. Convertino?                               23     A. Well, not like I just said it.
24             MR. SMITH: Objection, speculation.              24     Q. But you told Mr. Ashenfelter you didn't think it was a
25             You can answer it, if you know.                 25       big deal?




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 1   A. I said I don't read too much into -- into any comments    1   Q. In regard to the Privacy Act, tell me to the best of
 2     that you think the judge made. I don't think that          2     your recollection up until January 17, 2004, precisely
 3     that's -- that's significant and I don't -- you know,      3     what you remember of any formal or informal training,
 4     I don't believe that's the undoing of the case, which      4     instruction, counseling, guidance that you were given
 5     was what his take was.                                     5     concerning the requirements of the Privacy Act?
 6   Q. And that's what you told him that evening?                6   A. Did you say training or instruction?
 7   A. To that effect.                                           7   Q. What I'm trying to say -- I'm using your -- I don't
 8   Q. Now, I want to call your attention now to the phone       8     want to use the word training as like a formal,
 9     calls you had with Mr. Ashenfelter before the article      9     sitting at a training watching. I'm now using a much
10     appeared. Did -- during any of those calls did            10     more expanded concept.
11     Mr. Ashenfelter ask you any questions about whether       11   A. You're including on-the-job training?
12     Mr. Convertino had made unauthorized trips to Turkey?     12   Q. If you picked it up and read it yourself on your own
13   A. I don't recall him asking that.                          13     initiative, no. If you were given a document by a
14   Q. Did you ever provide a copy of the OPR referral          14     superior and you looked it over, yes. If you attended
15     letters to Eric Straus?                                   15     a seminar and it came up for 15 minutes, yes. It
16   A. I showed it to Eric Straus. I showed it to Eric          16     doesn't have to be the focus of an all-day seminar.
17     Straus, Craig Moreford and Joe Capone. On December        17              MR. SMITH: Answer whatever you think might
18     12th Judge Rosen said we needed to do a complete          18     fit in there and he can decide what he thinks is
19     review. One of the first things we did was put Eric       19     responsive.
20     in charge of that, he was the deputy chief of what was    20   BY MR. KOHN:
21     then called the counterterrorism unit, and then           21   Q. Coming back let me just restate the question. Can you
22     shortly thereafter Mr. Moreford was brought in to         22     tell me any formal or informal training or guidance
23     assist, and at some point I printed that for them and     23     you were provided by the U.S. Department of Justice on
24     showed it to them because there were facts in there       24     the Privacy Act prior to January 17, 2004?
25     that I thought they needed to be aware of.                25   A. There was an instance where there was a -- there was
                                                Page 199                                                       Page 201
 1   Q. Okay.                                                     1   a -- there was a note that I need to look at to really
 2   A. I don't -- I don't know if I gave them printed copies     2   refresh my memory.
 3     to have or if I just showed it to them and kept it.        3           Do you have the one regarding the second
 4   Q. What instructions did you give Mr. Moreford concerning    4   OPR referral? You know what I'm talking about? There
 5     the confidentiality of the information contained in        5   was an OPR referral that I made sometime in January.
 6     the OPR document you either showed him or maybe gave       6   There were --
 7     him?                                                       7 Q. January of what year?
 8   A. I don't think I gave him any.                             8 A. 2004. A blogger named Debbie Schlussel (phonetic) and
 9   Q. In terms of Mr. Straus, what instructions did you give    9   she had information regarding a case that was going on
10     Mr. Straus in terms of the confidentiality of the         10   in the office, the assistant who was assigned to it,
11     information in the OPR referral that you either showed    11   and contemporaneous with that there was the Butch
12     him and or gave him?                                      12   Jones letter and the hearing on December 12th.
13   A. I don't think I gave him any.                            13   Sometime after that hearing, I received information
14   Q. And did those communications occur before or after the   14   that a legal assistant in the office was trying to get
15     publication of the article in the Plymouth Free Press?    15   leave records for one of the AUSAs who had testified
16   A. Before.                                                  16   at that hearing and I sent some e-mails to try and
17   Q. Can you describe for me the training that you received   17   find out what was going on with that and -- which I
18     in the Department of Justice concerning the Privacy       18   did and I provided all that, and in that I called our
19     Act?                                                      19   civil chief at the time, Michael Wicks, and asked him
20   A. I don't believe I've had any formal training.            20   without using names, let me give you a hypothetical
21   Q. Can you please describe to me the training you've had    21   scenario. Someone's trying to obtain leave records of
22     in the Department of Justice concerning                   22   someone, is that a violation of the Privacy Act, and
23     confidentiality of OPR matters?                           23   he said, maybe. You know, it was typical legal
24   A. I don't believe there is any formal training in that     24   answer, maybe. I said, could we say it's possibly a
25     regard.                                                   25   violation of the Privacy Act, and he said yes, you can




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 1     definitely say it's possibly, and I sent e-mails out       1   A. I don't think so.
 2     indicating that.                                           2   Q. So at the time you wrote up what became charge number
 3             That I believe is the full extent of any           3     five in the OPR referral you had not reviewed this
 4     knowledge, training or discussion I had with regard to     4     letter?
 5     the Privacy Act.                                           5   A. I don't believe so.
 6   Q. Okay. Do you feel that in some way you're being           6   Q. Had you pulled the case file on Mr. Makalda at the
 7     persecuted because people -- about this leak?              7     time you drafted the information for charge number
 8             MR. SMITH: Objection.                              8     five?
 9             You can answer it if you're able to.               9   A. Like I said, I think with Mr. Makalda I think there
10   BY MR. KOHN:                                                10     were two different files. I think Mr. Gershel had
11   Q. Strike that. Do you think you're being scapegoated       11     something and I think Mr. Sauget had something. I
12     about the leak to the Plymouth Free Press? Do you         12     think I saw all of Mr. Sauget's but I don't know. I
13     feel that sometimes?                                      13     don't know if I saw -- I believe I saw a memorandum in
14   A. I'm not sure what scapegoated means.                     14     Mr. Gershel's but I don't know if I reviewed the whole
15   Q. Do you think people are putting the blame on you, that   15     thing.
16     maybe they have the blame but they're putting it on       16   Q. What about the file related to -- this was to
17     you for this leak? Do you ever feel that way?             17     Mr. Corbet and the case he was working on. Did you
18   A. I don't --                                               18     pull that file and look and see what type of
19             MR. SMITH: I object to the vagueness of           19     representations had been made?
20     the question but you can answer it to the best of your    20   A. No, I wasn't even aware that Mr. Corbet had a file.
21     ability.                                                  21   Q. Well, you were aware that Mr. Corbet was assisting on
22   A. Yeah, I don't -- I don't think -- I'm not really sure    22     the Koubriti case with Mr. Convertino --
23     I understand the question.                                23   A. Yes.
24   BY MR. KOHN:                                                24   Q. -- and Mr. Corbet's his supervisor --
25   Q. Okay. You testified very -- at the beginning of the      25   A. Yes.

                                                Page 203                                                        Page 205
 1     deposition that you thought some of the IG                 1   Q. -- of Mr. Convertino at the time?
 2     investigators maybe thought you weren't being truthful     2   A. Yes.
 3     about the leak. Do you remember that testimony?            3   Q. And you understood that during the course of the
 4   A. Well, I said I was concerned about it.                    4     controversy about the Makalda matter, the people in
 5   Q. Yeah, concerned about it, okay. My question for you,      5     the Koubriti case had an interest in Makalda and
 6     do you think that you -- that these -- that other          6     Sauget essentially was wrapping up a prosecution on
 7     people in the Department of Justice may have either        7     Makalda, correct?
 8     hidden their actions or done things that are making        8   A. Yeah, but Mr. Corbet's position was always that he had
 9     you a potential scapegoat for the leak?                    9     not been involved in any of the discovery so I would
10   A. I think that's possible.                                 10     have had no reason to even think that he had anything
11            MR. SMITH: I'm going to object to that             11     like this.
12     last question as calling for speculation.                 12   Q. Okay. Well, Mr. Convertino may have been in
13            MR. KOHN: Okay.                                    13     possession of a file related to Mr. Makalda as it
14            MR. SMITH: The answer can stay on the              14     related to the terrorism case, correct?
15     record.                                                   15             MR. SMITH: He may have been?
16            MARKED BY THE REPORTER:                            16   BY MR. KOHN:
17            DEPOSITION EXHIBIT 8                               17   Q. Well, are these type of documents put in some type of
18            2:46 p.m.                                          18     file in the office?
19            MR. KOHN: I'm going to show the witness a          19   A. Well, normally they would be put in the file relating
20     document we've marked as Exhibit 8.                       20     to Mr. Makalda. Since it was Mr. Sauget's case, I
21   A. Did you want me to review this?                          21     would have expected everything pertaining to it would
22   BY MR. KOHN:                                                22     be in Mr. Sauget's file.
23   Q. Yeah, if you could please review that.                   23   Q. Even if it's a different United States attorney on a
24   A. All right.                                               24     different case?
25   Q. Have you ever seen this letter before?                   25   A. Well, that's --




                                                                                   52 (Pages 202 to 205)

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                                               Page 206                                                         Page 208
 1             MR. SMITH: Objection to the form.                  1     behalf if he would agree to testify for the
 2             You can answer.                                    2     government. Do you see that?
 3   A. That's the whole point of the issue was I was led to      3   A. Yes.
 4     believe that there shouldn't be any cooperation going      4   Q. Do you have any reason to think that Mr. Corbet was
 5     on with anyone other than Mr. Sauget because that had      5     lying to Mr. Mokov (phonetic) when he told him that?
 6     been resolved, so there wouldn't be other documents.       6            MR. SMITH: Objection, foundation.
 7     Normally if there's going to be someone prosecuted by      7   BY MR. KOHN:
 8     assistant A and cooperating with assistant B they will     8   Q. Or strike that question.
 9     coordinate their efforts. This to me was being             9            Did you ever ask Mr. Gershel if he had
10     explained as almost the opposite of coordination.         10     given Mr. Corbet authority to make a representation to
11   BY MR. KOHN:                                                11     Makalda's counsel that if Makalda agreed to testify
12   Q. But you understood that the Rule 35 would be filed       12     for the government that he was authorized to follow
13     after the plea that was entered by Mr. Sauget. Isn't      13     Rule 35?
14     a Rule 35 after to reduce a sentence --                   14   A. Are you asking me if I did that in the preparation of
15             MR. SMITH: Objection, compound.                   15     the OPR referral?
16   BY MR. KOHN:                                                16   Q. Yes.
17   Q. -- already made?                                         17   A. I don't believe I would have asked that in that
18   A. I'm not sure I understand what you're saying.            18     specific way because I was working on that referral
19   Q. What's a Rule 35 motion? Isn't it --                     19     with Mr. Gershel and had he done anything like that, I
20   A. It's just like a 5K1.1 except that it's brought within   20     would have expected him to catch it and say, oh no, I
21     a year of sentencing.                                     21     already authorized that.
22   Q. Okay. So when a sentencing occurs that Sauget did, he    22   Q. Do you remember a time when Mr. Convertino was
23     did the sentencing and he got a sentence, correct?        23     presented with a position of being a permanent duty
24   A. Right.                                                   24     AUSA?
25   Q. But there was a discussion --                            25   A. No, that did not happen.
                                               Page 207                                                         Page 209
 1            MR. SMITH: Objection to the premise that         1      Q. Was there ever discussion of removing Mr. Convertino
 2     the AUSA does the sentencing.                           2        from the position he had in the office in or about
 3   BY MR. KOHN:                                              3        September-October 2003?
 4   Q. Obviously. And there was a discussion before that      4      A. Yes.
 5     sentencing hearing that Mr. Makalda may be used as a    5      Q. And what -- and he wanted to get a new position,
 6     witness in another case sometime after, correct?        6        correct?
 7   A. Right.                                                 7      A. Correct.
 8   Q. So therefore, if he was used as a witness or became    8      Q. And what was this new position?
 9     some type of cooperating informant or witness in        9      A. It was discussed that he would be in charge of
10     another case, it would be a Rule 35 being filed, not a 10        handling duty court.
11     5K1?                                                   11      Q. And when -- who did you talk about presenting this new
12   A. If he was authorized to do that and if a Rule 35      12        position, you know -- in other words, when you --
13     motion was filed, yes, that would have been the case,  13        before you told Mr. Convertino that this might be
14     but from what I was told that was never authorized so 14         presented to him as an option, who did you discuss it
15     I had no reason to think there would be correspondence 15        with in the office?
16     or pleadings relating to Rule 35.                      16      A. Well, first off, I don't think we ever discussed it
17   Q. And if you could please look at Exhibit 8, second     17        with Mr. Convertino, but Jeffrey Collins, Alan Gershel
18     paragraph --                                           18        and some people at the Department of Justice.
19   A. All right.                                            19      Q. And yourself, you were part of the discussion?
20   Q. -- of Exhibit 8. Look where it begins April 21, 2003. 20      A. Well, I didn't discuss it with myself but I was a
21     Do you see that?                                       21        party to that.
22   A. Yes.                                                  22      Q. Okay. When you were having the discussions did anyone
23   Q. On April 21, 2003, you and I spoke by phone and you 23          talk about how they thought Convertino would react
24     specifically told me that you had authority from       24        should he be offered this type of position?
25     Mr. Gershel to make a Rule 35 motion on Mr. Makalda's 25       A. I'm sorry, I think Mr. Corbet was -- Mr. Corbet was




                                                                                   53 (Pages 206 to 209)

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 1     included in those discussions as well.                     1   A. The position was to handle arraignments, which are
 2   Q. Did anyone discuss how Convertino may react with being    2     normally done on a rotating basis a week at a time and
 3     presented with that position?                              3     to make it a permanent position, and I don't know --
 4   A. I think Mr. Corbet reacted pretty strongly.               4     the proposal never went that far --
 5   Q. And what did he say?                                      5   Q. Who -- I'm sorry.
 6   A. I think he said he won't like it.                         6   A. The proposal never went that far so we never rounded
 7   Q. And based upon what you know of Mr. Convertino, how       7     out what would have filled the rest of his time and
 8     did you expect him to act, respond to it?                  8     what else he would have done.
 9   A. I thought he probably wouldn't like it either.            9   Q. Who came up with the idea to give him that position?
10   Q. And did you think that if that actually went             10   A. I don't know where that came from.
11     through -- did you recommend or did you want it to        11   Q. Was it Collins, do you remember? Was he the one that
12     happen?                                                   12     said, oh, let's have a good idea, let's put him in
13             MR. SMITH: Objection, compound.                   13     charge of arraignments?
14   BY MR. KOHN:                                                14   A. I don't remember who came up with the idea.
15   Q. Okay. Strike that.                                       15   Q. But do you think it was Collins, of all the people do
16             Did you at some point believe that                16     you think it was Collins who came up with it, yes or
17     Mr. Convertino in this time period should be made         17     no?
18     that -- given that position you just testified to?        18            MR. SMITH: Objection, asked and answered.
19   A. Well, it was a long, drawn-out discussion. I mean,       19            You can answer one more time.
20     there were a lot of things that went into it. There's     20   A. I don't remember.
21     something called EARS, E-A-R-S. I can't tell you          21   BY MR. KOHN:
22     exactly what that stands for but it's something,          22   Q. What about Gershel, did he come up with it?
23     evaluation and something. It's an evaluation that's       23            MR. SMITH: Same objection.
24     done by the executive office of U.S. attorneys at         24   A. I don't remember.
25     three or four-year intervals of office of each U.S.       25   BY MR. KOHN:
                                                Page 211                                                        Page 213
 1   Attorney's Office. There had been one recently done          1   Q. Did you come up with it?
 2   in Plymouth which was highly critical of the organized       2   A. I don't remember but I don't think so.
 3   crime strike force, so that was part of it.                  3   Q. Did you -- when someone first presented it, did you
 4           There was the whole issue of what appeared           4     agree with it or disagree when it was first proposed?
 5   to be the unauthorized plea agreement or sentencing          5   A. Well, I, you know, my best recollection is it was an
 6   agreement with Mr. Farhat. There was discussion with         6     initial idea to deal with the short term while there
 7   Mr. Corbet -- Mr. Corbet on his own initiative sent a        7     was this question involving Mr. Corbet's confidence
 8   memorandum to Mr. Convertino, which he also copied me        8     and trust in Mr. Convertino and what we do in the
 9   on, telling him not to take action in any cases in           9     interim till we get that resolved somehow.
10   order to avoid further difficulties without specific        10   Q. And what was Mr. Corbet's position on this idea?
11   written approval from Mr. Corbet.                           11   A. Well, I think I said that he didn't think
12           Part of what Alan Gershel and I and I think         12     Mr. Convertino would like it. I don't know if he
13   Jeff Collins did was to meet with Mr. Corbet to say,        13     thought, notwithstanding that, it would be a good
14   what's behind this, what's -- what's the level of           14     idea.
15   trust here, are you confident in him, you know, what's      15   Q. Did he tell you that?
16   going on. And he said he was confident in him if he         16   A. What?
17   was closely supervised and we asked him specifically,       17   Q. Did he say, notwithstanding Mr. Convertino's reaction
18   there was a sensitive case going on involving some          18     he supported it? Did he tell you that?
19   wire taps, if he would be comfortable leaving him in        19   A. I don't think he told me one way or the other.
20   control of those cases in Mr. Corbet's absence and          20   Q. Did -- during that time did anyone make a reference
21   Mr. Corbet said no, and that's what sort of led to the      21     that this type of thing might get Convertino to resign
22   discussion of well, his supervisor doesn't seem to          22     his position?
23   have confidence in him, what do we do.                      23   A. No, that was not the --
24 Q. And what was the position being -- what was the            24   Q. Did you ever --
25   position you came up with?                                  25              MR. SMITH: Can he finish?




                                                                                   54 (Pages 210 to 213)

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 1   A. That was not the point of it.                             1     charges.
 2   BY MR. KOHN:                                                 2   Q. And what do you remember Noel Hillman asking you
 3   Q. Did you, between September 2003, January 17th, 2004,      3     about?
 4     did you form an opinion that Mr. Convertino should         4   A. It was a very short meeting, they had a lot of other
 5     be -- should leave the U.S. Attorney's Office?             5     business that they were in town working on, and I
 6   A. No.                                                       6     think he said, we'll get back to you or something like
 7   Q. Did you want Mr. Convertino to leave the office?          7     that.
 8   A. No. Although you just jogged my memory on something.      8   Q. And what's the best of your recollection of the
 9             Mr. Convertino mentioned at one of the             9     information you provided to Mr. Hillman?
10     meetings with Mr. Gershel and me that he had been         10   A. I believe it related to Mr. Farhat's departure from
11     planning to leave anyhow.                                 11     the United States.
12   Q. How did you react to that? Did you think that was        12   Q. So the meeting with Mr. Hillman was after the article
13     good news?                                                13     appeared in the Plymouth Free Press?
14   A. I was really indifferent to it, frankly.                 14   A. The Ashenfelter article?
15   Q. Did you ever hear of the public integrity section?       15   Q. Yes.
16   A. Yes.                                                     16   A. And it was also after an article appeared in the
17   Q. And who are they?                                        17     Plymouth News regarding Mr. Farhat's departure.
18   A. They are a section within the criminal division of the   18            MR. KOHN: Okay. What I'm going to ask is
19     Department of Justice.                                    19     on this particular document that it's under protective
20   Q. Did you ever provide any information whatsoever to the   20     order so to move to a protective order provision of
21     public integrity section about Mr. Convertino?            21     the transcript.
22   A. Yes.                                                     22            (Discussion off the record at 3:07 p.m.)
23   Q. And what did you provide to them?                        23            (Back on the record at 3:15 p.m.)
24   A. I can't tell you specifically. I met with Mr. Noel       24   BY MR. KOHN:
25     Hillman, who at the time was the head of the section.     25   Q. I want to -- I want to call your attention to
                                                Page 215                                                       Page 217
 1     He was in our office on another case and I met with      1       Mr. Keith Corbet and you've made some testimony about
 2     him and discussed some issues with him. It was at the    2       some remarks you've attributed to him.
 3     same time that Mr. Moreford was becoming involved and 3        A. Yes.
 4     Mr. Moreford quickly took over that function.            4     Q. How long was Mr. Corbet Mr. Convertino's supervisor?
 5   Q. What -- did you provide Mr. Noel Hillman with a copy 5        A. I would have to estimate.
 6     of the OPR documentation?                                6     Q. What's your estimate?
 7   A. I don't think so, but I'm not certain.                  7     A. Well, I mean, I'm going to have to like sort of walk
 8   Q. And did you understand at the time that the public      8       you through it to try and estimate. I think
 9     integrity section would be looking into matters such     9       Mr. Convertino came to the office around 1995 and I
10     as a potential indictment of Mr. Convertino?            10       think he started in the drug unit. I think he was in
11   A. Well, I thought they would conduct an investigation.   11       the drug unit for two years maybe and then he went to
12   Q. And is that the unit within the -- did you know that   12       the strike force, and so from whatever point he went
13     to be the unit of the Department of Justice that would  13       to the strike force thereafter Mr. Corbet was his
14     pursue a criminal charge if one was ever to be filed?   14       supervisor.
15   A. Not necessarily.                                       15     Q. So like from 1997?
16   Q. But would it be among them? Is that their function?    16     A. Approximately. Could have been a little earlier, I
17   A. It's a potential one that could.                       17       don't --
18   Q. Does the public integrity section, if they are to file 18     Q. Did you look at Mr. Convertino's personnel file when
19     a charge against somebody, do they do civil charges     19       you were drafting up this OPR referral?
20     also or is it pretty much all criminal?                 20     A. I've never seen it. I don't even know if we keep
21             MR. SMITH: If you know.                         21       those in our office.
22   BY MR. KOHN:                                              22     Q. Do you know how Mr. Corbet rated Mr. Convertino
23   Q. If you know.                                           23       continuously while he was under his supervision?
24   A. I don't know that, but well, they are in the criminal  24     A. No.
25     division so my assumption would be they bring criminal 25      Q. Would it surprise you to learn that the ratings were




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 1     all at the very highest level?                             1   Q. Okay. And you're saying that you thought, what were
 2   A. It would not surprise me at all.                          2     your words, he was intentionally misleading?
 3   Q. And were you aware that Mr. Corbet worked very closely    3   A. In that context.
 4     with Mr. Convertino willingly on major cases?              4   Q. And he put that in writing?
 5   A. I know that they worked on a number of cases together.    5   A. Yes.
 6   Q. And are you aware that Mr. Corbet -- do you remember a    6   Q. And do you know a Mr. Bruce Orr?
 7     meeting -- you've testified about a meeting that you       7   A. Yes. Well, I know who he is.
 8     had or discussions with Mr. Corbet in say late             8   Q. Who is he?
 9     September or early October 2003 concerning                 9   A. He's either the chief or the deputy chief of the
10     Mr. Convertino?                                           10     organized crime and racketeering section.
11   A. Well, I think there were two meetings --                 11   Q. In where, the eastern district?
12   Q. Okay.                                                    12   A. No, Washington.
13   A. -- or three even.                                        13   Q. So Mr. Corbet writes -- and Mr. Corbet put that
14             MR. SMITH: Okay. Wait for him to ask a            14     allegation against you in a written memo sent up to
15     question.                                                 15     Washington, correct?
16   A. Okay. I thought that was the question. I'm sorry.        16   A. Yes.
17   BY MR. KOHN:                                                17   Q. And you believed that was not truthful, that Corbet
18   Q. Do you remember ever telling Mr. Corbet that the truth   18     essentially lied about that, correct?
19     has little meaning?                                       19            MR. SMITH: Objection, compound question.
20   A. No. In fact I did not tell Mr. Corbet that at all and    20   BY MR. KOHN:
21     he completely twisted that.                               21   Q. Correct?
22   Q. So you're aware that Mr. Corbet wrote a memo in which    22   A. I'm going to have to ask you to repeat it.
23     he said that you said that the truth has little           23   Q. You believed that Corbet was lying when he accused you
24     meaning, correct?                                         24     of saying, quote, the truth has little meaning?
25   A. That's correct. I think he sent it to me.                25   A. Mr. Corbet is known for his exaggerations.

                                                Page 219                                                        Page 221
 1            MR. SMITH: That's correct that he's aware           1   Q. And you made -- did you file -- no, forget a formal
 2     of it.                                                     2     OPR, any type of complaint against Mr. Corbet for him
 3   A. Yeah, that's correct, right.                              3     making that statement?
 4   BY MR. KOHN:                                                 4   A. Definitely not a complaint. I think I --
 5   Q. And did you write a rebuttal memo?                        5   Q. Have you -- I'm sorry.
 6   A. I may have sent him an e-mail, I don't recall.            6   A. I think I discussed it with him.
 7   Q. And do you think Mr. Corbet was lying when he accused     7   Q. Okay. Have you ever said to anybody words to the
 8     you of saying, quote, the truth has little meaning?        8     effect that the truth has little meaning?
 9   A. I think he was intentionally misleading in that           9   A. That discussion was about a particular context and in
10     context, I do.                                            10     the particular context I was telling him that I think
11   Q. Did you write an OPR on Mr. Corbet?                      11     something was accepted wisdom and whether what he is
12   A. No.                                                      12     saying is true or not, he's swimming upstream to
13   Q. Did you make a referral -- if a -- now, Mr. Corbet was   13     convince other people because it is the accepted
14     a senior assistant United States attorney at the time?    14     wisdom. He translated that into the truth has little
15   A. There is no such classification within the office. He    15     meaning.
16     had a lot of years of service.                            16             MR. KOHN: Can you read back the witness's
17   Q. Okay. And a lot of responsibility?                       17     last answer please?
18   A. He was a supervisor.                                     18             (The following portion of the record was
19   Q. And all types of security clearances?                    19             read by the reporter at 3:22 p.m.:
20   A. I don't know what his clearance level was.               20             "That discussion was about a particular
21   Q. But would he have various security clearances to the     21             context and in the particular context I was
22     best of your knowledge?                                   22             telling him that I think something was
23   A. Well, I can tell you that I think at the time it was a   23             accepted wisdom and whether what he is
24     requirement that all strike force attorneys have a top    24             saying is true or not, he's swimming
25     secret clearance.                                         25             upstream to convince other people because




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 1             it is the accepted wisdom. He translated          1     think you should just accept the correct -- the
 2             that into the truth has little meaning.")         2     wisdom -- the accepted wisdom and ignore the truth?
 3   BY MR. KOHN:                                                3             MR. SMITH: Objection to form.
 4   Q. If the accepted wisdom is not true, can it ever be       4   BY MR. KOHN:
 5     considered true?                                          5   Q. That's my question for you.
 6             MR. SMITH: Objection to form.                     6             MR. SMITH: Objection to form. You can
 7   BY MR. KOHN:                                                7     answer if you're able to.
 8   Q. Strike that.                                             8   A. Are you saying should I accept it or should it be
 9             Do you -- if there's an accepted wisdom in        9     accepted by people who have the ability to influence
10     the office about something that is not true and it's     10     it?
11     about an important fact, don't you have a duty to        11   BY MR. KOHN:
12     correct it or do you just go along with the lie?         12   Q. Let's say if I -- accepted by people who have the
13             MR. SMITH: Objection to form.                    13     ability to influence it.
14   A. I don't think I really understand your question.        14   A. No, it should --
15   BY MR. KOHN:                                               15             MR. SMITH: Same objection.
16   Q. Okay. If an accepted truth in the office like at work   16   A. If something in fact is not true and people who have
17     on a material matter is not true and you know it not     17     the ability to fix it can, they should.
18     to be true, should you just accept it?                   18   BY MR. KOHN:
19   A. Well --                                                 19   Q. And so was it incumbent upon those in the Eastern
20             MR. SMITH: Objection to form.                    20     District who knew the truth to push as hard as they
21   A. -- are we speaking hypothetically or are we talking     21     could in Washington to make sure that they understood
22     about that specific point that was at issue?             22     what really happened?
23   BY MR. KOHN:                                               23   A. I think that was what Mr. Corbet was attempting to do
24   Q. I'd like to talk in terms of your -- first, values as   24     through that memorandum.
25     to your concept of truth and then we can talk about      25   Q. And but -- well, but you didn't think that was the
                                               Page 223                                                        Page 225
 1     the instance.                                             1     right thing to do.
 2             Okay. My question for you is straight up.         2   A. I didn't say that. I had no knowledge of what the
 3     If the accepted wisdom in an office you know not to be    3     truth actually was so I could not weigh in on it.
 4     true, is it your belief that you should just accept it    4              MR. KOHN: Just so the record's clear,
 5     anyway, yes or no?                                        5     let's introduce the memorandum that we've been talking
 6   A. Okay. First of all, I'm pretty sure that that            6     about and I will have you identify it.
 7     discussion was not about something within our office      7              MARKED BY THE REPORTER:
 8     but it was about something at the justice department      8              DEPOSITION EXHIBIT 9
 9     in Washington, but -- I'm sorry, I don't remember the     9              3:27 p.m.
10     rest of your question.                                   10              MR. KOHN: I'm going to ask the witness if
11   Q. Okay. So the DOJ in Washington has an accepted          11     Exhibit 9 is the memo we've been testifying about that
12     wisdom, they have a belief in something, the U.S.        12     was written by Corbet.
13     Attorney's Office should just, you know, okay, just go   13   A. I think so. I haven't finished reading it.
14     along with it?                                           14   BY MR. KOHN:
15             MR. SMITH: Objection to form.                    15   Q. Okay. Sure. Is this the memo we've been talking
16   A. Well, I don't really think that's capable of being      16     about?
17     answered.                                                17   A. I think so.
18   BY MR. KOHN:                                               18   Q. I'd like to call your attention to the first sentence,
19   Q. And wasn't the context of this about what truly         19     which reads, I have been advised by JONATHAN Tukel
20     happened, the truth about the Koubriti trial?            20     that the truth concerning my conduct and that of
21   A. I think it was about whether there was proper           21     Richard Convertino during the terrorism trial has
22     consultation between the counterterrorism section and    22     little meaning, since the perception in Washington,
23     Washington and the U.S. Attorney's Office.               23     D.C., is that we did something improper and it is an
24   Q. And for someone like Mr. Convertino whose career may    24     accepted fact. Did you say words to that effect to
25     hinge on what the truth was on certain factors, do you   25     Mr. Corbet?




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 1             MR. SMITH: Objection, asked and answered.          1     a member of Hezbollah?
 2     You can answer.                                            2   A. Yes.
 3   A. I don't think I used words to the effect of the truth     3   Q. And where did you get that information from?
 4     does not matter -- or I'm sorry -- words to the effect     4   A. That was from Eric Straus I believe. I don't think I
 5     that the truth concerning my conduct and that of           5     said member, I think I said associate.
 6     Richard Convertino during the terrorism trial has          6   Q. Okay. Did you --
 7     little meaning. I don't think I used words like that.      7   A. Because my understanding from both Mr. Straus and Mike
 8   BY MR. KOHN:                                                 8     Leibson is that when a search warrant was conducted at
 9   Q. Did you attempt to convey -- although you may not have    9     Mr. Farhat's house a Hezbollah flag was seized by law
10     used these exact words, did you attempt to convey to      10     enforcement agents.
11     Mr. Corbet the essential, you know, what's being --       11   Q. And do you know if Mr. Farhat was providing assistance
12     strike that.                                              12     on terrorism related matters at the time of the
13             In other words, my question is although you       13     Plymouth Free Press article?
14     may not have used these exact words did you in fact       14   A. I don't know.
15     tell Mr. Corbet words to these effect concerning the      15   Q. Okay. I'd like to call your attention to a meeting
16     reality of where Washington, D.C., was at vis-a-vis       16     you had, you -- I believe that you, Mr. Gershel and
17     the terrorism trial?                                      17     Mr. Convertino attended on or about October 10, 2003.
18             MR. SMITH: Objection to form. You can             18   A. Okay.
19     answer.                                                   19   Q. Do you recall such a meeting?
20   A. I believe that I conveyed to him there was an accepted   20   A. I recall three meetings and I believe one was on
21     fact that certain things had gone on.                     21     October 10th.
22   BY MR. KOHN:                                                22   Q. Okay. Now, I don't want to get hung up on the
23   Q. And that at this point it was not worth trying to        23     specific date of the meeting. As I understand the
24     change that perception, correct?                          24     three meetings occurred fairly close in time?
25             MR. SMITH: Objection to form.                     25   A. Within about a month of each other.

                                               Page 227                                                         Page 229
 1              You can answer.                                   1   Q. Okay. So if you remember something happening at a
 2   A. I don't think I'm saying that it's not worth trying,      2     meeting but you think it was maybe one of the other
 3     I'm saying that I think it's probably unlikely to          3     ones and not the October 10th one, let me know.
 4     succeed.                                                   4   A. All right.
 5   BY MR. KOHN:                                                 5   Q. Our information is it was at the October 10th meeting
 6   Q. And looking at -- is it true that -- did you hear that    6     but --
 7     Vice President Dick Cheney had received a complaining      7   A. So we're talking substance, not dates?
 8     letter or a call from a senator and that Cheney had        8   Q. Yeah.
 9     made representations that there were rogue prosecutors     9   A. All right.
10     in Plymouth?                                              10   Q. Do you remember at -- in or about the October 10, 2003
11   A. What?                                                    11     a meeting between you, Gershel and Tukel discussing --
12   Q. Did you hear that Dick Cheney had made a                 12   A. I think you mean Convertino, right?
13     representation that there were rogue prosecutors in       13   Q. Yeah, Convertino, Gershel and yourself discussing the
14     Plymouth?                                                 14     Farhat sentencing hearing?
15   A. What time frame are you talking about?                   15   A. Well, I think we discussed it at more than one
16   Q. This time frame.                                         16     meeting.
17   A. I've never heard anything like that until you just       17   Q. Okay. So you did meet with Mr. Convertino and talk
18     said it.                                                  18     about that sentencing hearing with Mr. Farhat?
19   Q. If you can please -- if you could look at the exhibit    19   A. Yes.
20     which is the December 2nd letter?                         20   Q. Do you remember having a copy of the transcript of
21              MR. SMITH: 5?                                    21     that sentencing hearing?
22              MR. KOHN: Yeah, if I can just see it for a       22   A. At the meeting or in general?
23     second and I'll show you what I'm looking at.             23   Q. In general.
24   BY MR. KOHN:                                                24   A. We ordered a copy of the transcript. I'm not certain
25   Q. Did you ever make a representation that Mr. Farhat was   25     when we got it.




                                                                                   58 (Pages 226 to 229)

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                                               Page 230                                                         Page 232
 1   Q. When you say we, who's the we?                          1     Q. Okay. So you were already in the office with
 2   A. Well, Mr. Gershel took the steps to order it and        2       Mr. Gershel when she came into the office?
 3     obtain it.                                               3     A. Right.
 4   Q. Do you remember either you or Gershel showing           4     Q. Did -- based upon your perceptions of what happened in
 5     Mr. Convertino a copy of that sentencing hearing         5       the office, do you believe that Mr. Gershel already
 6     transcript at one of those meetings?                     6       knew of Mr. Ashenfelter's inquiries or he was also
 7   A. I don't specifically recall it, but I have notes from   7       learning for the first time when she came in?
 8     those three meetings and that could help me.             8               MR. SMITH: Objection, calls for
 9   Q. Okay. Why don't we just go off the record for a         9       speculation.
10     moment.                                                 10     A. I don't know.
11            (Discussion off the record at 3:34 p.m.)         11     BY MR. KOHN:
12            (Back on the record at 3:37 p.m.)                12     Q. Okay. Did Mr. Gershel at the meeting indicate that he
13            MR. KOHN: Back on the record now.                13       already knew this?
14   BY MR. KOHN:                                              14     A. I don't think he indicated.
15   Q. What I'd like to do now is walk you through the time 15       Q. Okay. Did he -- in other words, did he make any
16     sequence from before and immediately after the          16       statements, verbal or nonverbal, which would indicate
17     publication of the article, Exhibit Number 1.           17       that he knew that Ashenfelter was doing the story?
18   A. Okay.                                                  18               MR. SMITH: Objection. That's the same
19   Q. Which is the Plymouth Free Press article and           19       question.
20     Mr. Convertino. When is the very first time you heard 20                 You can answer.
21     from anybody that Mr. Ashenfelter may be doing a story 21      A. He made no verbal statements.
22     about Mr. Convertino?                                   22     BY MR. KOHN:
23   A. It was a day or two before the story came out.         23     Q. And when Gina Balaya presented it, did she present it
24   Q. And who did you hear that from?                        24       as like a follow-up or as like new information?
25   A. I think I heard it from Gina Balaya, our press person, 25     A. New information.

                                               Page 231                                                         Page 233
 1     I think there were a couple of other people. I             1   Q. Okay. So after she made that statement what happened
 2     received a call.                                           2     next?
 3   Q. Okay. Now, again, if you can't get -- so would it be      3   A. Well, I think she said that there were other calls
 4     your testimony the very first person who informed you      4     though.
 5     that Mr. Ashenfelter may be doing a story on               5   Q. Okay. Did you ask to who or any information?
 6     Convertino was Gina Balaya?                                6   A. Either that or she offered it up.
 7   A. I can't tell you precisely who the first person was.      7   Q. Okay. And what did she say?
 8   Q. Okay. Then who else may it have been?                     8   A. I think she said there were calls to other people.
 9   A. I don't really recall that.                               9   Q. Did she tell you who those other people were?
10   Q. So let's go, what do you remember about Gina Balaya      10   A. I think she might have said Bill Sauget, she may have
11     and what she said to you?                                 11     said someone else and I don't recall who.
12   A. She came into Alan's office to say that there have       12   Q. And then what did she say if anything that you
13     been a number of calls to people in the office talking    13     remember?
14     about this proposed story.                                14   A. I don't remember.
15   Q. Did she say what the subject matter of the story was?    15   Q. And did you say anything at the meeting?
16   A. I think she said that it had to do with an OPR           16   A. I think we said we don't -- we won't have a comment on
17     referral.                                                 17     that.
18   Q. And she also mentioned Mr. Convertino?                   18   Q. That's what -- and who said that, you or Mr. Gershel?
19   A. Yes.                                                     19   A. I think that was like a mutual statement.
20   Q. Did she mention anything else about what it was about?   20   Q. Okay. And then what happened next?
21   A. I'm not --                                               21   A. She left.
22   Q. Did she mention any -- give any other facts about what   22   Q. And did you then discuss this with Mr. Gershel?
23     Mr. Ashenfelter was looking into or what he might be      23   A. I think I said, where's he getting this from.
24     writing with a story about?                               24   Q. And what did Mr. Gershel say?
25   A. I don't recall that.                                     25   A. He said, I don't know.




                                                                                   59 (Pages 230 to 233)

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                                               Page 234                                                         Page 236
 1   Q. And then what was said?                                   1   A. I don't remember and it's possible that Gina had
 2   A. I think that was it. We were meeting about something      2     already informed him. I -- I don't know.
 3     else so I assume we resumed with where we were.            3   Q. Do you remember anything else about that meeting
 4   Q. At that meeting was -- was there a discussion about       4     related to the information you had gotten about
 5     letting Mr. Convertino know this was happening?            5     Mr. Ashenfelter and his -- the story he was working
 6   A. I don't think so. I don't think he was in the office      6     on?
 7     at the time. I think he had left for Washington. I         7   A. I'm not sure I understand.
 8     don't -- I'm not sure.                                     8   Q. In other words, you've provided testimony about your
 9   Q. But did you like give him a call, give him a heads up,    9     recollection about what occurred at that meeting when
10     any discussion about alerting Mr. Convertino to this      10     Gina came in and made the presentation. Do you
11     impending article?                                        11     remember anything else happening at that meeting?
12   A. I don't think so.                                        12   A. About that?
13   Q. Was there any discussion, since you knew calls were      13   Q. Yes, concerning the article.
14     coming into the office about issuing like an              14   A. I don't.
15     interoffice memo like, no one's permitted to talk         15   Q. Okay. And what's the very next thing you remember
16     about an OPR matter?                                      16     occurring about the article?
17             MR. SMITH: Objection to form.                     17   A. I went back to my office and I think there was a
18   A. Did you say was there any discussion?                    18     message for me.
19   BY MR. KOHN:                                                19   Q. And what did you do?
20   Q. Yeah, with Mr. Gershel.                                  20   A. I called back.
21   A. I don't think so.                                        21   Q. And who was the message from?
22   Q. Was there a way, did you do like an interoffice e-mail   22   A. Mr. Ashenfelter.
23     where you could type out an e-mail, press a button and    23   Q. And then what happened? You called him back, what
24     it would go to the office?                                24     happened?
25   A. You could, yes.                                          25   A. He discussed -- he said something to the effect of,
                                               Page 235                                                         Page 237
 1   Q. Did anyone do a -- when you learned of that, do you       1     there's a story coming out or will you talk about a
 2     know if Mr. Gershel said, well, let's tell everyone if     2     story, if there's an OPR referral of Mr. Convertino.
 3     these calls are coming in to keep their mouths shut,       3   Q. And then what did you say?
 4     let's send out a memo?                                     4   A. I said no.
 5   A. He didn't say that.                                       5   Q. And then what else was discussed?
 6   Q. Did you recommend it?                                     6   A. I don't remember the specifics. I don't remember if
 7   A. I didn't think of it.                                     7     he talked about specific -- specific facts that might
 8   Q. To the best of your knowledge did anyone type out an      8     be in the story or if it was just more general.
 9     e-mail and send it out to everyone in the office to        9   Q. And so -- so, but you remember him telling you
10     remind them that they should not be talking to            10     either -- other information about what might be in the
11     reporters about OPR matters?                              11     story?
12             MR. SMITH: Objection, argumentative, asked        12   A. He may have done that, I'm not sure.
13     and answered.                                             13   Q. The best of your recollection, can you remember what
14             Go ahead.                                         14     he told you might be in the story?
15   A. No.                                                      15   A. I don't remember if he told me this or if I've heard
16   BY MR. KOHN:                                                16     this from other people, but I think he talked about
17   Q. What happened next? Was there a discussion that          17     Farhat and I think he talked about Makalda.
18     this -- right at that time did either you or              18   Q. Anything else?
19     Mr. Gershel say, let's talk to Mr. Collins about it?      19   A. I don't think so.
20             MR. SMITH: Objection, compound question.          20   Q. What did you tell him?
21             Just answer the last question.                    21   A. I told him we will not comment on that story.
22   BY MR. KOHN:                                                22   Q. And then what happened?
23   Q. Okay. I'll rephrase it. At that meeting do you           23   A. That was it.
24     remember a discussion about informing Mr. Collins         24   Q. And what, you just hung up?
25     about what Ashenfelter was doing?                         25   A. Yeah.




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 1   Q. And then who did you tell about this phone call with      1   Q. Okay. And then what do you remember?
 2     Mr. Ashenfelter?                                           2   A. I think that's it.
 3   A. I think I went back and told Mr. Gershel.                 3   Q. Did you ever have another interaction or a meeting
 4   Q. And what did he say?                                      4     with Mr. Collins or Mr. Gershel about this incident?
 5   A. He said, do you think we should send -- send an e-mail    5   A. We may -- we probably met with Mr. Collins.
 6     to someone in Washington.                                  6   Q. Okay. What do you -- what do you remember about a
 7   Q. And what did you say?                                     7     meeting with Collins?
 8   A. I said, that's probably a good idea.                      8   A. I think we just stuck our heads in his office and
 9   Q. And who did you want to send it to?                       9     said, you know, this is going on.
10   A. I'm sorry?                                               10   Q. And what did he say?
11   Q. Who did he want to send it to in Washington?             11   A. I think he said he knew.
12   A. I think he said OPR.                                     12   Q. And do you remember anything else?
13   Q. And you said that was a good idea and then what          13   A. No.
14     happened?                                                 14   Q. Did anyone else who had been contacted by
15   A. I think I sent an e-mail to OPR.                         15     Mr. Ashenfelter come and tell you what was going on?
16   Q. Who did?                                                 16   A. I don't think so. I think they contacted -- I think
17   A. I think I did.                                           17     they may have contacted Gina.
18   Q. And did you show it to Mr. Gershel before you sent it?   18   Q. Did Gina ever come back and tell you or give you more
19   A. I don't know, it's possible, wouldn't surprise me.       19     information?
20   Q. When you were discussing sending an e-mail to OPR in     20   A. That day?
21     Washington, did it come up to send an e-mail to           21   Q. Yeah.
22     anybody else?                                             22   A. I don't think so.
23   A. No.                                                      23   Q. And what's the next thing you remember happening? Did
24   Q. What about an e-mail to Mr. Convertino?                  24     you have any more conversations with Mr. Ashenfelter
25   A. That did not come up.                                    25     after the one you've just testified to regarding the

                                               Page 239                                                         Page 241
 1   Q. Or to anyone in the office?                           1         newspaper story?
 2   A. I'm not sure where Mr. Convertino was at the time. I  2       A. No.
 3     mean --                                                3       Q. Did you have -- did you ever ask anybody to contact
 4   Q. Could he be reached by e-mail?                        4         Ashenfelter on your behalf, like a third party
 5   A. I assume. I'm trying -- I don't know if he was on     5         intermediary, ever?
 6     detail or not. I assume, if we would have thought of   6       A. Meaning me personally?
 7     that, we could have found a way to contact him.        7       Q. Yeah, sort of like, I don't want to talk to him, but
 8   Q. Okay. So you went back and talked to Mr. Gershel,     8         why don't you give him this information, asking a
 9     Mr. Gershel recommended an e-mail to Washington, you 9           third party to relay information to Mr. Ashenfelter.
10     wrote the e-mail and sent it off, is that --          10                 MR. SMITH: Objection to form.
11   A. Correct.                                             11       A. What kind of information?
12   Q. -- what happened?                                    12       BY MR. KOHN:
13   A. Yes.                                                 13       Q. Any type of information, ever.
14   Q. So when we find that e-mail that would indicate the  14       A. No.
15     day within a matter of hours that you learned -- that 15       Q. Have you since this lawsuit was filed by
16     you had your first contact with Mr. Ashenfelter,      16         Mr. Convertino, have you ever had any indirect
17     correct?                                              17         communications with Mr. Ashenfelter through a third
18   A. About that, yes.                                     18         party, through your attorney, through anybody, where
19   Q. And it would also indicate when you -- that meeting  19         you sent a message or got any information to
20     happened that Gina came in on, it would all have been 20         Mr. Ashenfelter?
21     the same day?                                         21       A. No.
22   A. Should be.                                           22                 MR. SMITH: Objection to form.
23   Q. Okay. What do you remember next?                     23       BY MR. KOHN:
24   A. I think there was a reply from OPR but I don't       24       Q. Okay. So now as I understand it, what's the next
25     remember when that came.                              25         thing happened vis-a-vis the story in the Free Press




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 1     or any information or interactions concerning              1     just go off the record while you do that, and again,
 2     Ashenfelter and that story, what's the next thing you      2     if you would like to mark it while you go through it,
 3     remember?                                                  3     this is the information that you believe was not true.
 4             MR. SMITH: Objection, form.                        4     Okay.
 5   A. Yeah, I don't understand the question.                    5             Off the record.
 6   BY MR. KOHN:                                                 6             I'm sorry, did you want to say something on
 7   Q. Okay. You testified that you believe you stuck your       7     the record?
 8     head into Mr. Collins's office, told him about -- as I     8   A. Yeah.
 9     understand, you told him about the Ashenfelter call        9   Q. Okay. Let's go back on the record.
10     and had the impression he already knew about it?          10   A. Are you asking me what I think now is not true or back
11   A. Right.                                                   11     then what is not true?
12   Q. Okay. What happened next?                                12   Q. I think the question is now. As I understood it --
13   A. I'm not sure anything happened next.                     13     let me just -- when you first read it I understood
14   Q. So the newspaper article then came out?                  14     your testimony that you weren't struck by something
15   A. A day or two later.                                      15     being not true. Okay. Just -- strike it all. Let me
16   Q. Okay. When did you first -- did you see the article      16     just go.
17     online or when it came out in the actual newspaper?       17             When you first read the article, did you
18   A. Actual newspaper.                                        18     think anything in it was not true?
19   Q. On the day it came out in the print?                     19   A. Okay. Now I can look at that and --
20   A. Yes.                                                     20   Q. Okay. And then my second question would be, upon
21   Q. Did you buy it?                                          21     reflection is there anything in it that you think is
22   A. It's delivered to the -- to my house.                    22     not true. So as you read that, think of those two
23   Q. Okay. And did you read the article?                      23     questions, the day you read it and upon reflection,
24   A. Yes.                                                     24     okay?
25   Q. And what was your reaction to reading the article?       25   A. Okay.
                                                Page 243                                                        Page 245
 1   A.  I'm not sure what you mean.                              1             MR. KOHN: Let's go off the record.
 2   Q.  How did you react when you read the article?             2             (Discussion off the record at 3:56 p.m.)
 3   A.  I read it. I'm not really sure what you mean.            3             (Back on the record at 4:02 p.m.)
 4   Q.  I mean, were you -- did you have no reaction? It was     4             MR. KOHN: If we can go back on the record.
 5     just news and move on with my day?                         5   BY MR. KOHN:
 6   A. I was surprised by it.                                    6   Q. Have you had an opportunity to examine Exhibit Number
 7   Q. What made you surprised?                                  7     1?
 8   A. It was not the sort of thing I would expect to see        8   A. Yes.
 9     coming out in the newspaper.                               9   Q. And my question is can you -- is there anything when
10   Q. What do you mean by that?                                10     you read the article -- in looking at that, when you
11   A. Usually internal Department of Justice things don't      11     read the article back in -- when it came out, that
12     end up in the newspaper.                                  12     struck you as not being accurate?
13   Q. And did you think at that time -- when you -- did you    13   A. Well, I mean, I don't have a specific recollection of
14     read the whole article?                                   14     what I thought when I read it.
15   A. Yes.                                                     15   Q. Okay.
16   Q. Was anything to your knowledge in that article not       16   A. But I think at the bottom of page one where it says,
17     true?                                                     17     withheld evidence that defense lawyers could have used
18   A. I think there are a couple things upon reflection that   18     to attack the credibility of Hmimssa's trial
19     were not true.                                            19     testimony, I don't think that's correct.
20   Q. At the time -- the day you read it, did you think        20   Q. Anything else?
21     anything in the article was not true?                     21   A. I assume you're not asking about comments from
22   A. I'm not sure.                                            22     Mr. Convertino?
23   Q. Okay. Let's look at Exhibit Number 1 and if that         23   Q. No.
24     helps you I'd like to know upon reflection what you       24   A. My understanding, I don't think it's correct at the
25     think is not true in the article and I guess we can       25     bottom of page two that Collins removed Convertino and




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 1     Corbet from the case in early September, just days      1     A. I remember calling Eric Straus and asking him if he'd
 2     before Convertino and Hmimssa testified before the      2       seen it.
 3     senate financial committee in Washington about          3     Q. And what -- and why did you choose to call him on
 4     document fraud.                                         4       that -- this would be on the 17th of January?
 5   Q. Okay.                                                  5     A. Uh-huh, yes.
 6   A. On page two in the middle it says, Farhat, an illegal  6     Q. Why him versus anybody else?
 7     immigrant from Lebanon with two prior weapons           7     A. He was a friend of mine and he was involved in the
 8     convictions spent nine months in custody awaiting       8       case.
 9     trial in the drug case before Convertino arranged his   9     Q. And you -- and did you reach him --
10     release in December 2001 to become an informant in the 10     A. I think so.
11     terrorism case. I knew nothing about him having been 11       Q. -- on the phone?
12     released.                                              12     A. I think so.
13   Q. My question is actually whether it's true or not.     13     Q. What did he say?
14   A. Yeah, I don't know whether that's true or not.        14     A. I don't remember if he'd seen it or not.
15             MR. SMITH: I think the question was            15     Q. And what's the next thing you remember happening?
16     whether there was something that he knew to be untrue. 16     A. I'm not sure what you mean.
17             MR. KOHN: Yeah.                                17     Q. Vis-a-vis this article, what's the next thing you
18   BY MR. KOHN:                                             18       remember?
19   Q. Go ahead.                                             19     A. It was over the weekend, I don't think anything
20   A. Next paragraph: Farhat spent hundreds of hours at the 20       happened.
21     U.S. Attorney's Office translating Arab tapes seized   21     Q. Okay. When you came back to work on Monday did
22     in a flat where three terror defendants lived.         22       anything happen regarding this article?
23             Not that sentence but the one that follows:    23               MR. SMITH: Objection, Monday was Martin
24     Officials said he also frequented bars in Dearborn to  24       Luther King Day.
25     pick up information for terrorism investigators. I     25     BY MR. KOHN:
                                               Page 247                                                        Page 249
 1     don't think that was in the OPR referral.                 1   Q. Okay. So the day after, the next work day when you
 2             MR. SMITH: That's not his question.               2     came into the office.
 3   BY MR. KOHN:                                                3   A. I'm sure something did but I don't really remember
 4   Q. My question is not whether it was in the OPR             4     what it was.
 5     referral --                                               5   Q. In terms of this article, what's your next
 6   A. Oh, it's just whether it's correct information?          6     recollection? Like did somebody call you into a
 7             MR. SMITH: Whether it's false, whether            7     meeting to talk about it, was there a discussion over
 8     it's something that you know to be false.                 8     lunch or something that happened about this article
 9   A. Oh, well. When -- then when you were asking me about     9     that you recall, the next thing?
10     the part about withheld evidence that defense lawyers    10   A. At some point Alan and I discussed that we should
11     could have used to attack the credibility of Hmimssa,    11     refer it to someone to find out what happened and we
12     you were asking about the truth or falsity of that       12     did that.
13     statement?                                               13   Q. And tell me about the discussion you had with Alan
14   BY MR. KOHN:                                               14     about referring it to somebody.
15   Q. Yes. So do you want to change your testimony?           15   A. Can't remember if it was e-mail or oral but he said,
16   A. Yeah, I do. I don't know if that's true or not.         16     you know, shouldn't we do something about that and I
17   Q. Okay. And I also understand that you don't need to      17     said, yeah, we should, and I began working on another
18     comment on the information that's attributed to either   18     OPR referral which included that.
19     Mr. Convertino or from Mr. Solomon. You don't need to    19   Q. Okay. Going back to your testimony, so I think your
20     comment on that.                                         20     testimony was just -- can you read back his testimony?
21   A. I don't know that any of it is incorrect if that's      21             (The following portion of the record was
22     your question.                                           22             read by the reporter at 4:08 p.m.:
23   Q. Okay. Okay. Great, thanks. Now, so you read the         23             "Question. And tell me about the
24     article. What is the next thing you remember doing in    24             discussion you had with Alan about
25     relationship to this article?                            25             referring it to somebody.




                                                                                  63 (Pages 246 to 249)

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 1            Answer. Can't remember if it was e-mail or         1     Alan forwarded that and said, shouldn't we do
 2            oral but he said, you know, shouldn't we do        2     something, and we agreed to do so and it came to
 3            something about that" --)                          3     include those other matters.
 4            MR. KOHN: Stop right there.                        4   Q. Okay. And do you remember ever -- did you ever talk
 5   BY MR. KOHN:                                                5     with anyone employed by the United States Department
 6   Q. When you said he said shouldn't we do something about    6     of Justice who expressed agreement with what was in
 7     that, was that Mr. Gershel?                               7     the article?
 8   A. Yes.                                                     8   A. I'm not sure what you mean.
 9            MR. KOHN: And then if you can read back            9   Q. In other words, someone said like, I agree with the
10     again, following from where you just left off so we      10     article?
11     get the identities down.                                 11   A. Agree?
12            (The requested portion of the record was          12   Q. With what's in the article.
13            read by the reporter at 4:08 p.m.:                13   A. You mean the factual accuracy of it?
14            "Answer. Can't remember if it was e-mail          14   Q. Yeah, yeah.
15            or oral but he said, you know, shouldn't we       15   A. I don't -- I don't think I ever heard anyone say that.
16            do something about that and I said, yeah,         16   Q. Did you ever hear anyone express a sentiment that it
17            we should, and I began working on another         17     was a good thing that this information got out?
18            OPR referral which included that.")               18   A. No.
19   BY MR. KOHN:                                               19   Q. Do you believe that the publication of this material
20   Q. So was that you then -- yeah, we should was the way     20     harmed Mr. Convertino's reputation?
21     you responded to him?                                    21   A. That's -- that's difficult for me to assess. I mean,
22   A. Yes.                                                    22     there's been lot of things that have gone on with
23   Q. Okay. I just wanted to clarify that. And then you       23     Mr. Convertino's career.
24     typed up an e-mail?                                      24   Q. But at the time when this came out on January 17th,
25   A. It became a second OPR referral and there were other    25     2004, do you think the publication of this information
                                               Page 251                                                        Page 253
 1     matters involved in it and I began working on that.     1       harmed Mr. Convertino's reputation?
 2   Q.  And do you know was that ever sent to OPR?            2     A. I'm sure it probably did.
 3   A.  It was sent to OPR.                                   3     Q. Did you ever get -- hear any feedback from defense
 4   Q.  And what were the other matters included in it?       4       attorneys about this article?
 5   A.  It was that thing about the Privacy Act that I told   5     A. There were comments in the article by defense
 6     you involving someone's leave records, it was matters   6       attorneys. I don't think I ever heard any from them
 7     about Debbie Schlussel talking about matters involving 7        directly. Jim Thomas who was a defense attorney
 8     someone in the office and what her work schedule was 8          months before had asked me about an OPR referral.
 9     and her leave policy was. May have been something       9     Q. And what did he ask you about that?
10     else too, I don't recall.                              10     A. He said, was there an OPR referral, we hear there was.
11   Q. Do you know if there ever was an OPR or an IG         11     Q. And what did you tell him?
12     investigation opened up about the leave record matter 12      A. I said, we can't talk about that.
13     or the Debbie Schlussel matter?                        13     Q. What about after the article came out, did any defense
14   A. I don't believe there was.                            14       attorney give you information that they were happy to
15   Q. Okay. Do you remember Mr. Corbet sending an e-mail 15          see this or this was -- you know, can't wait till
16     and saying, if you don't call for an investigation,    16       Convertino's taken down or something like that?
17     I'm going to, or words to that effect?                 17     A. I don't think so.
18   A. To me?                                                18     Q. And what about, did you ever hear any comments from
19   Q. To you or Mr. Gershel or Mr. Collins.                 19       any judges about this article?
20   A. I think there was one from Mr. Kozar.                 20     A. I don't think I heard anything from any judges.
21   Q. Okay. What do you remember from him?                  21     Q. What about from anyone in Washington, D.C., anyone
22   A. I think it was forwarded to me by Mr. Gershel and it  22       from the justice department in Washington, D.C.?
23     said, did you see the article over the weekend,        23     A. No.
24     shouldn't we do something about that, and Alan -- I    24     Q. What about Ann Coulter, did you ever talk to her about
25     think that's what prompted the conversation with me.   25       it?




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 1   A. No.                                                       1   Q. Okay, yeah. You have an opportunity, I'm giving you
 2   Q. What about Mr. Shepherdson, the reporter you've had a     2     that opportunity right now to amend your testimony and
 3     lot of contact with, did you ever talk about this          3     simply admit that you were a source for the story that
 4     article with him?                                          4     Mr. Ashenfelter wrote on January 17, 2004, Exhibit
 5              MR. SMITH: Objection to form.                     5     Number 1, an opportunity to correct the record, change
 6              You can answer it.                                6     your testimony, simply admit to that. Are you willing
 7   A. Mr. Shepherdson called me that weekend, I don't know      7     to do it right now?
 8     if it was the day of the article or the day after the      8   A. No.
 9     article.                                                   9   Q. And do you -- okay. I'm now asking you a question in
10   BY MR. KOHN:                                                10     your personal capacity, I'm not looking for you as a
11   Q. And what did he say in that phone call?                  11     professional U.S. attorney, some -- you as a person,
12   A. He said, I had heard things like that before.            12     an individual, given what you thought of and knew of
13   Q. And then what did you say to him?                        13     Mr. Convertino, were you just a little happy that
14   A. Not much. It was the weekend and I was really -- I       14     this -- that some truth about Mr. Convertino got out
15     was not focused on talking to him. I don't think I        15     that could take him off his high horse?
16     talked to him for very long but he said, I have been      16             MR. SMITH: Objection to form.
17     hearing things like this, or something to that effect.    17             You can answer.
18   Q. Did you report that conversation to anybody?             18   A. No, I actually thought it set back the work I had been
19   A. I'm pretty sure I told the inspector general agents.     19     doing on the OPR referral.
20   Q. And what else did you say in that -- so he called you    20   BY MR. KOHN:
21     at home. Was that on your cell or your --                 21   Q. Well, you knew that that OPR referral was never going
22   A. On my cell phone.                                        22     to go anywhere, isn't that true? I mean, you knew
23   Q. And do you remember what else he said? Did he tell       23     when someone looked it over that he wasn't going to
24     you that he would not have written such a story --        24     get whacked by OPR, correct?
25   A. No.                                                      25             MR. SMITH: Objection to form.
                                               Page 255                                                         Page 257
 1   Q. -- because it's underhanded?                              1             You can answer.
 2   A. No.                                                       2   A. Did I think that OPR would do something based on that
 3   Q. Did he indicate that he had information but decided       3     referral?
 4     not to run the story?                                      4   BY MR. KOHN:
 5   A. No, not in those types of words.                          5   Q. That's not my question. My question is actually based
 6   Q. Did he indicate to you that he knew -- that -- called     6     on that referral you had a strong suspicion that OPR
 7     you up and told you he knew that you had provided him      7     would do nothing --
 8     this type of information before?                           8   A. No.
 9   A. No.                                                       9   Q. -- against Mr. Convertino, isn't that true?
10   Q. Had you provided Mr. Shepherdson any information about   10   A. No, that's false.
11     Mr. Convertino ever?                                      11   Q. So you actually -- and you thought that if OPR wasn't
12   A. No.                                                      12     going to do something about it, well, the Plymouth
13   Q. Did you tell Mr. Shepherdson about the OPR?              13     Free Press will?
14   A. Did I tell Mr. Shepherdson about --                      14             MR. SMITH: Objection --
15   Q. Yeah.                                                    15   BY MR. KOHN:
16   A. Before it was printed?                                   16   Q. Isn't that true?
17   Q. Yes.                                                     17             MR. SMITH: Objection to form.
18   A. No.                                                      18   A. No.
19   Q. Knowing -- do you -- you have an opportunity right now   19   BY MR. KOHN:
20     to change the testimony you've prior given concerning     20   Q. Do you remember having any discussions with Eric
21     whether you were the leak or a source for that            21     Straus about who was the leaker?
22     article.                                                  22             MR. SMITH: I believe this has been asked
23              MR. SMITH: Okay. I just -- that's not a          23     and answered, objection.
24     question.                                                 24             MR. KOHN: Was it asked and answered?
25   BY MR. KOHN:                                                25             MR. SMITH: I believe so but go ahead and




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 1     answer it.                                                1     referrals?
 2   A. Not specifically.                                        2            MR. SMITH: Objection to form.
 3   BY MR. KOHN:                                                3   A. I made the recommendations for the deputy attorney
 4   Q. Did you at some point take possession of                 4     general and the attorney general. By statute those
 5     Mr. Convertino's computer?                                5     all have to be made personally by the attorney
 6   A. There was something involving computers. There was       6     general, but there's a big bureaucracy that makes
 7     something involving computers. I believe that that        7     recommendations to him. I was part of that.
 8     was actually the agents assigned to the public            8            I'm almost positive that the Butch Jones
 9     integrity section and that we offered our -- they         9     matter had been resolved prior to me getting there and
10     asked for and we gave our IT manager to assist them in   10     even if it wasn't I had no involvement in it when I
11     that.                                                    11     was there.
12   Q. And was Mr. Convertino's computer placed in your        12            MR. SMITH: Okay.
13     office?                                                  13   BY MR. KOHN:
14   A. The hard drives were placed in my safe.                 14   Q. Have you ever been accused of misconduct?
15   Q. And did you have access to all of his computer hard     15   A. What do you mean?
16     drives and e-mails and materials?                        16   Q. Were you ever the subject of a misconduct complaint?
17   A. The hard drives were in my safe. I would have no idea   17            MR. SMITH: You mean as an AUSA?
18     how to do anything with any of that. There were          18   BY MR. KOHN:
19     receipts signed and initialed and dated. I showed        19   Q. Yeah, within the Department of Justice.
20     them what I considered the best practice of how to log   20   A. Yes.
21     evidence in and authenticate it, someone ultimately      21   Q. Were those matters kept confidential?
22     came and took it and that was the end of it.             22   A. Well, are you talking about a formal written
23   Q. Do you know after the article on the OPR referral       23     complaint?
24     appeared on January 17th, 2004, do you know if any       24   Q. Yeah.
25     other judge in Plymouth or elsewhere asked to be shown   25   A. I mean, I recently -- there was a mistake that I made
                                               Page 259                                                        Page 261
 1     a copy of the referral?                                  1      in a case that I was involved in. I brought it to
 2   A. Did the judges ask?                                     2      everyone's attention, went to the court and got it
 3   Q. Did any other judge -- I think there's been testimony   3      corrected. I mean, there was no complaint filed
 4     about Judge Rosen. Did any other judge ask to obtain     4      against me because I did that. Is that what you're
 5     a copy of the OPR referral?                              5      talking about?
 6   A. I'm not aware of any.                                   6    Q. No, I'm talking about like an OPR type or any type of
 7   Q. In regards to Mr. Butch Jones do you have knowledge as 7       proceeding which might be -- like looking at you,
 8     to whether he was able to use the fact that he           8      whether you engaged in some type of misconduct?
 9     produced that letter and his testimony or actions in     9    A. I've had one or two OPR complaints, I've had one or
10     the terrorism trial to escape the death penalty?        10      two Bar complaints. I believe those were all
11   A. There was -- there was an e-mail or two from           11      confidential, but I don't really know.
12     Mr. Corbet I think or -- yeah, I'm sure there was an    12    Q. But to the best of your knowledge they were kept
13     e-mail from Mr. Corbet involving Butch Jones on the     13      confidential?
14     death penalty and whether something was used or not     14    A. I think so.
15     used, I -- I don't think it was the letter. I don't     15    Q. Do you know if the copies of any of those complaints
16     know the answer to that. I've seen something to that    16      were sent to the attorney general's office for their
17     effect.                                                 17      review?
18   Q. Was that the department you worked in when you were up 18    A. You mean at the time?
19     in the attorney general's office?                       19    Q. Yeah.
20   A. When I was --                                          20             MR. SMITH: If you know.
21             MR. SMITH: Objection to form. The               21    A. I would have no idea.
22     department he worked in was the Department of Justice.  22             MR. KOHN: Just off the record for a
23   BY MR. KOHN:                                              23      moment?
24   Q. Yeah, was that the piece of the pie that you had when  24             (Discussion off the record at 4:23 p.m.)
25     you were up in Washington about death penalty           25             (Back on the record at 4:28 p.m.)




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 1              MR. KOHN: Just for the record, I've shown     1       A. Well, I see you've underlined the part about congress.
 2     the witness a document that's Bates stamped DOJ. It's  2         We asked him about that congress question and what
 3     his -- it's what was believed to be his notes and the  3         that was a reference to.
 4     Bates stamp DOJ 5005961, 5961 A, 5961 B, 5961 C, 5962 4        Q. You did ask him that?
 5     D, 5961 E, 5962 -- or actually it looks like 5961 F    5       A. Yes.
 6     and then 596 -- 5962 through 5969. I think when I      6       Q. And what did he say?
 7     said 5962 D, actually it's a 1, it's 5961 D, but I'm   7       A. He said, it wasn't congress. We said, what was it,
 8     going to put these aside since they're under a         8         and he said, it wasn't congress. What was it? He
 9     protective order and come back to them if we need to.  9         said, it's a private -- private organization. We
10   BY MR. KOHN:                                            10         said, really, what private organization. Steve
11   Q. I'm going to call your attention, do you remember at 11         Emerson's organization.
12     one of the meetings and I'm going to call it the      12       Q. Did you find that response credible?
13     October 10th meeting but one of those three meetings, 13       A. I don't know.
14     the issue of the Farhat sentencing coming up?         14       Q. Well, what was your reaction to that response? If you
15   A. It was at least one of the meetings.                 15         read this it says, they asked me to go testify in
16   Q. Okay. And I'm going to show you a document we're     16         front of congress -- reading page 20 lines 20 and
17     going to mark as Exhibit 10 if you can just put that  17         21 -- Rick Convertino asked me if I was willing to do
18     aside for now.                                        18         that. Did you find what you just -- how you
19   A. I was just trying to -- now that I see what you're   19         articulated Mr. Convertino's response credible in
20     asking to refresh, to see if there was anything here. 20         terms of your questions you had about this?
21              MARKED BY THE REPORTER:                      21       A. I didn't really evaluate it that way.
22              DEPOSITION EXHIBIT 10                        22       Q. How did you evaluate his response?
23              4:30 p.m.                                    23       A. I didn't. I just sort of remembered it and later I
24              MR. KOHN: And I'm showing the witness        24         was interviewed by the Public Integrity investigators
25     Exhibit 10. Exhibit 10 is a two-page document, the    25         and told -- excuse me -- them the exact same thing and
                                               Page 263                                                          Page 265
 1     cover page for the Marwan Farhat sentencing and one        1     they already knew that.
 2     page, page 20 from that transcript.                        2   Q. What did they know?
 3             I believe the witness has already testified        3   A. They knew that there was something with Steve Emerson.
 4     that he had actually -- he had seen a copy of this.        4   Q. Did you do any other discussion with Mr. Convertino
 5     He was not quite sure if he had a personal possession      5     about this transcript page --
 6     of the copy.                                               6   A. No.
 7   BY MR. KOHN:                                                 7   Q. -- about the conflicts?
 8   Q. I think that was your testimony.                          8   A. No.
 9   A. I'm sorry, I missed that.                                 9   Q. Why did you ask Mr. Convertino questions about the
10   Q. I think you've testified that you've seen --             10     information, about going to congress on page 20 of the
11   A. Yeah, right.                                             11     transcript?
12   Q. -- this document.                                        12   A. I don't remember if I asked that or if Alan asked
13   A. Right.                                                   13     that, but I don't know. Probably because there had
14             MR. SMITH: The full document.                     14     been talk about congress before.
15             MR. KOHN: Right.                                  15   Q. And was that the prior congressional hearing -- the
16             MR. SMITH: Not this two-page version.             16     hearing that Mr. Convertino testified to in front of
17   BY MR. KOHN:                                                17     Judge -- in front of senator Grassley?
18   Q. Did you remember at one of the meetings either           18   A. Correct, and the whole question of whether that had
19     providing Mr. Convertino with a copy of it or showing     19     been approved and all that.
20     him the sentencing transcript?                            20   Q. Did the information contained in this transcript raise
21   A. No.                                                      21     any concerns to either you or in your perception
22   Q. Did you ever ask Mr. Convertino to respond to anything   22     Mr. Gershel?
23     that was said at that sentencing hearing?                 23   A. What do you mean?
24   A. Respond to me?                                           24   Q. In other words, was -- do you detect that Mr. Gershel
25   Q. Yeah, like answer questions about what he did or said.   25     had any issues were raised concerning what was




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 1     presented in this transcript?                            1       question. Could you ask that again?
 2   A. I don't know.                                           2              MR. KOHN: Could you read back?
 3   Q. Did it raise issues for you?                            3              (The following portion of the record was
 4   A. It really didn't. I don't think I even wrote it down    4              read by the reporter at 4:36 p.m.:
 5     in my notes. I just remember it because later, when I    5              "Question. Did you provide them
 6     was interviewed by the Public Integrity people I told    6              information relevant to whether they were
 7     them this, and one of them was out of the room and the   7              going to indict Mr. Convertino?
 8     other one came back and the first agent related to the   8              MR. SMITH: Objection to form.
 9     second agent what I had just told them and they said,    9              Then you said, did I provide public
10     Steve Emerson, and they nodded at each other. They      10              integrity information?
11     obviously had known something about Steve Emerson       11              You said yeah.
12     before.                                                 12              I don't think there was any such
13   Q. Did you know anything about who Mr. Steve Emerson was 13               information at the time. Could you -- I'm
14     when Mr. Convertino gave you the information he gave    14              not sure I understood" --)
15     you?                                                    15     A. Well, yeah, I'm not sure I understood the question. I
16   A. After 9/11 I had heard of Steve Emerson.               16       provided them information. What use they were going
17   Q. Do you do any follow-up questions to Mr. Convertino    17       to make of it, I don't know, that was up to them. If
18     based on the answer he gave you?                        18       you're asking did I say you should use this to indict
19   A. No, I don't think so.                                  19       him, no, I did not say that.
20   Q. Did you think that the answer he gave you was          20     BY MR. KOHN:
21     responsive to your question?                            21     Q. Did anyone from there ever there ask you any opinion
22   A. Yeah, I asked him what he meant and he explained to me 22       whatsoever about a potential indictment?
23     what it meant.                                          23     A. No.
24   Q. Who interviewed you from public integrity?             24     Q. Why were computer hard drives related to
25   A. That time when we were talking about Steve Emerson?    25       Mr. Convertino's computer saved in your office safe
                                               Page 267                                                         Page 269
 1   Q. Yes.                                                      1     and not say with the FBI or some other entity?
 2   A. Dan Cook was one. I don't know who the other was. It      2              MR. SMITH: Objection to form. Also
 3     may have been -- I don't remember his name, he was a       3     objection because it calls for speculation.
 4     supervisor from St. Louis I think. I'm not certain.        4              You can answer if you know.
 5   Q. And do you --                                             5   A. I'm not sure. I'm not sure as we sit here who took
 6   A. Dan Cook was definitely one.                              6     those, if it was EOUSA who sent someone out to do that
 7   Q. Did you ever see a 302 produced concerning that           7     or if it was the FBI, and I believe that for sometime
 8     interview?                                                 8     until those hard drives were taken out and put in my
 9   A. Never seen any written recordings of interviews with      9     safe, they had been sitting in our information
10     me from public integrity.                                 10     technology specialist's office with other computers,
11   Q. Was that interview with you recorded or just on paper?   11     and she had marked which ones they were, which one or
12   A. On paper.                                                12     ones they were.
13   Q. How many interviews did you do with public integrity?    13   BY MR. KOHN:
14   A. I'm not sure.                                            14   Q. When this came up at the -- one of the meetings, I'm
15   Q. More than one?                                           15     looking at the transcript of the Farhat -- do you
16   A. Possibly. I'm not certain.                               16     remember having put a yellow sticky on page 20 and
17   Q. Did you provide them information relevant to whether     17     either handing Mr. Convertino a copy of the transcript
18     they were going to indict Mr. Convertino?                 18     with a yellow sticky on it so he could turn it to page
19            MR. SMITH: Objection to form.                      19     20?
20   A. Did I provide public integrity information?              20   A. No.
21   BY MR. KOHN:                                                21   Q. Now, you were interviewed by the Office of inspector
22   Q. Yeah.                                                    22     general regarding the leak?
23   A. I don't think there was any such information at the      23   A. Yes.
24     time.                                                     24   Q. Okay. Tell me about your interviews and what happened
25            Could you -- I'm not sure I understood the         25     with the OIJ, okay?




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 1             MR. SMITH: That's an awfully broad                1             You've testified about contacts with
 2     question.                                                 2     Jeffrey Taylor, correct?
 3   BY MR. KOHN:                                                3   A. Yes.
 4   Q. Yeah, okay. How many times were you interviewed?         4   Q. Did you have any other contacts with him?
 5   A. Three.                                                   5             MR. SMITH: About anything?
 6   Q. And what happened at the -- I mean, just tell me what    6   BY MR. KOHN:
 7     happened at the first interview.                          7   Q. About Mr. Convertino or the leak --
 8   A. I can't separate them out in my mind that way. I         8             MR. SMITH: Objection, form.
 9     think it started late and we didn't get finished.         9   BY MR. KOHN:
10   Q. And then you carried on to another day?                 10   Q. -- or the OPR referral?
11   A. I think so.                                             11   A. No.
12   Q. And then did it just carry on to a third day or did     12   Q. Stuart Levy, do you know who he is?
13     they call you back?                                      13   A. Yes.
14   A. Well, one day they had asked for some things and I      14   Q. And --
15     found some additional documents so I took that to        15             MR. SMITH: He was already testified about.
16     them, and then we went to another interview and then     16   BY MR. KOHN:
17     they asked for a third one.                              17   Q. Okay. Any additional information concerning
18   Q. And were you represented by counsel during these        18     communications you had with Mr. Levy on anything to do
19     interviews?                                              19     with Mr. Convertino?
20             MR. SMITH: You mean did he have a lawyer         20   A. Mr. Levy once told me when I worked in the Deputy
21     there?                                                   21     attorney general's office that he had had a case with
22   BY MR. KOHN:                                               22     Mr. Convertino.
23   Q. Yeah.                                                   23   Q. And other than that, was there any other discussions
24   A. No.                                                     24     about Mr. Levy and Mr. -- related to Mr. Convertino?
25   Q. Did you ever review the transcript -- you testified     25   A. Mr. Levy was very proud of the fact that he took over

                                               Page 271                                                         Page 273
 1     you reviewed the transcripts? When you reviewed --        1     the case on appeal and secured a reversal. He was
 2     did you review the transcripts contemporaneously or       2     defense counsel.
 3     did you just review them now in preparation for this      3   Q. And I'm just going to ask to strike as nonresponsive.
 4     testimony?                                                4            But my question is did you have any other
 5   A. Just now in preparation.                                 5     discussions with Mr. Levy concerning the matters we're
 6   Q. When you reviewed those transcripts did you find         6     talking to here about Mr. Convertino, the OPR, the
 7     anything that was inaccurate?                             7     Plymouth Free Press, those type of matters.
 8   A. Not that I recall.                                       8   A. No.
 9   Q. Do you stand --                                          9            MR. SMITH: Objection to form.
10            MR. SMITH: You mean inaccurate                    10   A. I'm sorry.
11     transcription?                                           11   BY MR. KOHN:
12   BY MR. KOHN:                                               12   Q. Did you -- did Mr. Levy -- did you share -- did you
13   Q. I'm not talking about --                                13     share any criticisms of Mr. Convertino with Mr. Levy?
14            MR. SMITH: Or you mean if he made a               14   A. No.
15     mistake --                                               15   Q. Did you say words like, yeah, I don't like that guy --
16   BY MR. KOHN:                                               16   A. No.
17   Q. Yeah, if you made a mistake you'd like to correct.      17   Q. -- something like that?
18   A. I don't think so.                                       18            You've testified about Mr. Margolis I
19   Q. So you would stand by the truthfulness of everything    19     believe?
20     you said to the inspector general?                       20   A. Yes.
21   A. Yes. Understanding that there are details that I        21   Q. John Richter?
22     don't remember today as well as I did then.              22            MR. SMITH: Richter.
23   Q. Okay. I'm going to ask -- I'm going to have some        23   A. Richter. Don't really know him, I spoke to him on the
24     names here, I'd like you to tell me if you ever talked   24     phone a couple of times.
25     to them about Mr. Convertino.                            25   BY MR. KOHN:




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 1   Q.  About Mr. Convertino?                                    1             MR. KOHN: Let's go off the record so I --
 2   A.  No.                                                      2     yeah.
 3   Q.  Anything about Mr. Convertino?                           3             MR. SMITH: Are we on the record or off?
 4   A.  I don't think so.                                        4             MR. KOHN: Okay. On the record.
 5   Q.  Will Moschella?                                          5   BY MR. KOHN:
 6   A.  I don't think I've ever spoken to him at all.            6   Q. You testified that Mr. Ashenfelter called you on your
 7   Q.  And that's assistant attorney general for legislative    7     cell phone, correct?
 8     affairs?                                                   8   A. When?
 9   A. I think that's right.                                     9   Q. On or about December 11, 2003.
10   Q. Do you know that person?                                 10   A. No, I don't think so. I think he called me at my
11   A. I know the name.                                         11     office and I returned his call from my cell phone.
12   Q. Do you know why he would have a need to know about       12   Q. Okay. And has Mr. Ashenfelter ever called you on your
13     Mr. Convertino's OPR referral?                            13     cell phone?
14   A. I'm assuming it's because he was the director of the     14   A. When he was doing that biographical piece about me, he
15     Office of Legislative Affairs. There were questions,      15     did.
16     those letters we talked about from senator Grassley,      16   Q. And what about -- have you ever called him on your
17     and it would be Mr. Moschella's job to do the final       17     cell phone?
18     signoff on any response to those.                         18   A. I did that day. I may have returned a call or two
19   Q. Faith Burton?                                            19     from him through that phone, I don't know.
20   A. I know the name and I know she was someone high up in    20   Q. And in 2000 -- between, and the months I'd be looking
21     justice, I don't know exactly what her position was.      21     at would be November 2003 through January 17, 2004.
22     I've never spoken to her.                                 22     Do you know what cell phone service you were using?
23   Q. Perhaps at the time special counsel for legislative      23             MR. SMITH: You mean what company?
24     affairs? Does that ring a bell?                           24             BY MR. KOHN: Yeah.
25   A. Those titles don't mean anything.                        25   A. Sprint.

                                               Page 275                                                           Page 277
 1   Q. Okay. Other than reading the article, Exhibit Number      1   BY MR. KOHN:
 2     1 on the day it came out, have you seen -- ever            2   Q. Would you be willing to request from Sprint all of
 3     searched for that article on the Internet?                 3     your and your wife's cell phone call receipts from
 4   A. I may have, I don't know.                                 4     September -- from November 2003 through January
 5   Q. Did you ever notice that that article was reprinted       5     inclusive of 2004 to be produced?
 6     anywhere, like, you know, like in a -- you know, like      6   A. I would discuss it with -- with counsel.
 7     people talk about it on the radio or on television,        7   Q. Okay. My question is right now today would you
 8     things like that?                                          8     agree -- your counsel may come back and say you don't
 9            MR. SMITH: Objection to form.                       9     have to do it or don't do it, but I'm asking for you,
10   A. You mean did I find it in multiple places on the         10     would you agree to go and do whatever you need to do
11     Internet?                                                 11     with Sprint and the telephone company to get every
12   BY MR. KOHN:                                                12     cell phone record of all calls coming in and all calls
13   Q. Yeah, like you're driving in -- like the day it came     13     coming out of your personal cell phones that were
14     out, do you know if it was also reported on the local     14     under your control and direction, I'm assuming
15     radio or television?                                      15     yourself and your wife, but like maybe you had two
16   A. I don't remember it being, but I don't know.             16     cell phones or whatever, but every cell phone that was
17   Q. Did you discuss that article with any of your friends?   17     under your personal control or your family's control
18   A. Other than what we've talked about?                      18     between -- I'll just put the dates, October 1, 2003
19   Q. Yeah.                                                    19     through January 31, 2004, would you be willing to do
20   A. No.                                                      20     that, get them all for us and produce them?
21   Q. What about a -- was it ever discussed -- anything to     21             MR. SMITH: Objection to form.
22     do with Mr. Convertino ever discussed at a Federalist     22   A. Who's us?
23     Society meeting?                                          23   BY MR. KOHN:
24   A. No. Mr. Convertino once asked about coming to a          24   Q. Counsel for Mr. Convertino, and we would accept those
25     Federalist Society meeting with me but he never came.     25     under a protective order so we would not be able to




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 1     disclose any of those numbers.                            1   A. Yes.
 2             MR. SMITH: Of course this is all                  2   Q. Okay. Given that concern and given your -- and
 3     hypothetical but go ahead and answer.                     3     what -- and did you have a management position in the
 4   A. Yeah, I'm not certain at this point.                     4     U.S. Attorney's Office?
 5             MR. KOHN: Okay. Why don't we go off the           5   A. I didn't have a policymaking position in that sense.
 6     record for a moment?                                      6   Q. Did you make any recommendations about the use of
 7             (Discussion off the record at 4:48 p.m.)          7     polygraphs?
 8             (Back on the record at 4:52 p.m.)                 8   A. That is a technique that is most commonly used by law
 9             MR. KOHN: Back on the record.                     9     enforcement agencies. In cases in which I work, if
10   BY MR. KOHN:                                               10     agents talk about doing it, we talk about the possible
11   Q. When you met with the inspector general did you give    11     benefits and the possible downsides.
12     them any -- did they ask you what you thought about      12   Q. But would you permit, if an agent says that he were
13     Mr. Convertino on a personal level?                      13     going to use a polygraph in a case you were involved
14   A. I think they might have.                                14     in, would you say okay or would you prevent them from
15   Q. And what did you tell them?                             15     using it?
16   A. I think I said I don't particularly care for him.       16   A. I probably wouldn't prevent them from using it, it
17   Q. And did you say anything else about Mr. Convertino to   17     depends on the circumstance though. It depends on
18     them like about how you felt about him personally?       18     what they're trying to do.
19   A. I don't think so.                                       19   Q. And are you aware that polygraphs have a tremendous
20   Q. And did the inspector general's Office ask you to do    20     beneficial impact far behind the little things that
21     anything in terms of to determine whether you were       21     just go up and down? I mean -- strike that.
22     telling the truth or not about the leak?                 22             Are you aware that polygraphs can be used
23             MR. SMITH: I mean, I object just because         23     as a source for an interrogation and assist in an
24     you have the transcripts so you're just -- it's just a   24     interrogation of a person as opposed to just reading
25     memory test for him. You're not actually searching       25     results off a chart?
                                               Page 279                                                         Page 281
 1     for new information or --                                 1             MR. SMITH: Objection to form.
 2   BY MR. KOHN:                                                2             If you understand it you can answer it.
 3   Q. Okay. Let me just then -- have you ever asked a          3   A. I don't really understand it.
 4     criminal defendant to undergo a polygraph?                4   BY MR. KOHN:
 5   A. I may have early in my career, not recently.             5   Q. Okay. When someone takes a polygraph do you
 6   Q. When's the last time you did?                            6     understand that there can be a printout of a reaction
 7   A. Well, I don't know that -- I mean, I have cases where    7     to various questions?
 8     they've been done where the FBI did it without me         8   A. Yes.
 9     asking, I think without me asking, with poor results      9   Q. Do you also understand there's a part of the polygraph
10     and that was as a result of those types of things.       10     where the person who sat and was given the test is
11   Q. Okay. But going back to that, do you -- does your --    11     asked questions about the results?
12     does the United States Attorney's Office, do people      12   A. I'm going to have to ask you to repeat that.
13     there use polygraphs?                                    13   Q. In other words, there's a part of a polygraph process
14   A. Some do, some don't.                                    14     that includes an interrogation of the subject. Are
15   Q. What position -- and you were the first assistant or    15     you aware of that?
16     something? What was your position over there?            16   A. Yes.
17   A. I was first assistant.                                  17   Q. And are you aware that the inter -- that the --
18   Q. And did you take any steps to have United States        18     sometimes the results of the polygraph are useful to
19     Attorneys not use polygraphs?                            19     assist in the interrogation of the subject?
20   A. No.                                                     20   A. It depends who you ask.
21   Q. Did you take any steps to have FBI agents not use       21   Q. But do you understand that in some cases the results
22     polygraphs?                                              22     of the polygraph are useful and have produced
23   A. Well, what do you mean by steps?                        23     beneficial information as a result of the
24   Q. Okay. Let me say this. Do you have a concern about      24     interrogation of the subject --
25     the reliability of polygraphs?                           25             MR. SMITH: Objection to form.




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 1   BY MR. KOHN:                                                1   BY MR. KOHN:
 2   Q. -- yes or no?                                            2   Q. But now what about the post-polygraph examination
 3             MR. SMITH: And also I think it's asked and        3     interrogation, is that admissible in evidence?
 4     answered, but please answer it if you can.                4   A. I don't know.
 5   A. I'm not familiar with what you're talking about.         5   Q. You do not know -- how many years have you been in law
 6   BY MR. KOHN:                                                6     enforcement related activities?
 7   Q. Okay. Then let me try to make it clear.                  7             MR. SMITH: Objection, argumentative.
 8   A. I understood what you're talking about.                  8             You can answer.
 9   Q. Okay.                                                    9   A. 18.
10   A. I'm not familiar with the concept you're talking        10   BY MR. KOHN:
11     about.                                                   11   Q. So if you question a subject about the results of the
12   Q. Okay. Well, I have a lot of experience in polygraphs    12     polygraph and the subject then gives you answers,
13     just to let you know and the polygraphers I've worked    13     including say a confession, is that confession
14     with have told me that it's the post-examination --      14     admissible?
15     post-examination interrogation that is the most useful   15   A. I think it depends on the circumstances.
16     part of the process. Do you think there's truth to       16             MR. SMITH: Also objection to the extent it
17     that?                                                    17     calls for a legal conclusion.
18             MR. SMITH: Objection to your testimony.          18   BY MR. KOHN:
19             MR. KOHN: Yeah.                                  19   Q. Okay. So getting back to a polygraph, you have not
20             MR. SMITH: Do you think there's truth to         20     enforced any policy on law enforcement agents that
21     whether polygraphers have told him that?                 21     work for you as to whether they would use or not use
22   BY MR. KOHN:                                               22     polygraphs in any given case, correct?
23   Q. No, strike that.                                        23   A. I have no ability to make or enforce such a policy.
24             My question is, do you understand that           24   Q. Have you informed any -- the law enforcement agents
25     after the physiological polygraph examination is         25     that have worked under your -- on cases that you're

                                               Page 283                                                        Page 285
 1     administered the person who took the test is subject      1     involved in that if they do a polygraph you will not
 2     to an interrogation?                                      2     use the results no matter what?
 3             MR. SMITH: Is that your understanding?            3            MR. SMITH: You can answer.
 4   A. I don't know that that's uniformly true.                 4   A. I don't think the results are usable, they're not
 5   BY MR. KOHN:                                                5     admissible.
 6   Q. Okay. In the cases in which that happens, where          6   BY MR. KOHN:
 7     there's a post-physiological test interrogation, what     7   Q. Well, any part --
 8     is your understanding of the usefulness of the            8            MR. SMITH: I guess it's vague in terms of
 9     physiological component in the interrogation process?     9     what you mean by use the results.
10     Do you under --                                          10   BY MR. KOHN:
11   A. I don't think I have such --                            11   Q. Have you ever done research on polygraphs on your own?
12             MR. SMITH: Objection to form.                    12            MR. SMITH: Objection, relevance.
13   A. I don't think I have such an understanding.             13   A. Talking with agents.
14   BY MR. KOHN:                                               14   BY MR. KOHN:
15   Q. Okay. What is your understanding about polygraphs?      15   Q. Have you ever looked into like how to pass a
16             MR. SMITH: Objection to the vagueness of         16     polygraph?
17     that question.                                           17   A. No.
18   BY MR. KOHN:                                               18   Q. Could you please -- okay. If it is not admissible,
19   Q. What do you know about them?                            19     why would an agent today administer a polygraph?
20             MR. SMITH: Same objection.                       20            MR. SMITH: Objection, calls for
21   A. That they're inadmissible in evidence, that there's     21     speculation.
22     scientific dispute as to their validity and from what    22            Answer if you have any knowledge of that.
23     I would say I have learned interacting with law          23   A. I don't know. I think different agents probably would
24     enforcement agents, that they question the value of      24     have different reasons.
25     them.                                                    25   BY MR. KOHN:




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 1   Q. Would you ever submit to polygraph on any matter          1     decision, would you agree to take it, yes or no?
 2     whatsoever, no matter what?                                2   A. It would depend on a lot of factors.
 3             MR. SMITH: Objection to form.                      3   Q. What are those factors?
 4   A. Yeah, I can't answer that question.                       4   A. I'm not going to get into that, that's potentially
 5   BY MR. KOHN:                                                 5     attorney-client privileged things that you're asking
 6   Q. So might there be some theoretical situation for which    6     about. I will not say anything that might waive
 7     you would agree to be polygraphed?                         7     attorney-client privilege.
 8   A. Well, I believe there are some regulations that might     8            MR. KOHN: Okay. Okay. We're done.
 9     require, for security clearance, that one do so. I'm       9            MR. SMITH: Okay. I just have a couple
10     not certain but I think that might be a possibility.      10     quick questions.
11   Q. Okay. Putting that aside, would it be your testimony     11                  EXAMINATION
12     under oath today, would you -- that you would -- would    12   BY MR. SMITH:
13     you ever voluntarily submit to a polygraph?               13   Q. Okay. You testified earlier about sources and
14             MR. SMITH: Under any circumstances?               14     cooperating witnesses. Who opens a source or a
15   BY MR. KOHN:                                                15     cooperating witness, is it an attorney, AUSA or an
16   Q. Under any circumstances, yes or no?                      16     agent or can it be either?
17   A. I can't imagine what all the circumstances would be.     17   A. It has to be an agent.
18     I can't answer that, it's too speculative.                18   Q. Okay. What agents can do it, what agencies?
19   Q. So there might be a circumstance where you would agree   19   A. I probably couldn't tell you all of them. Certainly
20     to a voluntary polygraph, correct?                        20     FBI can, DEA can, ICE can. I don't know about some of
21   A. You mean if someone was being held at gunpoint and       21     the smaller agencies.
22     they said, unless you take this we're going to kill an    22   Q. But as an AUSA you can't?
23     innocent person?                                          23   A. Correct.
24   Q. No, I'm saying a voluntary polygraph, might there be a   24   Q. Okay. Were you aware in the time frame of December
25     circumstance for which you would take a voluntary         25     2003, January 2004 that it would be improper to leak
                                               Page 287                                                        Page 289
 1     polygraph, yes or no?                                      1     OPR related information to a reporter?
 2   A. I don't know.                                             2   A. Repeat that please.
 3   Q. Would you agree to take a polygraph on whether or not     3   Q. Were you aware in the time frame of December 2003 to
 4     you were the person who leaked information to              4     January 2004 that it would be improper to leak OPR
 5     Mr. Ashenfelter, yes or no?                                5     information to a reporter?
 6   A. That's not a question I would answer without              6   A. Yes.
 7     consulting with counsel.                                   7   Q. Do you believe based on your experience that other
 8   Q. Would you agree -- assuming hypothetically that your      8     attorneys in your office would have had that awareness
 9     counsel said, yes, if it's up to us, you should do the     9     as well?
10     polygraph and just be done with the -- in other words,    10   A. I would think they would assume that, yeah.
11     it's not admissible in court, that's where we are,        11   Q. What about --
12     we're in the a civil court here and just do it to         12            MR. KOHN: And I'm just going to object to
13     resolve these matters, would you follow -- would you      13     the form of those questions.
14     then take that polygraph?                                 14   BY MR. KOHN:
15             MR. SMITH: I object to the hypothetical           15   Q. What about support staff?
16     where you're giving him legal advice.                     16   A. I would assume that also.
17   BY MR. KOHN:                                                17            MR. SMITH: Okay. I have no other
18   Q. Okay. Strike that.                                       18     questions.
19             Assuming your counsel said it was                 19            MR. KOHN: Okay. Thank you.
20     completely up to you would you do it, yes or no?          20            THE WITNESS: Thank you.
21             MR. SMITH: Same objection.                        21            (The deposition was concluded at 5:08 p.m.
22   A. I don't know what that means.                            22     Signature of the witness was not requested by counsel
23   BY MR. KOHN:                                                23     for the respective parties hereto.)
24   Q. In other words, if your counsel said, the decision to    24
25     take a polygraph in this case was your personal           25




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 1             CERTIFICATE OF NOTARY
 2 STATE OF MICHIGAN )
 3            ) SS
 4 COUNTY OF OAKLAND )
 5
 6      I, VIOLA NEWMAN, a Notary Public in
 7   and for the above county and state, do hereby
 8   certify that the above deposition was taken before
 9   me at the time and place hereinbefore set forth;
10   that the witness was by me first duly sworn to
11   testify to the truth, and nothing but the truth;
12   that the foregoing questions asked and answers made
13   by the witness were duly recorded by me
14   stenographically and reduced to computer
15   transcription; that this is a true, full and correct
16   transcript of my stenographic notes so taken; and
17   that I am not related to, nor of counsel to either
18   party nor interested in the event of this cause.
19
20
21            ___________________________
22            VIOLA NEWMAN, CSR-4320, RPR
23            Notary Public,
24            Oakland County, Michigan
25   My Commission expires: December 4, 2013




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